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      1 PRESENT:                                                         1                (Witness sworn.)
      2                                                                  2             GREGORY N. LEWIS, Psy.D.
      3 ON BEHALF OF THE PLAINTIFFS:                                     3   after being first duly sworn, testified as follows:
      4    WASHINGTON LAWYERS’ COMMITTEE FOR CIVIL RIGHTS                4                  EXAMINATION
      5    AND URBAN AFFAIRS:                                            5   BY MS. HAYNES:
      6    BY: MS. HANNAH M. LIEBERMAN (via videoconference)             6       Q. Good morning, Dr. Lewis.
      7      11 Dupont Circle, NW, Suite 400                             7       A. Good morning.
      8      Washington, D.C. 20036                                      8       Q. My name is Meredith Haynes, and I
      9      (202) 319-1000                                              9   represent the Defendant Shenandoah Valley Juvenile
     10      E-mail: hannah_lieberman@washlaw.org                       10   Center Commission in this case.
     11                                                                 11          Before we get started, could you just give
     12 ON BEHALF OF THE DEFENDANT:                                     12   me your name and business address for the record.
     13    WILLIAMS MULLEN                                              13       A. Yes. My name is Dr. Gregory N. Lewis,
     14    BY: MS. MEREDITH M. HAYNES (via videoconference)             14   L-e-w-i-s.
     15      200 South 10th Street                                      15          I work at different places, but my main
     16      Suite 1600                                                 16   office is at the Alliance Clinical Associates, which
     17      Richmond, Virginia 23219                                   17   is 7 Blanchard Circle, Suite 201, in Wheaton,
     18      (804) 420-6225                                             18   Illinois 60189.
     19      E-mail: mhaynes@williamsmullen.com                         19       Q. And I can hear you pretty well. Are you
     20                                                                 20   having any problems hearing me?
     21                                                                 21       A. None at all.
     22                                                                 22       Q. Great. If that changes, just let me know.
                                                               Page 3                                                       Page 5
      1                 INDEX                                            1      A. All right.
      2   October 16th, 2018                                             2      Q. I know you've been deposed before, so I
      3   TESTIMONY OF GREGORY N. LEWIS, Psy.D.                          3   won't spend a lot of time going through the rules.
      4   Examination by Ms. Haynes ..........................4          4          But just as a refresher for both of us,
      5             DEPOSITION EXHIBITS                                  5   and especially because we're on video today, will
      6   NUMBER              DESCRIPTION                       PAGE     6   you try to let me finish a question even if you know
      7   Exhibit 1    Document titled Appendix C                7       7   exactly what I'm about to ask, and I'll do the same
      8   Exhibit 2    Document titled Appendix B                43      8   for your answers?
      9   Exhibit 3    Letter dated September 11, 2018 33                9      A. Okay.
     10   Exhibit 4    [not identified]                                 10      Q. And I think we're doing a good job of this
     11   Exhibit 5    Handwritten notes dated 7/25/18 128              11   so far, but try to verbalize your answers,
     12   Exhibit 6    Forensic Psychological               209         12   especially because I can't really see what your head
     13             Assessment, Doe 1                                   13   nodding or shaking to.
     14   Exhibit 7    Forensic Psychological               209         14      A. All right.
     15             Assessment, Doe 1                                   15      Q. And you understand you're under the same
     16   Exhibit 8    [not identified]                                 16   oath today as you would be as if we were in a
     17   Exhibit 9    Confidential Psychological             228       17   courtroom?
     18             Evaluation, Doe 1                                   18      A. That's correct.
     19   Exhibit 10 [not identified]                                   19      Q. I think we have a lot of material to
     20   Exhibit 11 [not identified]                                   20   cover, and I'll try to take breaks, you know, every
     21   Exhibit 12 [not identified]                                   21   hour, hour and a half or so.
     22   Exhibit 13 [not identified]                                   22          But will you let me know if you need a

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      1   break? I'm happy to take one on this end too.           1   2018 report.
      2       A. I will.                                          2       A. I believe I did bring that.
      3       Q. Great. Did you bring anything with you to        3       Q. Okay.
      4   your deposition today as far as notes or an outline     4       A. Actually, you know, I don't know that I
      5   to work from?                                           5   did -- oh, here it is. Yeah, I did bring it.
      6       A. I did not bring an outline. I did bring          6          MS. HAYNES: So, Greg, we can go off the
      7   some of the documents. I wasn't sure exactly what       7   record for a second.
      8   would be here, but I'm just going to leave them in      8                  (Whereupon, an off-the-record
      9   the bag.                                                9                  discussion was held.)
     10       Q. Okay. Did you do anything in particular         10   BY MS. HAYNES:
     11   to prepare for your deposition today?                  11       Q. So now we're both looking at -- it says
     12       A. I reviewed a variety of documents,              12   Appendix C at the top and Exhibit 1 at the bottom,
     13   documents that I had written. I reviewed the bulk      13   right?
     14   of the documents that have, you know, developed in     14       A. That's right.
     15   this case.                                             15       Q. And this is the Appendix C that you
     16       Q. Okay. And we will go through those in a         16   attached to your September 11th, 2018 report?
     17   little bit, but first I wanted to get a little bit     17       A. Yes.
     18   of an idea of your expert work.                        18       Q. And I think you described this as a list
     19           Do you have an exhibit binder in front of      19   of the cases in which you've recently been involved;
     20   you, by chance?                                        20   is that right?
     21                  (Whereupon, an off-the-record           21       A. Well, recently, many of these go back to
     22                  discussion was held.)                   22   like 2009, but yes.
                                                        Page 7                                                       Page 9
      1          THE WITNESS: Did you want me to look 1                   Q. Okay. Well, can you give me an idea of
      2   through this?                                     2         what your expert experience is beyond these cases?
      3                (Exhibit 1 was marked for            3             A. Let me just think for a minute.
      4                identification.)                     4                In terms of civil cases, these would be
      5   BY MS. HAYNES:                                    5         the only civil cases that I've been involved with
      6      Q. Yes, Dr. Lewis, not through all of them. 6            other than the current one. I've served as an
      7   But could you just look at Exhibit 1 for now, and 7         expert on immigration cases, for asylum or special
      8   that should be Appendix C to your report.         8         immigrant juvenile status, but that's different.
      9      A. Actually it's Exhibit 1, but it says        9         That's not civil cases. So those I've done many.
     10   Appendix C.                                      10             Q. Okay. So the first case, the Kimberly Doe
     11      Q. Is there a second page with the actual     11         versus the United States, that was a case it's my
     12   appendix hopefully?                              12         understanding where women were alleging sexual
     13      A. There's an Exhibit 2 and Appendix B.       13         assault.
     14                (Whereupon, an off-the-record       14                Is that a fair description of the general
     15                discussion was held.)               15         allegations in that case?
     16   BY MS. HAYNES:                                   16             A. That's correct.
     17      Q. Let's do it this way, Dr. Lewis: Do you 17                Q. And I think you said that you were deposed
     18   have a copy of your report with the appendices? 18          in that case, and the case ultimately settled?
     19      A. Which report?                              19             A. That's correct, yes.
     20      Q. Your --                                    20             Q. And I assume since you were deposed did
     21      A. September 11th?                            21         you also write a report in that case?
     22      Q. September -- yes, your September 11th, 22                 A. I actually wrote several. I evaluated --

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      1   there were a total of eight women. I saw four of          1   a brief talking about the difficulties and the
      2   them for evaluation, so I submitted four reports.         2   problems in separating a child from their parent.
      3      Q. Okay. And were any of them minors, or               3   So this was a minor child.
      4   were they all adults?                                     4       Q. Okay. So you didn't evaluate anyone in
      5      A. They were all adult women.                          5   that case, but you gave an expert opinion --
      6      Q. I noticed that a motion to exclude your             6       A. Opinion.
      7   testimony was filed in that case.                         7       Q. -- that was included in the brief?
      8           Were you aware of that?                           8       A. That's correct.
      9      A. You know, I'm not sure -- yes, I was. I             9       Q. Fair?
     10   mean, this goes back quite a while. Yes, I was           10       A. Yes.
     11   aware of that.                                           11       Q. Okay. And was ORR a defendant in that
     12      Q. Yeah, and I don't intend it to be a memory         12   case, do you know?
     13   test at all, so if you can't remember, that's fine.      13       A. You know, I did not bring that with me. I
     14           Do you know what the outcome of that             14   believe -- I believe they were, yes.
     15   motion was?                                              15       Q. And are you currently involved in that
     16      A. I do not. I know that I was --                     16   case, or has that case concluded --
     17      Q. Do you know if any other --                        17       A. That case has concluded.
     18      A. Well, I know that I was -- this goes back          18       Q. -- as far as you know?
     19   to 2017, that in March of 2017 I was contacted by        19       A. Yes.
     20   the lawyers. This had gone through several               20       Q. And then the third case you've listed
     21   different lawyers at this point, so it was a new         21   there, the Abraxas litigation, what was the nature
     22   group that I had not had communication with, and         22   of that case?
                                                         Page 11                                                            Page 13
      1   they told me to prepare to testify in April of 2017.      1     A. This was a case that involved alleged
      2   This was in March. And then I got a call about two        2 abuse of several minors who were in custody with ORR
      3   weeks later that the case had been settled.               3 at the Abraxas facility in Texas, and it was
      4          So that's as much as I know.                       4 alleged -- I actually observed videotapes in that
      5       Q. Understood. So the second case, D.B, as            5 case of alleged abuse, which we determined that -- I
      6   next friend of R.M.B., versus Cardall, what was the       6 felt that there was abuse based on what I witnessed
      7   nature of that case? I think you said you submitted       7 in these videos.
      8   a brief to the Fourth Circuit.                            8        So I evaluated I believe it was six,
      9          What does that mean? What was your work            9 possibly seven youths, and did the reports on each
     10   in that case?                                            10 one of them. I do not -- actually I believe I was
     11       A. There was about seven of us that were             11 deposed for that one. I think it was here in
     12   involved with this brief. I was the only                 12 Chicago. Did not go to trial. My understanding, it
     13   psychologist. The others were people that had            13 was settled but that there was some -- the Abraxas
     14   worked in immigration and child welfare.                 14 facility was either closed down as a result of that
     15          The allegation in this case was that a            15 case or required to do a variety of different
     16   child had been separated from his mother, who was        16 things.
     17   living in the United States; and essentially I           17        One -- I should also say that as part of
     18   believe the Office of Refugee Resettlement believed      18 that case several of the youths were deported. I'm
     19   that the mother was not fit to have custody of the       19 not sure if they chose voluntary deported or whether
     20   child, so the child remained in the custody of ORR.      20 they were deported by the government to Honduras;
     21          So this brief was basically -- so I did           21 and I actually traveled to Honduras with a lawyer
     22   not evaluate the child or the mother. It was simply      22 and a translator, and we were able to locate the

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      1   three youths who were a part of this case and get        1   as to all defendants was that the youths had not
      2   their testimony.                                         2   been cared for adequately?
      3          So I did reports on those three youths,           3       A. That's correct.
      4   and there had been several others that I had             4       Q. Okay.
      5   evaluated previously.                                    5       A. And just to reiterate, I did watch videos,
      6          I believe that case was --                        6   several videos. I don't know if you want me to go
      7      Q. Was that --                                        7   into some of the things I saw, but that was part of
      8      A. Well, I'm not sure if it was settled or if         8   what I observed. I saw kids being punched and
      9   they actually won. I never actually did hear the         9   tasered, so that was part of what factored into any
     10   specific findings of that.                              10   decision there or my opinion.
     11          But my understanding was the boys each got       11       Q. Thanks for that detail.
     12   $10,000 as a result of that for punitive damages and    12          And then in the Abraxas case, do you
     13   that there was significant constraints put on           13   know -- so that center was a juvenile detention
     14   Abraxas in terms of what they needed to do in the       14   center.
     15   future in terms of treatment and care.                  15          Was it a center for immigrant youth in
     16      Q. Was that case a class action?                     16   particular, do you know?
     17      A. Yes, it was.                                      17       A. No, it was just -- it wasn't just for
     18      Q. And I think in your report you said that          18   immigrant youth. I believe it was just a juvenile
     19   you evaluated five youths.                              19   detention center. I'm not sure if it was staff
     20          Are you remembering more like seven now,         20   secure. I believe it may have been either staff --
     21   or do you think five is the right number?               21   staff secure.
     22      A. You know, as part -- initially it was             22       Q. You anticipated my next question.
                                                        Page 15                                                       Page 17
      1   Abraxas and Nixon. I evaluated youths at the same        1          So you think it was staff secure versus
      2   time for both. So I think I'm thinking about some        2   secure, or do you know?
      3   other. No, I think five is the correct number.           3       A. You know, I don't. I don't remember for
      4      Q. Okay. And I think also in your report you          4   sure. I don't know. I believe it was staff secure.
      5   say a settlement agreement was reached with the          5       Q. Okay. And then the last case you've
      6   facility and the employees, but the case against the     6   listed, the Fabian case, what was your involvement
      7   United States and its employees was lost.                7   there?
      8          Does that --                                      8       A. Essentially the same as the Abraxas case,
      9      A. Was that for Abraxas?                              9   evaluating -- I don't remember the exact number of
     10      Q. -- refresh your memory?                           10   youths, but evaluating each of the youths; then also
     11      A. I think that's correct. That's right.             11   doing a report for each of them.
     12      Q. Yes, sir.                                         12       Q. Do you remember how many youths you
     13      A. That's right.                                     13   evaluated in that case?
     14      Q. So in that case ORR and other governmental        14       A. You know, without looking at the specifics
     15   agencies were defendants? Is that your memory?          15   I don't recall. It might have been -- if it was
     16      A. That's right, they were.                          16   five in the other one, it might have been four. I
     17      Q. And in serving as an expert in that case,         17   just don't recall exactly.
     18   did you provide opinions against ORR and the            18       Q. I'd have to find the right paragraph in
     19   governmental agencies as well as against the Center     19   your report, but I think you said you evaluated six
     20   defendants?                                             20   in the Fabian case.
     21      A. That's correct.                                   21          Does that sound right?
     22      Q. Okay. And it's fair to say your opinion           22       A. That's probably correct, yes.

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      1       Q. Okay. So six in the Fabian case and five                1          I do not know how that case -- I'm not
      2   in the Abraxas case?                                           2   sure what happened in that case, but that was
      3       A. That's right.                                           3   probably 10 or 12 years ago.
      4       Q. Okay. And do you know what type of                      4       Q. So more distant in time than these cases
      5   facility was a defendant in the Fabian case? Was it            5   you've listed here?
      6   staff secure or secure, do you know?                           6       A. That's right.
      7       A. I don't know for sure, but I believe it                 7       Q. So is it true then that you've never
      8   was staff secure.                                              8   served as an expert in a case where you found that
      9       Q. And the Government was a defendant in that              9   the center was providing adequate care for the
     10   case as well?                                                 10   youths?
     11       A. Yes, it was. I believe --                              11       A. That's correct.
     12       Q. Were your opinions -- I'm sorry, go ahead.             12       Q. You've never been --
     13       A. -- Maureen Dunn was the head of ORR at                 13       A. I've never been --
     14   that time. That's where it says versus Dunn, yes.             14       Q. -- supportive, in summary?
     15       Q. And I think -- did you say that your                   15       A. That's right.
     16   opinions in Case Number 4 were like those in Case             16       Q. Okay, okay. And have you ever served --
     17   Number 3? You found that the youths were not being            17   it doesn't seem like you've ever served as an expert
     18   adequately cared for to say the least?                        18   in a case where the center is the only defendant.
     19       A. Yes, that's correct.                                   19          I think in these other cases there were
     20       Q. Okay. And were your opinions in the                    20   government agencies also involved as defendants,
     21   Fabian case with respect to the governmental                  21   right?
     22   defendants as well as with respect to the facility?           22       A. That's right.
                                                              Page 19                                                       Page 21
      1     A. Yes.                                                      1      Q. Okay. Doctor, could you explain -- I
      2     Q. Okay. Have you -- I think you -- is it                    2   appreciate that what -- your involvement in this
      3 fair to say that these four cases that you listed I              3   case is as a -- is to do forensic psychological
      4 think you said are the only civil cases you've been              4   evaluations, right?
      5 involved in? And my understanding when you say that              5      A. That's correct.
      6 is that all other cases you've been involved in are              6      Q. And could you just explain to me as a
      7 with asylum or immigration proceedings.                          7   layperson the difference, if any, between a
      8        Am I understanding you correctly?                         8   therapeutic assessment and a forensic assessment?
      9     A. Yes. I just need to think for a minute.                   9      A. A therapeutic assessment essentially is
     10 I don't think there have been any other cases of a              10   just done to evaluate an individual's psychological
     11 civil nature.                                                   11   problems. Usually you come up with a diagnosis and
     12        There was one other case of a civil                      12   recommendations for treatment, so it's what we would
     13 nature, but it was many, many years ago involving               13   refer to as a clinical evaluation, primarily for the
     14 two girls, two minors from I believe it was                     14   purpose of understanding diagnosis and treatment and
     15 Guatemala; and there was a custody dispute between              15   making recommendations.
     16 the grandmother and the mother, and the mother I                16          A forensic evaluation is done by someone
     17 believe was in Guatemala and the grandmother was                17   who is independent, so it includes a clinical
     18 here in the United States.                                      18   evaluation but it's done independently of -- in
     19        So I was asked to do a competency                        19   other words, the forensic psychologist is going to
     20 evaluation on the two young girls as to whether they            20   look at different possibilities for problems that a
     21 were able to inform the judge as to where they would            21   person is having. So it isn't just coming up with a
     22 like to live.                                                   22   diagnosis and a treatment plan, but also there's a

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      1   psycho-legal context in a forensic evaluation where     1       Q. What is special immigrant juvenile status?
      2   there's a question being asked by the court, so that    2   What does that mean?
      3   the tests that are done, the evaluation that's done     3       A. It's commonly referred to as SIJ's.
      4   is done to inform the court of how this individual's    4          MS. LIEBERMAN: Objection, calls for a
      5   psychological problems are affecting the particular     5   legal conclusion.
      6   legal question.                                         6          THE WITNESS: Yes, special immigrant
      7          So it's a very specific kind of evaluation       7   juvenile status, basically it's similar to a child
      8   that's not routinely done in a clinical or              8   abuse case, so for a minor that's here from another
      9   therapeutic evaluation.                                 9   country who is reporting abuse from their parents or
     10       Q. Are you always -- when you do a forensic        10   whatever. It could be, you know, somebody that
     11   psychological evaluation, is it fair to say that       11   that -- it could be a babysitter, but they're
     12   you're practicing as a forensic psychologist? Is it    12   reporting abuse, so it would be similar to a child
     13   a different specialty than what you do as a clinical   13   protective services case here versus asylum is
     14   psychologist?                                          14   looking at persecution due to being part of a
     15       A. That's correct, yes.                            15   special group and the failure of the government to
     16       Q. Okay. And are you always wearing that           16   protect that child.
     17   forensic psychology hat when you serve as an expert    17          So this is simply like an abuse case. So
     18   in a case, or are there cases where you can be         18   I'm evaluating for their history and alleged abuse
     19   wearing your clinical psychologist hat as an expert    19   and do the symptoms they are reporting of trauma or
     20   in the case?                                           20   depression, are they consistent with being abused;
     21       A. Are you talking about in a civil case?          21   and then we try to find any corroborating evidence
     22       Q. Yes.                                            22   of that that we can. I don't do that personally,
                                                       Page 23                                                      Page 25
      1       A. Yes -- no, I would simply be wearing the         1   but social workers might go out and talk to the
      2   forensic psychologist hat.                              2   family, so there's an attempt to try to corroborate
      3       Q. What about in other cases?                       3   that.
      4       A. The only other -- I guess the exception to       4          But it's essentially looking at child
      5   that would be if there was somebody -- when I used      5   abuse and neglect.
      6   to work at the hospital that I used to work at --       6   BY MS. HAYNES:
      7   I'm retired from there -- we would often get youths     7      Q. Okay. Thank you. And just to address the
      8   referred to us and then later find out there was        8   objection, I understand and I'm not -- that's not an
      9   court involvement, and so I would get subpoenaed to     9   area that I'm familiar with.
     10   go to court to testify what my findings were.          10      A. Okay.
     11          So when I initially saw that youth or that      11      Q. So I just wanted to know what your
     12   child, it was not done as a forensic psychologist.     12   involvement was in those cases.
     13   It was done simply as a clinician, and I would go      13          So what is the purpose of a forensic psych
     14   simply to report my findings to the court.             14   eval. in an SIJS case to your understanding?
     15          But if it's a civil case that I know about      15      A. The purpose is to first get their history
     16   up front or if there's a legal question involved,      16   and find out what abuse may -- they're alleging may
     17   then you're wearing the forensic hat right from the    17   have happened, what neglect may have happened, and
     18   start.                                                 18   then to evaluate -- I mean, it is a clinical
     19       Q. You mentioned that you've done forensic         19   evaluation in the sense that I'm asking about their
     20   psychological assessments and special immigrant        20   history and current symptoms that they might be
     21   juvenile status and asylum cases, right?               21   having.
     22       A. That's correct, yes.                            22          And then I have to look for a connection

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      1   between whatever symptoms they're reporting to me.       1   in -- I have another office in Evanston where I do a
      2   For instance, if they're reporting depression, did       2   lot of these cases.
      3   this depression start as a result of this alleged        3           When I was at the hospital, the hospital
      4   abuse; or if they're reporting posttraumatic stress      4   allowed me to bring them in without charging them.
      5   disorder symptoms, is there a connection between         5           I do sometimes get payment for covering
      6   those symptoms and that abuse or is the                  6   expenses, and I've recently had some cases in the
      7   posttraumatic stress disorder due to something else      7   last two years where they've paid me like $500 just
      8   that has nothing to do with the abuse. So I have to      8   as a bit of a stipend, just as a, you know -- I
      9   show what's called a nexus connection between            9   didn't request that but they gave that to me. So
     10   symptoms and the alleged abuse.                         10   most of the time they're done pro bono.
     11           If we have corroborating evidence, and          11           Civil cases I don't because they're much
     12   many times we don't, you're simply looking at a         12   more involved, and I have a fee for that.
     13   consistency between someone that says they've been      13       Q. And that's the $300-per-hour fee I think
     14   abused and the symptoms that they're reporting, so      14   you mentioned in your report?
     15   that's the forensic part.                               15       A. That's right.
     16           If I was simply doing a clinical                16       Q. And do you charge the same -- is that your
     17   evaluation, I would just do an evaluation and I         17   rate for any civil case, or does it change depending
     18   wouldn't have to show that it's connected to the        18   on the case?
     19   alleged abuse in any way.                               19       A. No, that's my rate.
     20       Q. So you're trying to find a causal link?          20       Q. Okay.
     21       A. Yes.                                             21       A. Yeah, and I should say ten years ago it
     22       Q. Is that fair?                                    22   used to be $250 so like with the Nixon and Abraxas
                                                        Page 27                                                      Page 29
      1      A. That's right.                                      1   cases, so it has gone up, but that's what I charge.
      2      Q. Okay.                                              2       Q. Understood. You also mentioned asylum
      3      A. That's right.                                      3   cases.
      4      Q. And how do you get involved in those               4           Do you do forensic evals. in asylum cases?
      5   cases? Who asks you to come do an evaluation?            5       A. Yes, I do.
      6      A. When I first started doing this was in             6       Q. And to your understanding, what's the
      7   2004, and largely it comes from the Young Center,        7   purpose of your evaluation in an asylum case?
      8   which is at the University of Chicago. It's called       8       A. So with the asylum cases I'm looking for
      9   the Young Center for Immigrant Children's Rights,        9   not just -- I'm not looking for abuse and neglect as
     10   and they often would refer cases to me of youths        10   in an SIJ case. I'm looking for some form of
     11   that needed to be evaluated.                            11   persecution, failure of the government to protect;
     12          Other groups would be the National               12   and then I'm having to look at whatever -- let's say
     13   Immigrant Justice Center has referred to me. And        13   there's posttraumatic stress disorder there, and I
     14   then many times they try to find pro bono lawyers to    14   don't always find that, but if there is can I link
     15   take these cases, so I ultimately often end up          15   it to the alleged perpetration that they're talking
     16   working with other law firms, either in the city or     16   about or does it not seem related to that.
     17   around the country.                                     17           So, again, looking for a nexus or a causal
     18      Q. And do you work on these cases pro bono?          18   connection, and then making recommendations to the
     19   Are you compensated in some way to do the psych         19   court regarding, you know, what my findings were,
     20   eval.?                                                  20   whether there's a consistency between, let's say,
     21      A. Most of those cases are done pro bono.            21   their posttraumatic stress disorder and their
     22   I'm able to do them here in Chicago or my office up     22   alleged abuse that occurred of them, their

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      1   persecution.                                          1      Center here in Chicago, which works with torture
      2          And then they have to be part of one of        2      survivors. They have a very specific mandate on who
      3   the groups, you know, either for political            3      they can see. They can only work with people who
      4   persecution or part of a special social group, you    4      have clearly alleged being tortured. There are many
      5   know, religious persecution. It has to be one of      5      people who are seeking asylum who haven't been
      6   the five categories that people can seek asylum for.  6      tortured.
      7      Q. And how do you get involved in those            7             So she had connections with the
      8   cases? Who asks you to do an evaluation?              8      Young Center, and the director of the Young Center,
      9      A. Those largely come -- either can come           9      Maria Woltjen, was given my name by my former
     10   through the Young Center, although many of the       10      colleague, and she just called me and asked if I --
     11   Young Center cases are SIJ cases, so it can start    11      she said you were recommended to me; would you be
     12   off with them; or it could come from various clinics 12      interested in doing this type of work.
     13   around the country. The DePaul Asylum Clinic refers 13          Q. In your report you say you've done 25
     14   to me. I've done the Bosch Clinic in Oklahoma, so    14      forensic psych evaluations for UCs and asylum and
     15   different people.                                    15      SIJS cases.
     16          Once I started doing this work my name got    16             Does that sound right?
     17   out there, and a variety of different people would   17         A. Yeah, I was trying not to -- I was not
     18   hear about me and ask if I could do a case.          18      including the civil cases. That number has probably
     19      Q. Do you do forensic psych evaluations in        19      gone up since then. It's probably, probably closer
     20   asylum cases that involve adults as well as          20      to 30 or 35.
     21   minors --                                            21         Q. Since 2004?
     22      A. Yes.                                           22         A. Yes.
                                                        Page 31                                                            Page 33
      1      Q. -- or just in cases that involve minors?           1     Q. How many -- do you know how many you've
      2      A. Yes, most of the asylum cases were adults,         2 done total of adults and minors in SIJS and asylum
      3   yes.                                                     3 cases?
      4      Q. Okay.                                              4     A. If I could just ask, the 25, was I stating
      5      A. Maybe two-thirds of them.                          5 that -- because I don't have my report in front of
      6      Q. And do you -- I think you mentioned you            6 me. Did I say that was just for minors? I couldn't
      7   started doing the SIJS cases in about 2004?              7 remember.
      8      A. That's correct.                                    8     Q. Let me look real quickly, and we will look
      9      Q. Did I hear that right?                             9 at your report too.
     10      A. Yes.                                              10     A. I think --
     11      Q. What about for asylum cases, do you know a        11              (Exhibit 3 was marked for
     12   time frame of when you started doing those?             12              identification.)
     13      A. Probably around I'll say within a year or         13 BY MS. HAYNES:
     14   two of that, probably 2 -- well, actually it was        14     Q. But in Paragraph -- in Paragraph 8 of your
     15   2005 because I remember the first case that I got       15 report, you say, "I have personally evaluated about
     16   involved with for that.                                 16 25 UACs since 2004 for reasons of asylum and special
     17      Q. How did you get involved at the                   17 immigrant juvenile status.
     18   Young Center or start working with them on these        18        And it's Exhibit 3 if you have that in
     19   cases in that time frame?                               19 front of you.
     20      A. A former colleague of mine, a psychologist        20     A. Okay.
     21   who was at -- it was called Cook County Hospital at     21     Q. Exhibit 3, Page 3, Paragraph 8.
     22   that time, left to work at a place called the Kovler    22     A. Yes, so that -- yes, so that 25 number is

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      1   probably closer to 30 at this point. And then             1 I mean, it was done through a PowerPoint, handouts,
      2   you're right, there would be adult cases of asylum        2 questions and answers. There was some small group
      3   in addition to that, probably another, oh, I'm going      3 types of stuff, that type of thing.
      4   to say 20 to 25.                                          4        So essentially it's a conference, a
      5       Q. So 50 to 55 total in those types of cases,         5 one-day conference.
      6   SIJS and asylum?                                          6     Q. Okay. And I'm just guessing from the
      7       A. Approximately, yes.                                7 title that it seems like it was targeted toward
      8       Q. Okay. And then I think in Paragraph 12,            8 helping individuals obtain asylum status based on
      9   while you're looking at it, I think you said you          9 their past trauma and experiences.
     10   evaluated six youths in one of the civil cases           10        Is that a fair description?
     11   you've worked on and five in another, which we           11     A. Yes, it is.
     12   talked about earlier when we were looking at             12     Q. Okay. And then next you say you're
     13   Appendix C.                                              13 familiar with the Istanbul Protocol: Manual on the
     14          So 11 UCs in civil cases that you've done         14 Effective Investigation and Documentation of Torture
     15   forensic psych evals. of; is that right?                 15 and Other Cruel, Inhumane or Degrading Treatment or
     16       A. Not including the current case, yes.              16 Punishment.
     17       Q. Including the --                                  17        Could you elaborate on that a little bit
     18       A. No, not --                                        18 for me? I've heard of the Istanbul Protocol, but
     19       Q. Including the case would it be 11 or 12?          19 how did it inform your work in this case?
     20       A. Well, if it's including the current case,         20     A. I don't recall who developed this, but I
     21   because I evaluated two youths as a part of the          21 believe it was several physicians and psychologists
     22   current case, so it would be two additional ones to      22 that were involved with the Physicians for Human
                                                         Page 35                                                             Page 37
      1   this.                                                     1 Rights and groups like that who were concerned about
      2       Q. 13 total?                                          2 people from other countries primarily who were
      3       A. 13, yes. I'm trying to think if there's            3 reporting torture and yet they were here in this
      4   any other ones.                                           4 country.
      5          No, it would just be 13.                           5        So it was a set of guidelines and an
      6       Q. Okay. While you have it in front of you,           6 understanding of how torture affects these
      7   I wanted to ask you a little bit about your training      7 individuals and how to ask -- you know, what
      8   in forensic psychology, and I think you start             8 questions need to be asked for them.
      9   talking about that in Paragraph 7 of your report at       9        So this is a large manual. It's probably
     10   the bottom of Page 2.                                    10 an inch thick; it's probably about 200 pages. And
     11       A. Okay.                                             11 it talks about how to evaluate both from a medical
     12       Q. And you start by saying, "I have completed        12 perspective as well as a psychological perspective,
     13   the training by the Physicians for Human Rights          13 what questions to ask, how to document this; and,
     14   Asylum Program on 'Aiding Survivors of Torture and       14 again, there has to be a clear link between whatever
     15   Other Human Rights Abuses'" and then a long              15 findings the doctor or psychologist finds, and it
     16   subtitle.                                                16 has to be linked to the alleged torture.
     17          When was that training?                           17        So when I say "familiar with," I haven't
     18       A. That was in 2009.                                 18 read through every single page, but I've read
     19       Q. And what type of training was it? Was it          19 through large sections of that because I have had
     20   a conference that you went to or a seminar?              20 the opportunity to evaluate many, many people from
     21       A. It was an all-day -- it was on a Saturday,        21 countries and other countries in the world who have
     22   all-day conference in Houston, Texas, with -- well,      22 alleged torture. So I wanted to familiarize myself

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      1 with that manual.                                               1   you mean by that?
      2     Q. Okay. Thank you. And then next you say                   2       A. Both. There are times that I have -- I go
      3 you've received training in forensic psychological              3   to other people's lectures, but these are
      4 assessment and testimony, as well as forensic                   4   essentially hour and a half like symposiums where
      5 assessment of trauma and emotional injury from the              5   I've been asked to either be a part of a panel or
      6 American Psychological Association.                             6   I'm the person, the primary person for the hour and
      7        Could you give me a little bit more detail               7   a half, and it's talking about issues of trauma, how
      8 as to what you mean by that?                                    8   to evaluate for trauma, how trauma affects people,
      9     A. Yes. All of the -- everything that I'm                   9   particularly in the context of immigration or
     10 referring to here both for the American                        10   asylum.
     11 Psychological Association and the American Academy             11       Q. Okay. And I count that you've described
     12 of Forensic Psychology were one-day essentially                12   four of those one-and-a-half type symposiums or
     13 workshops or conferences that are -- we get                    13   meetings; is that right?
     14 continuing education credits for. Usually it's                 14       A. Well, I've probably done more than that
     15 either six or seven credits.                                   15   because I've done several. Like, for instance, the
     16        So it's an -- these are all day. I don't                16   Loyola Center for the Human Rights of Children, I've
     17 think any of them were two days. I'm just looking.             17   done several for them over the years. I've done
     18 No, they were all one-day workshops or conferences.            18   webinars for the Young Center also.
     19     Q. Do you know how many of those one-day                   19          So I've probably done -- let's see. I did
     20 workshops or conferences you've been to that you               20   one for the Physicians for Human Rights. I did one
     21 mentioned here with regard to your forensic psych              21   for the Vera Institute of Justice; that was in
     22 evaluation work?                                               22   Arizona. For the Young Center I've done probably
                                                             Page 39                                                     Page 41
      1       A. Well, each of these was one day, so the                1   three, and Loyola I've probably done at least three.
      2   assessment of trauma -- I'm sorry, the one on                 2      Q. So total can you give me a ballpark idea
      3   psychological assessment and testimony was one day.           3   of how many of those you've done?
      4   Trauma and emotional injury was one day. And then             4      A. So I guess probably around eight.
      5   the next part goes into the American Academy of               5      Q. Okay. And you mentioned that the Young
      6   Forensic Psychology.                                          6   Center is in Chicago.
      7          So the comprehensive assessment of                     7          They have an office in D.C. too, right?
      8   feigning was one day, report writing was one day,             8      A. They actually have several offices. They
      9   the one on immigration proceedings was one day. So            9   started right around I believe it was 2004. They've
     10   I guess that would be a total of five.                       10   expanded in the last several years. They have an
     11       Q. Okay. And then are you stopping that                  11   office in Arlington, Texas; they have an office in
     12   count at the sentence that starts by "I have done            12   Washington, D.C., I believe one in New York now as
     13   training for"?                                               13   well. And there might be another one.
     14       A. That's right, yes.                                    14      Q. And did you initially get involved in this
     15       Q. Okay. So the paragraph up to that point               15   case through the Young Center?
     16   describes the five one-day trainings you've been to,         16      A. Well, indirectly. In other words, Doe 1,
     17   and then you say "I have done trainings for                  17   I was asked to evaluate Doe 1 by the Young Center,
     18   Physicians for Human Rights" and you go on?                  18   so that's how I got involved. And then after that
     19       A. Yes, yes.                                             19   was done, then I got involved with the civil case.
     20       Q. Okay. And so when you say "I have done                20      Q. Did you get involved in the other four
     21   training for," does that mean that you've taught the         21   civil cases that we talked about that are listed in
     22   trainings or participated in the trainings? What do          22   Appendix C through the Young Center as well?

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      1       A. No, the other four civil cases, no. They                 1 Plaintiffs John Doe 1 through 4, right?
      2   were totally separate from the Young Center.                    2     A. That's right.
      3       Q. Okay. Is forensic psych a specialty                      3     Q. And do you -- I mean, what was your
      4   recognized by the American Psychological                        4 understanding of the drafting of those documents?
      5   Association, a subspecialty?                                    5 Who drafted them and for what purpose?
      6       A. Yes, it is.                                              6     A. My understanding was that either the
      7       Q. Is there a separate board certification                  7 lawyers that I worked with or some of their I don't
      8   that you can get for forensic psychology?                       8 know if it would be paralegals or people that worked
      9       A. Yes, there is.                                           9 with them evaluated these youth, either in the
     10       Q. Do you have that subspecialty                           10 detention center or -- I assume it was in the
     11   certification?                                                 11 detention center or somewhere else and took their
     12       A. I do not.                                               12 report, and then had it recorded and written up --
     13       Q. Any particular reason why not?                          13 well, not recorded but had it written up. Actually
     14       A. I -- again, when I was working at Cook                  14 I don't know if it was recorded or not. I'm not
     15   County Hospital, like I said, I got involved with              15 aware of that.
     16   this work. You know, my primary purpose for being              16     Q. Okay. And my understanding is that you've
     17   there was to obviously treat people and work in a              17 met John Doe 1 and John Doe 4 but not John Does 2 or
     18   lot of different medical settings. And, again, I've            18 3, right?
     19   been doing this work for a long time. The ABPP                 19     A. That's correct.
     20   certification you're talking about as the                      20     Q. Okay. And so when you met John Doe 1 and
     21   professional certification is not a required                   21 John Doe 4, did you review their declarations with
     22   certification. It's highly recommended. And it's               22 them?
                                                               Page 43                                                            Page 45
      1 simply just been a matter of, you know, not having                1       A. I did.
      2 time to do that, and I've been able to get a lot of               2       Q. You did?
      3 my training through workshops that I've gone to.                  3       A. Yes.
      4          So I'm not certified in that, but many                   4       Q. And in what way or what was the purpose of
      5 people that do forensic work are not certified. My                5   reviewing the declaration with them?
      6 guess is that will change over the next several                   6       A. Mostly to get clarifications of areas that
      7 years. It will probably be a requirement.                         7   appeared to perhaps be inconsistent or that were
      8                (Exhibit 2 was marked for                          8   rather vague. So if they're telling me one thing --
      9                identification.)                                   9   I'd have to look at them specifically to give you an
     10 BY MS. HAYNES:                                                   10   example, but if they told me something that didn't
     11     Q. Understood. Doctor, if you could turn                     11   seem to be consistent with what was in the report or
     12 to -- in front of you there should be Exhibit 2, and             12   just seemed much vague, I would say, well, here, you
     13 at the top it should say Appendix B.                             13   know, you apparently reported to your lawyer or
     14     A. All right.                                                14   whatever and I'm confused about the difference and
     15     Q. And my understanding is that this is the                  15   see what response they would give me.
     16 list that you made of the documents you reviewed in              16       Q. Did you go through any exercise with
     17 writing your September 11th, 2018 report; is that                17   regard to comparing these declarations to other
     18 right?                                                           18   documentation, charts or ORR files?
     19     A. That's right.                                             19       A. Yes.
     20     Q. Okay. I just want to go through this list                 20       Q. And so how did you go about doing that?
     21 and ask you a few questions about what you reviewed.             21       A. Well, for John Doe 1 in particular, since
     22          The first four are the declarations of                  22   that was the first one I was really involved with

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      1   and the most extensive, I was given his ORR file, so     1   what was reported in the documentation?
      2   I was able to look at case management notes,             2      A. Yes. Yes, there were.
      3   progress notes, various reports that were done by        3      Q. And how do you reconcile or deal with
      4   other professionals, physicians. I'm trying to           4   those disparities?
      5   think if there's anything else.                          5      A. Are you talking about for Does 2 and 3 or
      6          I think those were the main -- incident           6   just any of the Does?
      7   reports, what are called SIRs, the serious incident      7      Q. Well, how about we start with any of the
      8   reports, I was able to look at those and the same        8   Does and then we will talk about 2 and 3.
      9   for Doe 4.                                               9      A. Well, if I was aware of that while I was
     10       Q. What about John --                               10   evaluating, like for instance Doe 1, I was aware of
     11       A. I'm sorry.                                       11   many of the allegations against him, and so -- or
     12       Q. I'm sorry, go ahead.                             12   many of the reports. He had a number of SIRs, and
     13       A. With Doe 4 I did the same thing.                 13   so I was able to ask about that and get
     14       Q. What about --                                    14   clarification from his perspective as to what
     15       A. Yeah, I was able to look at similar types        15   happened, and in his case he admitted he was a very
     16   of things for Doe 4.                                    16   angry kid who acted out a lot.
     17       Q. What about with John Does 2 and 3?               17          So there was, you know, a fair amount of
     18       A. No. All I was able to look at -- I have          18   consistency there.
     19   to think for a minute. I believe it was just their      19          For Doe 4, I should say that many of his
     20   declaration. I may have been given -- you know          20   records due to nobody's fault just came in late,
     21   what, can I look back to trigger my memory on that?     21   came in right at the end when this initial report
     22   I know I looked -- I did not evaluate them, so          22   had already been given. And it was a large amount,
                                                        Page 47                                                     Page 49
      1   that's part of it.                                    1      so I didn't really get to review that until later.
      2       Q. Take your time.                                2             So when I saw Doe 4 I didn't have access
      3       A. Yes. So as the case developed I did get        3      in the same way that I did for Doe 1, so I wasn't
      4   records for Does 3 -- when I say "records," ORR       4      able to compare to him, but I still tried to look at
      5   records for Does 2 and 3. So I was able to look at    5      those consistencies. And the same for 2 and 3, who
      6   again disciplinary reports, progress notes if they    6      I did not evaluate, and just tried to make sense of
      7   were available, medical reports, any medical reports  7      that.
      8   that were available.                                  8             And, again, on the one hand, it could very
      9       Q. And in addition to looking at those            9      well be the kids were not being fully honest about
     10   documents, did you compare them side by side with 10         what happened. It could be there was some kernel of
     11   their declarations, or did you just review both?     11      truth and it was distorted in some way. I'm not
     12       A. Well, I did both. Sometimes it was just a     12      sure that the staff were always being honest either.
     13   general sense, and other times I tried to look at -- 13             So I was just trying to make sense in any
     14   especially if there were dates that lined up, I      14      given situation as to what I felt may have happened.
     15   tried to look at what was reported perhaps by the    15          Q. Can you think of specific instances where
     16   youth and then what was reported by the Center, by 16        you weren't sure if staff were being honest?
     17   the facility.                                        17          A. There are. Again, I would need to look at
     18          So not in every single case, but I did try    18      my report. There are -- I mean, again, that's part
     19   when I could to look for, you know, comparing apples 19      of what I tried to put in my report was, again,
     20   to apples.                                           20      concerns that I had. But yeah, I can give you
     21       Q. Were there instances where there were         21      examples if you want.
     22   disparities between what was in the declaration and 22           Q. Please do.

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      1       A. Can I look at this report?                        1 documentation are true or untrue. It was just
      2       Q. And if you want to, we can -- well, sure.         2 pleasantries?
      3   Let's go ahead and do that. We can go through it         3     A. That's right.
      4   now if you can think of specific paragraphs that are     4     Q. So when you say there are parts of the
      5   coming to mind for you. Take your time and take a        5 record where you feel that staff were being
      6   look. I think it's Exhibit 3 in front of you.            6 untruthful, you're relying on your own review of the
      7       A. Okay.                                             7 documentation and your interviews with John Doe 1 or
      8       Q. Doctor, this particular exercise might            8 4, is that fair, or just with John Doe 1?
      9   take a few minutes I imagine. Is it okay if we take      9     A. Well, it would probably be with all the
     10   a five-minute comfort break?                            10 Does. It's just that with 1 and 4 I was able to ask
     11       A. That's fine. I'm fine with that.                 11 them about it if I was aware of the discrepancies.
     12          MS. HAYNES: Okay.                                12 Again, for 1 I was aware of much of this; for 4 I
     13                 (Whereupon, a recess was taken            13 was not when I saw him. I knew what was reported,
     14                 from 10:20 a.m. to 10:27 a.m.)            14 but I hadn't had a chance to review extensively the
     15   BY MS. HAYNES:                                          15 documents for him.
     16       Q. Dr. Lewis, before we took this break, I          16        And for 2 and 3 I never got to evaluate
     17   had asked you if you could point me to places in        17 them, but I could see what was alleged, for
     18   your report where you felt like the staff were not      18 instance, in their declaration versus what was said
     19   being truthful, and before we go through that I         19 in some of the other reports that I looked at later.
     20   wanted to ask you. I think you mentioned it was         20     Q. Okay. And did you find parts of their
     21   John Doe 1 you had an opportunity to ask for            21 declaration -- much like you found parts of the
     22   clarification with respect to parts of his              22 documentation where you felt staff were not being
                                                        Page 51                                                             Page 53
      1   declaration because you had him in front of you.         1   truthful, did you find that to be true with the
      2          Did I understand that correctly?                  2   declarations as well with respect to John Does 1
      3      A. That's correct.                                    3   through 4?
      4      Q. Were you able or did you undertake any --          4       A. Yeah. So let me -- yeah, I think it's
      5   were you able to do that with the staff at the           5   good to talk about just general and then get into
      6   Center?                                                  6   specifics.
      7      A. No.                                                7          So, you know, just in general, if you've
      8      Q. Did you talk to any of them?                       8   got somebody reporting something to you and you
      9      A. Well, when I went -- not for Doe 1 I did           9   don't have any corroboration of that, one
     10   not, no.                                                10   possibility is they're telling the truth; one is
     11      Q. Okay. What about for any of the -- for            11   that they're lying or not telling the truth or
     12   John Does 2, 3 or 4?                                    12   exaggerating; or, you know, maybe there's some
     13      A. For Doe 4 I did evaluate him at                   13   kernel of truth there.
     14   Shenandoah. So when you say talking to the staff,       14          And I guess the same for the staff
     15   just in terms of, you know, courtesy and just           15   records. It could be all totally accurate. It
     16   getting let into the facility and getting               16   could be things were left out. It could be some
     17   comfortable in the room, so just had a conversation     17   elements of truth. So, again, I was trying to be
     18   with them but nothing, nothing of substance.            18   fair to look at that.
     19      Q. Okay. So I'm taking from you that to mean         19          So, for instance, well, I can give you --
     20   that you're sort of interactions with them didn't       20   well, a couple of examples that come to mind. I
     21   have any bearing on whether you think parts of the      21   believe it was in Kelsey Wong's -- I believe it was
     22   declarations are true or untrue or parts of the         22   her affidavit or her notarized statement that -- I

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      1   think it was a notarized statement that points are      1   clear when they're supposed to get points. Other
      2   never I think she said taken away. I don't have her     2   times it seemed to me from a number of these kids
      3   document here, but she was going through the            3   that it was up to the staff and their own discretion
      4   protocol and the procedures and policies.               4   of whether they give points for this or that, and
      5          After talking to a number of these kids,         5   that's been my main concern here with the point
      6   and I could look specifically for Doe 1, but it's       6   system.
      7   clear that in my view that there were times that        7       Q. Okay.
      8   points were taken away. There were several              8       A. I think there was one --
      9   references, and I can come up with specific examples    9       Q. Let me stop you there for a second -- I'm
     10   here in a minute, where behavioral levels were lost    10   sorry, go ahead.
     11   as a result of a behavior where they lost all their    11       A. No, no.
     12   levels.                                                12       Q. Let me stop you there for just a second.
     13          And so for me, you know, I don't want to        13           So my understanding is that the policy
     14   say that's a lie, but clearly I didn't feel that was   14   with regard to the point system changed in
     15   accurately portrayed.                                  15   August 2016.
     16          I think I did feel that there was some          16           Is that your understanding too?
     17   misinterpretation on the part of some of the youths    17       A. I don't -- I believe so. I know there
     18   that, for instance, if they were to get points for     18   were a number of changes in 2016, I think somewhere
     19   doing something positive and they didn't do that       19   in the summer or fall, but I don't know for sure
     20   positive thing they would lose a point that they had   20   about that system.
     21   not already obtained, and I came to understand that    21       Q. Okay. And just to make sure I understand,
     22   as I reviewed these records. However, there were       22   you never talked to Ms. Wong in any substantive
                                                       Page 55                                                     Page 57
      1   times, and I think I could point to some specific       1   fashion?
      2   documents, where behaviors that had already been        2      A. I did not.
      3   earned points for that those points were then taken     3      Q. Okay. And that's true for all of the
      4   away. And for me that's a difference. And I felt        4   staff at the Center?
      5   that in that case staff were not being fully honest     5      A. Yes, that's true.
      6   about the fact that some points were taken away from    6      Q. Okay. Before we get into the details of
      7   these kids and they lost all their behavioral           7   your report, I want to ask you a few more questions
      8   levels, not for not having done something but for       8   about Exhibit 2, which is Appendix B to your report.
      9   having done something that they'd already earned        9   That's the list of documents.
     10   points for, and for me that was a difference.          10          Do you have that in front of you?
     11          So, again, I tried to be fair. I do think       11      A. I do.
     12   the kids distorted in some of these situations.        12      Q. Okay. I think we talked about 1 through
     13          My big concern with a point system --           13   4.
     14   because it's actually appropriate to have a point      14          And then Number 5 is your forensic
     15   system, it's a positive system, and I'm totally in     15   psychological assessment of John Doe 1 dated
     16   favor of that. Other places where I'm familiar         16   October 10th, 2017?
     17   with, even at Cook County Juvenile Center here in      17      A. Yes.
     18   Chicago use that type of system.                       18      Q. And I have two of those. I have one dated
     19          My main concern is I think it's used            19   October 10th, 2017, and one dated October 17th,
     20   inconsistently and in an arbitrary fashion as to       20   2017.
     21   when these kids can earn their points and when         21          Do you -- why are there two?
     22   they're taken away. I think certain things are         22      A. And I wasn't sure which ones you had. I

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      1 think initially I submitted the one for the 10th,                 1         Do you know if you reviewed --
      2 and then later we were asked to submit all of them.               2      A. I did not.
      3        So there were -- initially I was asked to                  3      Q. -- some or all of those?
      4 evaluate Doe 1 through the Young Center for his                   4      A. I did not have access to any of those, no.
      5 immigration case; in other words, to make                         5      Q. So you think Ms. Wong's is the only one
      6 recommendations about what types of                               6 that you reviewed?
      7 psychiatric/psychological problems he was having,                 7      A. I believe so, yes.
      8 what my recommendations were for treatment because                8      Q. And then Number 9 through 12 are ORR SVJC
      9 they weren't sure what recommendations for him would              9 records for Plaintiffs John Does 1 through 4.
     10 be best.                                                         10         Can you tell me a little bit -- I mean,
     11        I was also then asked -- the CAIR                         11 were they the entire files? Were they parts of the
     12 organization, the Capital -- I forget what it stands             12 files? What did you review for John Does 1 through
     13 for, Capital Area Immigrants Rights, CAIR, Coalition             13 4?
     14 also got involved after I talked to the Young Center             14      A. Essentially I don't think it was the
     15 and asked if I would do a competency evaluation on               15 entire file for any of them. That would have been
     16 Doe 1 for the court because they weren't sure if he              16 pretty overwhelming, and there were certain things
     17 was capable of even functioning in the courtroom                 17 that were irrelevant.
     18 setting to work with his lawyers.                                18         So it would be things like disciplinary
     19        So I was asked to do two. Initially they                  19 reports, serious incident reports, if they had
     20 asked me to do one report, and after evaluating him              20 progress notes available, case management notes, any
     21 I just said to them I can't -- these are two very                21 medical or psychological evaluations that were done
     22 different things; I need to do two separate reports.             22 that they had access to or -- yes, that were
                                                               Page 59                                                           Page 61
      1          So I forget which one was which. I                       1   included as part of the record.
      2   believe the competency report was the one for the               2          I had much more for John Doe 1 than I did
      3   10th and the immigration or the trauma or the                   3   for the others. Doe 4, again, a lot came in, but it
      4   treatment recommendations report I believe was the              4   came in literally days before I submitted the
      5   later one.                                                      5   report. So I did review some of his records prior
      6       Q. Okay. And then number 6 is the -- 6 and 7                6   to submitting the report but was not able to look at
      7   are the Complaint and the First Amended Complaint.              7   a lot of it until afterwards.
      8          Do you know if you've seen a Second                      8       Q. And John Doe 1 is the only one that you
      9   Amended Complaint?                                              9   were able to review the documentation in a time in a
     10       A. Yes, I believe, yes. That probably should               10   way that you could talk about the documentation with
     11   have been included on here too.                                11   him, right?
     12       Q. Okay. And then Number 8 is the                          12       A. That's right.
     13   Defendant's Brief in Opposition to the Plaintiffs'             13       Q. With John Doe 4 you didn't have that
     14   Motion for Preliminary Injunction.                             14   opportunity because you would have evaluated him
     15          Did you also review the materials attached              15   before you got those records?
     16   to that brief? You referenced Ms. Wong's statement.            16       A. Well, I mean, I knew some things. I just
     17   Did you review the remainder of them?                          17   wasn't able to do it in as comprehensive a way.
     18       A. I forget. What else besides Ms. Wong?                   18          And I should say too that the initial
     19   There were other ones you said.                                19   report, the initial evaluation that I did on Doe 1,
     20       Q. Yes. I think there were affidavits for                  20   even though it was a forensic evaluation because it
     21   Ms. Wong, Ms. Gallardo, Ms. Twigg, Ms. Rocks and               21   just wasn't -- again, I was not involved in the
     22   Ms. Contreras.                                                 22   civil case at all at that point. So it was forensic

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      1   in the sense that it was for immigration and for the    1   four other youths that I did not evaluate personally
      2   competency question that the judge needed help with,    2   but I reviewed their declarations only.
      3   so it was forensic in that there was a psycho-legal     3           I'd have to go back and look and see what
      4   question being asked, but I wasn't -- I didn't have     4   I got in terms of other records for them. I'm not
      5   the mind set of a civil case at that point.             5   sure I had very much. I don't think I had much in
      6          So, again, I mean, all I can say is that's       6   terms of records to look at other than their
      7   part of why I didn't compare and contrast as much       7   declarations.
      8   even with Doe 1.                                        8      Q. Is there a reason you didn't list those
      9          So I was aware of things, and I just             9   declarations along with the other declarations on
     10   routinely do that anyway, but it wasn't a part of      10   this appendix?
     11   the civil case. It was simply immigration and          11      A. Part of what I wasn't sure about when we
     12   competency at that point was the primary focus.        12   submitted this was I was under the assumption that
     13          So I didn't ask as much about his               13   the original report I had done was -- well, actually
     14   experience in detention. I mean, I did ask about it    14   this -- I've got to get -- refresh my memory as to
     15   because I needed to know that, and I could see that    15   which -- yeah, was that I assumed that that was
     16   he was struggling and there had been a lot of          16   going to be submitted separately from this. So I
     17   reports of aggression, so I needed to understand       17   assumed that was already known, so I just didn't
     18   that. So in general I did that, but it wasn't like     18   include it here.
     19   a fine-tooth comb where I was going through a lot of   19      Q. So you intended Appendix B to be
     20   specifics with one. There just wasn't time. It was     20   supplemental to whatever you listed in your first
     21   a two-day evaluation, and I just didn't have time to   21   report?
     22   do all of that, so just so I'm clear on that.          22      A. I did, originally I did, yes, yes.
                                                       Page 63                                                       Page 65
      1      Q. Yes, thank you for the explanation.               1      Q. Okay. So you believe you might have
      2           Did the materials for these minors contain      2   reviewed three or four declarations from other
      3   documentation for other facilities, or were they        3   unaccompanied children besides 1 through 4, right?
      4   just Shenandoah documents?                              4      A. I know it was at least three, and it might
      5      A. I'd have to look at each of them                  5   have been four, yes.
      6   specifically, but yes, they either referenced the       6      Q. And I think you said some limited
      7   other facilities without including those records.       7   documentation with respect to those other UCs; is
      8   In some cases they actually had records from those      8   that fair?
      9   facilities.                                             9      A. Because it wasn't a big focus in this last
     10           I believe Doe 4, for instance, there were      10   report, I'd have to go back and -- yeah, it was very
     11   records from Children's Village and from -- and they   11   limited, if any, documentation other than the
     12   were not ORR records that I had from Children's        12   declarations. I'm not sure I had -- I'd have to go
     13   Village. They were through the care -- no, I'm         13   back and look.
     14   sorry, they were through Catholic Charities in his     14      Q. And I don't think, in reading your report,
     15   case, in that case.                                    15   I don't think that you reached any conclusions with
     16           So mostly they were Shenandoah records         16   respect to unaccompanied children specifically with
     17   primarily.                                             17   respect to a specific child besides John Does 1
     18      Q. Did you review documentation for any minor       18   through 4.
     19   besides John Does 1 through 4?                         19          Is that consistent with your
     20      A. Yes. Or I reviewed declarations. I'd             20   understanding?
     21   have to look at the original report that I did.        21          MS. LIEBERMAN: Object to form.
     22   There were -- yes, I believe there were three, maybe   22

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      1   BY MS. HAYNES:                                           1   to produce a report.
      2       Q. Let me try again because I'm trying to            2      Q. So more like a consultation, right?
      3   understand where these other declarations came into      3      A. Consultation type of thing, yes.
      4   your opinions.                                           4      Q. So it sounds like it's fair to say that
      5          So I didn't see in your report -- you             5   you've never reached conclusions about an individual
      6   discussed sort of assessing of trauma on children        6   that you've put in a report that was submitted in a
      7   and on immigrant children in particular generally.       7   case without evaluating that person in person,
      8       A. Right.                                            8   right?
      9       Q. But I did not see a conclusion or an              9          MS. LIEBERMAN: Objection to form.
     10   opinion with respect to a specific child other than     10   BY MS. HAYNES:
     11   with respect to 1 through 4.                            11      Q. Let me try to make it a little clearer.
     12          Am I right in reaching that conclusion?          12          You've consulted on cases and reviewed
     13       A. Yes. In other words, those four are              13   records regarding unaccompanied children or minors
     14   listed in here and very specifically to them. But       14   that you didn't meet personally, right?
     15   with that said, I mean, all of them, primarily          15      A. Yes.
     16   these, but all of them factored in to some extent in    16      Q. But you've never put opinions in a report
     17   my conclusions, but I just didn't specifically --       17   about a specific child in a civil case without
     18   because I didn't have enough to go on to make any --    18   evaluating that child in person?
     19   again, there was inconsistencies, but I had no -- I     19      A. I'm just thinking for a moment.
     20   mean, I couldn't evaluate them, so I just felt like     20      Q. Until now. Yes. Take your time.
     21   I really couldn't say as much about them, whereas 2     21      A. I believe that's correct.
     22   and 3 I had substantial records for so I felt like      22          I believe that's correct, yes.
                                                        Page 67                                                             Page 69
      1   there was some means of comparison.                      1     Q. Okay. Almost through our list in
      2       Q. Fair enough. So let me ask you while              2 Exhibit 2.
      3   we're on this subject.                                   3          Number 13 are the CAIR records for
      4          John Does 2 and 3 you've reviewed you             4 John Doe 4, which I think you referenced before.
      5   think sufficient documentation to reach an opinion       5     A. That's right.
      6   about their care, right?                                 6     Q. Do you know what -- and I think you said a
      7       A. I believe so.                                     7 couple times you got more, is it fair to say you got
      8       Q. But you haven't met them, right?                  8 more records for John Doe 4 than for the other
      9       A. That's right, right.                              9 three?
     10       Q. Do you -- have you done forensic -- in           10     A. Yes. I mean, about 2,000 pages came in
     11   other cases have you reached opinions about             11 towards right before we submitted this last report.
     12   individuals without evaluating them?                    12 I had a lot for Doe 1. I don't know if it was
     13       A. I need to think about that for a moment.         13 2,000, but it was considerable. But yes, Doe 4 I
     14       Q. Sure. Take your time.                            14 had much more.
     15       A. I don't -- I've often been asked to              15     Q. Do you know about how much documentation
     16   consult, you know, perhaps by a lawyer or another       16 you had for John Doe 4 when you evaluated him, which
     17   clinician on cases but did not submit any formal        17 I think was in July, this past July?
     18   reports. I never went before the court; I never had     18     A. Well, I believe all the documentation had
     19   to testify.                                             19 been given to me. It was just a matter of timing in
     20          So render an opinion, I guess it would be        20 terms of -- well, actually July, I'd have to go back
     21   more informal or consultive, but not in terms of        21 and look as to when I got -- no, let me take that
     22   legal. It never went to court. I was never asked        22 back. The bulk of it did not come in until a week

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      1 or whatever, a few days before we submitted the last              1   were other things there. I'm just trying to think
      2 report.                                                           2   if there were other primary documents where other
      3          I'd have to go back and look. I don't                    3   things were submitted to me.
      4 know. I don't know the answer to that.                            4       Q. So to make it easier, if I confine it to
      5     Q. Okay.                                                      5   other documents you've reviewed that are not on
      6     A. If I could look at Doe 4 for a minute, I                   6   Appendix B but were significant to you in writing
      7 could probably recollect. Is that --                              7   your report and reaching your conclusions.
      8     Q. Sure.                                                      8       A. Okay, yes.
      9     A. If I could do that?                                        9       Q. So are there any that you can think of
     10     Q. Take your time.                                           10   that are not on this list?
     11     A. Okay.                                                     11          MS. LIEBERMAN: That were significant to
     12          So I actually had a lot of the I guess it               12   the report?
     13 was the clinical evaluations that had been done on               13          MS. HAYNES: Right.
     14 him. I was aware of -- so I have a fair amount.                  14          THE WITNESS: I would say the significant
     15 Again, a large amount came in right before we                    15   ones are listed here, and I believe that it's
     16 submitted this, but I also had a fair amount at that             16   complete. I'm just trying to think if there's
     17 point in terms of clinical evaluations, the care                 17   anything I reviewed because, again, some things came
     18 records. So I was able to ask about those things                 18   in right at the deadline, and I have looked at
     19 with him.                                                        19   those.
     20          What I didn't have as much of at that                   20          So the expert witness, that we got, report
     21 point were progress notes or I didn't review                     21   I looked at later, so that was not a part of this,
     22 progress notes and case management because they were             22   the expert from the Government. I'm talking about
                                                               Page 71                                                      Page 73
      1 just voluminous, and I had to get this evaluation                 1   the Nelson report. That came later. I did review
      2 done because of timing. So that factored in later                 2   that.
      3 when I reviewed those in more detail and then added               3          I think if I could just take one second
      4 that to the report.                                               4   and look, see if there's anything that I brought
      5          So I had a fair amount of clinical                       5   that I didn't include here because I didn't bring
      6 information and, you know, when I did the initial                 6   all the documents but I brought the main ones. I
      7 evaluation.                                                       7   included that, included this.
      8     Q. Okay. Thank you for looking back to                        8   BY MS. HAYNES:
      9 clarify that.                                                     9       Q. And, Dr. Lewis, if you wouldn't mind kind
     10          And then the last item on Appendix C [sic]              10   of as you're going through that just generally
     11 is your supplemental report dated April 3rd, 2018,               11   telling me what you have.
     12 right?                                                           12       A. Sure. Well, this is Exhibit B, what we're
     13     A. Yes, yes.                                                 13   looking at right now. Well, I'm not sure why it's
     14     Q. I think we talked about the Second Amended                14   Exhibit B, but September 11, so it's just that
     15 Complaint, which you have reviewed and it's not on               15   report.
     16 here, and declarations of three or four other                    16          I think this was the report -- which one
     17 unaccompanied children that you remember reviewing.              17   was this? This was -- some of these are duplicates.
     18          Are there other documents you've reviewed               18   I'm sorry, I've got to find the front of it here.
     19 that are not on this list?                                       19          Okay. This is Ann Nelson's report, but
     20     A. I don't -- I'm trying to think. Like you                  20   this came later. That was not a part -- I wasn't
     21 mentioned, like I wasn't aware that there were these             21   sure if you were going to ask about that today so I
     22 other documents attached to the Wong, that there                 22   brought that. I wasn't sure if I had access to it,

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      1   but that was not included here.                         1 declarations listed here, so I said it was either
      2           This we have. This is the supplemental          2 three or four. It was three that were listed in
      3   report.                                                 3 Appendix A: The declaration of         ., declaration of
      4       Q. The April 3rd, 2018 report?                      4      ., and declaration of      . They were also --
      5       A. Yes, April 3rd, 2018.                            5 they were all from January of 2018. So I assumed
      6           The -- well, this is just an article that       6 that was part, that that was already submitted.
      7   I had with me that I was reviewing on the use of        7     Q. Okay.
      8   restraints.                                             8     A. And that's all.
      9       Q. What is that article?                            9     Q. Okay. Let me ask you this: Your report
     10       A. I believe I referenced it in here. It's         10 in a couple of places mentions some Shenandoah
     11   by Kennedy and Mohr, M-o-h-r. It's called A            11 policies.
     12   Prolegomenon on Restraint of Children: Implicating     12           Did you review policies of the Center?
     13   Constitutional Rights. It is referenced in my          13     A. As much as I could, yes. I mean, there's
     14   report.                                                14 a lot of policies, but the ones that seemed relevant
     15           This was Dr. Gorin's evaluation of Doe 4,      15 to what I was looking at, like use of force,
     16   which I had not reviewed. I reviewed after. I did      16 behavioral management I reviewed in a fair amount of
     17   not review that when I did the report. I reviewed      17 detail.
     18   it afterward because it came in late.                  18     Q. Okay. I don't have your February 27th
     19           This is an article on again utilizing          19 report in front of me.
     20   restraints.                                            20           Did you list policies as documents you
     21           Is that for you?                               21 reviewed in that report?
     22       Q. Which one is that?                              22     A. February 27th, that was the -- was that
                                                       Page 75                                                             Page 77
      1      A. It's by Day. Let's see, Examining the             1   our first report?
      2   therapeutic utility of restraints and seclusion with    2       Q. Yeah, that was the one that you just had.
      3   children and youth: the role of theory and research     3       A. No, because I didn't -- I'm just trying to
      4   in practice. I'm quite sure I referenced it in my       4   think for a minute.
      5   report.                                                 5           No, I did not have access to the policies
      6          And the last one is -- this is the one I         6   at that point.
      7   submitted on February 27th, which I thought was         7       Q. Okay. Do you remember when you got access
      8   originally -- I thought that's why I didn't include     8   to the policies?
      9   some of the things in my appendix. This is dated        9       A. Specific date, no, but it would have
     10   February 27th, 2018. It was the original, the first    10   been -- well, let's see. The last report was
     11   report that I did, and it lists in that one a lot of   11   submitted in September, so a couple of months.
     12   the records that I had for John Doe 1, case            12   Let's see.
     13   management and progress notes, clinical addendums,     13           I don't remember exactly, but, I mean, I
     14   medical evaluations, and various other psychological   14   had it for quite a while, maybe August or -- no, it
     15   evaluations that were done.                            15   would have been probably at least July.
     16      Q. And just so we're clear, your intention          16       Q. Did you have all of the Center's policies,
     17   was that the documents you listed in that              17   do you know, or was it a subset?
     18   February 27th report are in addition to the            18       A. That I don't know. I know there was quite
     19   documents listed here on Appendix B?                   19   a bit there because I was also sent records of some
     20      A. Yes.                                             20   of the kids that I evaluated and some that I didn't
     21      Q. Okay.                                            21   evaluate. So there was a lot there, but I can't say
     22      A. Yes, and there again, there are three            22   if I thought it was all of the policies, but it was

                                                                                                          20 (Pages 74 - 77)
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      1   a lot.                                                    1     A. No. This is the first time hearing of it.
      2       Q. And is there any particular reason that            2     Q. So it sounds like Dr. Weisman and
      3   you didn't list the policies in Appendix C?               3 Ann Nelson's reports are the only other expert
      4       A. In terms of the last report that we just           4 reports you've reviewed?
      5   did --                                                    5     A. I believe so, yes.
      6       Q. Yes, sir.                                          6     Q. Okay. I want to turn to Exhibit 3, which
      7       A. -- to the last report?                             7 is your September 11th, 2018 report, and I wanted to
      8       Q. To Exhibit 2.                                      8 start on Page 1 with your Executive Summary.
      9       A. No, I would say simply an oversight. I             9     A. Okay.
     10   mean, I guess by referencing it I was assuming it        10     Q. And I just kind of wanted to sort of
     11   was kind of known, but yeah, I think simply an           11 30,000-foot view talk about your opinions here in
     12   oversight.                                               12 your Executive Summary.
     13       Q. Okay. You referenced Dr. Nelson's report,         13        And I think your first one is that
     14   which I think you said you reviewed.                     14 Shenandoah staff do not demonstrate an understanding
     15       A. I did, after the report, after this report        15 of the manifestations of trauma and stress in youth,
     16   was submitted, yes.                                      16 do not utilize and, therefore, do not appear to be
     17       Q. Right. Did you review reports of any              17 well-trained in utilizing trauma-informed approaches
     18   other experts in the case, whether for the plaintiff     18 that are the standard of care in all stages of the
     19   or the defendant?                                        19 juvenile justice system.
     20       A. I -- for the defendant I don't -- I didn't        20        So there's a lot to unpack there, but
     21   see any. I think Ann Nelson was the only expert          21 first, generally, I just wanted to ask you how you
     22   report that I saw for the defendant.                     22 came to that conclusion and what your basis in your
                                                         Page 79                                                             Page 81
      1          I have seen one report done by                     1   words is.
      2   Andrea Weisman, by Dr. Weisman, so I did review           2       A. So this was based on just in general
      3   that. That would have been after the February             3   reading through progress notes and case management
      4   report was submitted, so 17th or whenever that was,       4   notes as well as the youth that I talked with and
      5   so sometime after that I reviewed that. That did          5   their declarations. In other words, it was globally
      6   not factor into my decision, but I did review that.       6   based on that there are certain things I would look
      7      Q. Okay. Have you ever discussed the case              7   to see in a truly trauma-informed environment that I
      8   with her?                                                 8   did not either see in their documents or hear from
      9      A. I have never met her or talked with her,            9   the youth that I evaluated, and it just felt like it
     10   no, or discussed it with her.                            10   was lacking to me.
     11      Q. What about Dr. Nelson, or Ann Nelson, do           11          So that's -- I mean, globally that's where
     12   you know her?                                            12   that came from. I mean, with Doe 1 there were very
     13      A. I do --                                            13   specific things that I feel got missed there, but as
     14      Q. Have you ever met her?                             14   far as globally it was based on what the kids told
     15      A. I do not, no.                                      15   me and what I saw or didn't see in the notes.
     16      Q. Have you read Dr. Diver's report?                  16       Q. You mentioned there are some truly
     17      A. What was the last name, Guyver?                    17   trauma-informed approaches that you didn't see.
     18      Q. Dr. Diver.                                         18          Can you give me some examples of what
     19      A. I'm not sure. Is that an expert?                   19   you're thinking of when you say that?
     20      Q. He's another -- yes.                               20       A. Truly -- I didn't hear what you said.
     21      A. No.                                                21   Truly prominent?
     22      Q. He's another expert. Okay.                         22       Q. I think you said -- I heard you say there

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      1 were some truly trauma-informed approaches that were             1 environment, for instance, that may be triggering
      2 lacking or that you didn't see, and I was just                   2 past traumas that these kids have had.
      3 wondering if you could give me some examples of what             3        With Doe 1, I mean, I don't know if you
      4 you mean when you say that.                                      4 want me to give you a specific example.
      5     A. So let me start with what -- and, again,                  5     Q. Let me stop you there so I can ask you
      6 trying to look at what trauma aspects I felt were                6 some questions.
      7 attempted. It was clear that there is a brief                    7     A. Okay.
      8 assessment. I forget the name of the form offhand.               8     Q. So you mentioned that you felt this
      9 I know there's a checklist. It's a structured -- so              9 opinion was particularly true with respect to Doe 1.
     10 there is some attempt to identify trauma and abuse              10        Did you feel like the approach to trauma
     11 when the kids first come into the program wherever              11 or the trauma-informed approaches had increased or
     12 they enter. There were some diagnoses by some of                12 improved by the time you were reviewing John Doe 4's
     13 the clinicians that these kids had trauma.                      13 records?
     14        So there were different aspects of trauma                14     A. No.
     15 that clearly were attempted. My concern was that it             15     Q. So what do you mean when you say
     16 didn't seem to be integrated into the treatment of              16 particularly with respect to John Doe 1 you did not
     17 many of these youth, particularly Doe 1.                        17 feel that there was a trauma-informed approach?
     18        I also felt like what one clinician might                18     A. What I'm referring to there is because I
     19 recommend or Dr. Kane, whatever, that I just didn't             19 was actually able to meet with him over a two-day
     20 see any evidence that they were having team meetings            20 period and see how he responded and hear his story,
     21 or times to really talk about how these kids were               21 I just felt like I had much more -- I mean, it was
     22 traumatized.                                                    22 just, you know, I could see it in front of me. I
                                                              Page 83                                                             Page 85
      1           And one of my big concerns was that in a               1   could see how he responded when I was asking him
      2   truly trauma-informed environment, this is my                  2   about, you know, whether I felt he was competent and
      3   feeling based on other centers I'm familiar with, is           3   just things. I mean, he just totally shut down.
      4   that it isn't just about, you know, assessing a                4          And he talked about one specific example
      5   child initially or a youth as to whether they've               5   where one of the things that happened when he was at
      6   been traumatized or experienced abuse and then                 6   Shenandoah was that one of the guards, I don't know
      7   giving them a diagnosis. It's also about training              7   how many times this happened but at least on one
      8   all of the staff who are participating with those              8   occasion, the tone of voice and what the guard said
      9   youths. So be it the guards, be it, you know, the              9   reminded him of his dad; and I don't remember
     10   secretary, be it whomever, that everyone needs to             10   exactly at that point if he went off on the guard or
     11   understand trauma because it's a very different way           11   if he detached, but for me it was a very clear
     12   of viewing the problems that these kids are having,           12   example of the prior trauma that he had had.
     13   you know. As many of the reports state, these                 13          And the reason that's significant for me
     14   youths have conduct problems, they have depression,           14   is that if kids have been traumatized, that trauma
     15   they have various kinds of anxiety; and that's not            15   stays with them unless they get treatment, most
     16   necessarily -- I mean, that's true, but if we just            16   cases. Some people, occasionally people can work
     17   look at it as these are various problems these kids           17   through a trauma without getting therapy. There's a
     18   have and not understand that the underlying cause             18   lot of variables that go into that. But for many
     19   for many of these kids is trauma, it's going to be            19   people and many of these kids, without treatment
     20   dealt with in a very different way. We're just                20   those traumas stay inside of them and are easily
     21   going to target conduct disorder or depression and            21   reignited in settings where they don't feel safe.
     22   not understand that there are things in this                  22          So, for instance, if he felt disrespected

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      1   he might swear back at the guard. And what I felt             1   traumatized are functioning well; others that have
      2   from, again, reviewing his records as well as some            2   been traumatized are not.
      3   of the other records was that the guards were quick           3          So I think the continuum is the nature of
      4   to react to that without going through the protocols          4   the trauma. I don't think in terms of the
      5   of active listening and really trying to engage               5   trauma-informed approaches -- I mean, there's
      6   these kids. I felt they were much too quick to go             6   different kinds of therapies that people do, but the
      7   to either a point loss or room confinement.                   7   trauma-informed approach is really a comprehensive
      8          And if you understood it from a trauma                 8   approach to doing everything from assessing that
      9   perspective, it's important to engage these kids and          9   child to providing treatment to working to train the
     10   to have a thicker skin in terms of like if they're           10   staff and understanding trauma so that they're not
     11   swearing. I realize there needs to be some                   11   just reacting to kids as if they're acting out, you
     12   intervention there. I'm not saying there shouldn't           12   know, or need to be -- you know, simply lose points
     13   be, but I just felt like there was an overreaction           13   or whatever, that the trauma needs to be understood.
     14   because of not understanding that this kid isn't             14          Staff, what we call counter-transferring,
     15   just trying to disrespect me. This is probably               15   staff need to understand, you know, that they're
     16   something triggered from his past; I need to                 16   going to get triggered at times by what these kids
     17   understand that so I don't overreact to this kid.            17   do. And if they just react because they're pissed
     18          So much of my concern, and, again, I don't            18   off at a kid, don't understand that this is a
     19   know what -- I'm aware that there is some basic              19   traumatized kid, they're going to respond in a very
     20   annual training and that type of thing. My concern           20   different way.
     21   is whether it's really hands-on training and                 21          So it's really a comprehensive I guess
     22   understanding trauma that the guards get and the             22   package, if you will. It's like a wheel or a circle
                                                             Page 87                                                     Page 89
      1 staff as a whole so that they can really integrate              1   where you've got different aspects of the trauma,
      2 this into their work. So that's one of my main                  2   but they all are considered part of a
      3 concerns.                                                       3   trauma-informed approach. I don't know if there's a
      4     Q. Have you reviewed any of the training                    4   continuum of a trauma-informed approach. I mean,
      5 materials for the Center?                                       5   there might be different ways that I work with
      6     A. I'm familiar -- no, I have not. No.                      6   someone who has been traumatized depending on the
      7     Q. Okay. Have you reviewed any deposition                   7   nature of their trauma, so there's some flexibility
      8 testimony at all?                                               8   there. I don't know if that's what you're getting
      9     A. I have not.                                              9   that.
     10     Q. It sounds to me like a trauma-informed                  10          But I don't see a continuum of
     11 approach is a continuum. Is that fair?                         11   trauma-informed approaches.
     12        You can have a trauma-informed approach,                12      Q. So what I'm trying to understand is I
     13 and at one end of the continuum you're implementing            13   think I heard you say your opinion is that
     14 a certain number of trauma-informed practices, and             14   Shenandoah does not have a truly informed --
     15 at the other end you might be implementing one or              15      A. Right.
     16 two.                                                           16      Q. -- or truly trauma-informed approach,
     17        Is that an accurate description of the                  17   right?
     18 concept?                                                       18      A. Right.
     19     A. Well, I don't -- I mean, that's not how I               19      Q. But at the same time you recognize they're
     20 would describe it. I think there's a continuum of              20   doing a couple of things that you would describe as
     21 people who are traumatized, you know, some severely,           21   trauma-informed, and you gave the example of
     22 others not so much. Some people that have been                 22   assessing at intake for trauma, right? Did I

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      1   understand that correctly?                            1                  Q. -- of things that Shenandoah doesn't do
      2       A. Yeah, it would be kind of like looking         2             that it should be doing. And will you just point
      3   at --                                                 3             those out to me as we go through the deposition, and
      4       Q. So what I'm trying --                          4             I'll ask you about them when we --
      5       A. Yeah, yes, yes.                                5                  A. That would probably be a better way to do
      6       Q. So what I'm kind of struggling with is can     6             it, I agree.
      7   you say, okay, Shenandoah, if you do X, Y and Z       7                  Q. Okay. So let me ask you this: In your
      8   approaches that are trauma-informed, then, okay, I    8             first opinion you conclude by saying "that are the
      9   think you're doing what you're supposed to be doing? 9              standard of care in all stages of the juvenile
     10   Can you give a concrete three or four or five or     10             justice system."
     11   however many things that they would need to do to be 11                     And accepting that -- you believe the
     12   what you consider truly trauma-informed?             12             standard of care is a trauma-informed approach,
     13       A. That would require me to look at the          13             right? Is that a fair way of describing it?
     14   report, but I think I can give you some.             14                  A. Yes.
     15       Q. Okay.                                         15                  Q. So what authority or source are you basing
     16       A. So I'm looking at the September 11th          16             that on when you say X is the standard of care and
     17   report.                                              17             trauma-informed care is the standard of care?
     18         So if we could look at Doe 4, which starts     18                  A. I mean, there were two primary groups that
     19   on Page 28, as I said before, I did evaluate Doe 4   19             I referenced here. One was the National Child
     20   over two days. And then if we look at Number -- I'm 20              Traumatic Stress Network. The other was referencing
     21   trying to find where I put my diagnoses.             21             the Attorney General's report of I believe it was
     22       Q. Paragraph 133 maybe?                          22             2012 that basically stated that.
                                                               Page 91                                                    Page 93
      1     A. That's probably what I'm looking for.                      1       Q. Okay. And so in looking at the National
      2 Yes.                                                              2   Child Traumatic Stress Network, my understanding is
      3        So, again, I evaluated him, and I did                      3   that their mission is to raise the standard of care,
      4 specific tests regarding trauma as well as my                     4   and the way they describe it is and improve access
      5 clinical interview and felt that he met criteria for              5   to services for traumatized children, their families
      6 chronic posttraumatic stress disorder.                            6   and communities throughout the U.S.
      7        This is also based partly on the fact that                 7          Is that your understanding of their kind
      8 he had also been -- even though my own independent                8   of reason for being and mission?
      9 evaluation showed that, I believe there were other                9       A. Yes. They were established by Congress, I
     10 records that I had seen, yes, that talked about                  10   forget exactly, I think it might have been in 2000,
     11 another facility having evaluated him as being                   11   but that was their purpose, to begin to look at
     12 traumatized.                                                     12   juvenile centers and the whole system and to improve
     13        So if we look at that and then go to --                   13   and, like you said, raise the standard of care, yes.
     14 let me just pick one of the incidents here. I'm                  14       Q. So to me, if an organization whose reason
     15 just trying to find more of a clear example that --              15   for existence is to raise the standard of care says
     16     Q. Sure. So, Dr. Lewis, we have somewhat                     16   here is the standard of care, that would seem to me
     17 limited time today, so maybe if -- we are going to               17   to be an aspirational standard.
     18 go through your report in some detail. So if you                 18          Does that not seem to you to be the case?
     19 would just point out to me when we come across those             19          MS. LIEBERMAN: Objection to form.
     20 things. I'm looking for specific, concrete                       20          THE WITNESS: So aspirational, well, I
     21 examples --                                                      21   guess where you're going is that it's --
     22     A. Yeah, and that's what I was trying to --                  22

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      1   BY MS. HAYNES:                                          1      A. Yes.
      2       Q. Let me ask it this way, Doctor: Do you           2      Q. While their status is being determined; is
      3   think that --                                           3   that fair?
      4       A. At one point it was aspirational, yes, but       4      A. Yes.
      5   at this point I think --                                5      Q. And then within the facilities that ORR
      6       Q. When do you think it became -- when do you       6   contracts with there are certain levels as far as
      7   think it became not aspirational but in your mind       7   security is concerned?
      8   just a standard?                                        8      A. Yes.
      9       A. I mean, a standard as far as being               9      Q. And do you know where Shenandoah falls on
     10   codified, I don't know that it has been codified,      10   that spectrum?
     11   you know, mandated, let's put it that way. But,        11      A. My understanding is they're a secure
     12   again, this organization started in 2000, and I'm      12   facility that normally -- well, I guess normally the
     13   aware of a number of centers starting in 2010 that     13   youth that are there would be youth that are more
     14   moved towards this approach, you know. Even in the     14   behaviorally problematic or disregulated, perhaps
     15   Cook County Juvenile Detention Center where I've       15   have been more aggressive or violent.
     16   spent some time, you know, it's been there for         16      Q. And do you know how the determination is
     17   years.                                                 17   made to send a UC to a specific facility and to a
     18          So in terms of being codified or mandated,      18   specific -- whether it's to a specific security
     19   no, I don't see it being mandated, but I think it's    19   setting or level?
     20   much more than aspirational. I think it was            20      A. I don't know specifically, no.
     21   certainly in 2000. And so when did it -- I think       21      Q. Okay. Do you know whether or to what
     22   it's been standard for years. People that do the       22   extent Shenandoah has any say in which kids come to
                                                       Page 95                                                      Page 97
      1   work with whether it's delinquent kids who are in       1   them?
      2   detention centers or immigrant kids have to             2      A. My understanding would be that ORR
      3   understand trauma, and that's really -- that's the      3   primarily makes those determinations. I do believe
      4   treatment. That's really the primary, in my mind        4   that -- so I believe it's ORR. But my concern is
      5   the primary standard even if it's not mandated.         5   that particularly, I don't know if it was Doe 4 --
      6       Q. Are there any other sources that you know        6   no, I think it was Doe 3 actually, who I did not
      7   of or you can think of besides the National Child       7   interview, who had been on good behavior, for
      8   Traumatic Stress Network or the Attorney General, I     8   instance, for 96 days that -- and yet it was quoted
      9   think you said 2012 Attorney General report?            9   by I believe his clinician that he wasn't giving her
     10       A. Right, I believe that was the other, the        10   enough good behavior to fight his case for a step
     11   other main one that I'm referencing, the Attorney      11   down.
     12   General's report.                                      12          So it seemed clear to me that Shenandoah
     13       Q. Okay. The last thing I wanted to ask you        13   has some responsibility to either facilitate or
     14   about this statement is at the end where you say "in   14   advocate for these kids. I know they fill out -- I
     15   all stages of the juvenile justice system." And I      15   mean, I don't know, but I assume they fill out some
     16   guess you mentioned earlier that in some of your       16   recommendation at some point if the kids have 30
     17   other cases you think the defendant centers were       17   days or whatever of good behavior, no SIRs, that
     18   staff secure.                                          18   they do expedited process.
     19           Can you tell me kind of what your              19          My concern was that I believe it was
     20   understanding of the different levels? Is it your      20   Doe 3, I'd have to go back and look at it, but he
     21   understanding that ORR contracts with certain          21   was moved from staff secure to secure within two
     22   facilities to send unaccompanied minors there?         22   days but yet he had 96 days of good behavior and no

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      1   step down, and that was clearly a part of what                  1   specifically, but I suspect it has to do with that,
      2   discouraged him and demoralized him. And I just                 2   going to a secure facility, a kid that they felt was
      3   feel like Shenandoah could have done much more to               3   basically unmanageable or just acting out
      4   advocate.                                                       4   aggressively.
      5          And, in fact, his therapist or the case                  5      Q. And do you think that the same standard
      6   manager -- I'd have to go back and look at the                  6   should apply from a clinical psychology perspective
      7   specifics -- stated, you know, this is after 96 days            7   to a secure setting as to a staff secure as to a
      8   he acted out, and they were told no more, you know,             8   residential center?
      9   you're not going to get a step down at this point;              9      A. The same standard in -- could you ask it
     10   and then it was quoted in one of the -- I'd have to            10   again?
     11   go back and look, I can find it for you, that two              11      Q. So I understand your -- I understand your
     12   days later, you know, she said to him you're not --            12   opinion to be that a trauma-informed approach is the
     13   unless you give me good behavior I can't advocate              13   standard of care when it comes to clinical
     14   for you or I can't fight your case for a step down.            14   psychology, your field.
     15          So that tells me that Shenandoah, there                 15          Is that your opinion?
     16   are things that they can do off the record to                  16      A. Well, for facilities. I mean, everyone I
     17   expedite.                                                      17   see is not traumatized, so I guess -- just when I do
     18          And also this is a young man that was                   18   my work as a private practitioner. But if we're
     19   moved -- within two days was moved from I think it             19   talking about facilities like you mentioned, yes, I
     20   was Arizona or wherever he was at to Shenandoah.               20   think standard of care is considered a standard -- a
     21      Q. Do you know whether -- I mean, what's your               21   trauma-informed approach is considered the standard
     22   understanding of who has the final authority to make           22   of care.
                                                               Page 99                                                    Page 101
      1 that call? Like if Shenandoah advocates, are they                 1      Q. And do you think that that standard
      2 able to make any kind of final decision with respect              2   applies to any detention center regardless of
      3 to where a youth goes or does not go?                             3   whether it's a staff secure center or a secure
      4     A. I suspect they do not. I suspect it's                      4   center or just a residential center?
      5 ORR, but, again, I would think they'd have a strong               5      A. I believe it should simply because of
      6 say, you know, in advocating or facilitating.                     6   especially if we're talking about immigrant youth or
      7     Q. Going back to the different levels of                      7   even just youth that are, you know, American kids,
      8 centers with which ORR contracts to take these                    8   that there's so many of them that have been
      9 youth, do you know, do you have a sense of how many               9   traumatized that if we don't look at it, the trauma
     10 secure facilities like Shenandoah there are?                     10   nature of that and really embrace all the aspects of
     11     A. An accurate number, no. I think I heard                   11   trauma-informed care, it's going to -- so yes, I
     12 at one point that there might be two other ones in               12   guess my answer is yes to that.
     13 the country. I think they're limited is my                       13      Q. How do you balance the need for security
     14 understanding, a limited number.                                 14   in a setting like a staff secure center or a secure
     15     Q. And do you have any familiarity with what                 15   center like Shenandoah against trauma-informed
     16 has a bearing on whether a youth goes to a secure or             16   approaches?
     17 staff secure setting?                                            17          MS. LIEBERMAN: Objection to form.
     18     A. Specifically, no. I believe I read in one                 18          THE WITNESS: How do I balance? There are
     19 of the -- I forget exactly where it was, that if                 19   always -- certainly --
     20 there was a history of I think prior criminal                    20   BY MS. HAYNES:
     21 behavior or I guess significant aggressive episodes              21      Q. Let me ask it this way: Do you take into
     22 perhaps that that might -- I don't know                          22   consideration in looking at a facility whether it is

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      1   a staff secure facility, a residential facility or a    1       Q. -- is that right? Okay.
      2   secure facility in determining what standard should     2          And so is your opinion here necessarily
      3   apply?                                                  3 limited to your review of those documents? Do you
      4       A. For me the -- obviously there are                4 have any information with respect to other youths at
      5   differences in these facilities and the general         5 Shenandoah?
      6   nature of the kids that are there, and I guess in       6       A. Not specific documentation regarding that,
      7   some ways that has to be looked at. But for me, it      7 no.
      8   doesn't matter if I have kids that are highly           8       Q. So to the extent that you have this
      9   aggressive or maybe more on the depressed side who      9 opinion with respect to youths other than John
     10   are not acting out in the same way. The trauma,        10 Does 1 through 4 and perhaps those three youths
     11   particularly for immigrant kids, unaccompanied         11 whose limited records you reviewed, you're
     12   minors, the trauma has to be looked at. And while      12 extrapolating?
     13   there are situations that -- I mean, I've worked in    13       A. I am generalizing from the records in the
     14   residential facilities. I've worked in a hospital      14 kids that I've evaluated, yes.
     15   setting. I've worked in therapeutic day schools        15       Q. Okay. Do you know how many unaccompanied
     16   where there at times clearly, for instance,            16 youths are at Shenandoah at any given point in time?
     17   restraints have been necessary.                        17       A. I'm going to say I don't know
     18          So I'm not going to say that that's never       18 specifically. I believe in one of the documents it
     19   appropriate. I think those are very rare. I have       19 talked about 30 to 40, and I don't know if that
     20   particular concerns about restraint chairs. But in     20 included the American or kids from the United States
     21   general, yes, there are going to be times that that    21 that were there.
     22   needs to be factored in.                               22          So undocumented I'm going to say perhaps
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      1          But I do believe that if the environment         1   around 30. I don't know for sure.
      2   is safe and the kids know that it's a safe              2      Q. What's your understanding as far as the
      3   environment where they're going to be treated with      3   time period you were asked to review in the case?
      4   respect, where whatever trauma is there has been        4      A. Specific dates I don't know. When I
      5   recognized, and it's safe to talk to staff, staff       5   evaluated Doe 1, that was in last year in 2017. I
      6   are trying to relate and engage with them, that it      6   had records going back to 2016. I've actually seen
      7   would decrease the acting out no matter what            7   some -- well, I'm trying to think of the dates
      8   facility we're talking about, no matter what the        8   specifically, but I don't think I was given a
      9   nature of that facility.                                9   specific time period to review that I'm aware of.
     10       Q. Your second opinion in that Executive           10          So I think it's covering whatever I
     11   Summary paragraph, which is back on Page 1 of          11   uncovered. I mean, I don't know. I was never told
     12   Exhibit 3, and you say, "The predominant approach      12   just to review during -- as long as those kids were
     13   utilized to manage youth at SVJC is punishment and     13   in detention I was asked to review that period of
     14   behavioral controls through methods such as solitary   14   time, so I guess whether that was two years or eight
     15   confinement, physical restraint, strapping to a        15   months. And the Doe 1 case, I know it goes back to
     16   chair and loss of behavioral levels."                  16   2016 or 2015, I can't remember, so anything that
     17          And what I'm wondering is, it sounds like       17   goes back at least that far.
     18   from our conversations so far you've reviewed          18      Q. I wanted to ask you about -- you used the
     19   records for John Does 1 through 4 and some limited     19   term "solitary confinement" in that statement.
     20   records for I think three other unaccompanied          20          Do you have a specific definition that you
     21   youth --                                               21   use when you say "solitary confinement"? What does
     22       A. Yes.                                            22   that mean to you?

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      1      A. Well, essentially that's placing an               1   more specifically to what I consider the deleterious
      2   individual in a room that they don't have contact       2   effects of putting an individual in their cell or in
      3   with others other than perhaps somebody checking on     3   their room for an extended period of time.
      4   them periodically. So they're essentially isolated      4       Q. Have you -- I know you went to Shenandoah
      5   by themselves in their room with probably really        5   to evaluate John Doe 4.
      6   nothing in the room where they could potentially        6       A. Yes.
      7   hurt themselves. And they're there for however long     7       Q. Did you see the rooms or the pods there?
      8   a period of time the staff have them there for.         8       A. Not -- well, I mean, I walked down the
      9          So they're essentially isolated from other       9   hall. I was put in a room myself, but it was just
     10   people in terms of ongoing contact, from other         10   an actual like room where people meet, so it wasn't
     11   activities.                                            11   like one of the rooms or cells that the kids are in.
     12      Q. So to me -- I'm a layperson. So to me            12           I did walk down a hallway to use the
     13   solitary confinement sounds much more severe than      13   bathroom, but I don't know if it was a pod. So I
     14   another term like room confinement or administrative   14   think the answer is I didn't see much of that, no.
     15   confinement.                                           15       Q. Okay. So it's not like you walked around
     16          Is there not room in this case for use of       16   the facility or took a tour or anything like that?
     17   those terms? Why do you feel like solitary             17       A. No, I didn't take a tour. I did -- again,
     18   confinement describes what happens versus              18   this is after this report was submitted when a lot
     19   administrative confinement or room confinement?        19   of the documentation came in. I did see videos, did
     20      A. Well, for me, yes, there can be some             20   review seven or eight videos that I could see what a
     21   interchangeability with that. However, you know,       21   pod looks like. You couldn't really see into the
     22   for me a room is like when you go to a hotel, not      22   room, but you could see where the rooms were.
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      1   when you go into a setting like a juvenile center,      1         So I'm at least familiar more with the
      2   which is essentially a cell, you know. I mean, it       2   pods.
      3   is a room I guess technically, but it's also a cell     3      Q. So you've seen seven or eight videos but
      4   with a little window.                                   4   not until after your September 11th, 2018 report was
      5          So for me some of it is semantics, and for       5   submitted?
      6   me the room confinement or solitary confinement,        6      A. That's right.
      7   solitary confinement speaks to the nature of it         7      Q. Okay. Then you also used the term
      8   being for one individual alone, and that's why          8   "physical restraints."
      9   that's significant for me. And also because of much     9          What does that term encompass in your
     10   of the research that's been done on the use of         10   mind?
     11   solitary confinement, and they refer to it as          11      A. So physical restraints, again, there can
     12   solitary confinement mostly in the literature,         12   be I guess a continuum of that from simply, you
     13   that's another reason that I use that, talks about     13   know, one or two people needing to pull a youth back
     14   the highly detrimental effects it can have on          14   and just, you know, constraining them, you know,
     15   individuals, whether they're adults but particularly   15   manually. It could be use of handcuffs or partial
     16   for minors and youth when they're in confinement by    16   leather restraints, you know, for their -- you know,
     17   themselves with very little stimulation from the       17   holding their hands together or their feet.
     18   outside, particularly if it goes for a long period     18          Again, you used the word "continuum"
     19   of time, but even if it's for a short period of time   19   before. I think there's a whole continuum here
     20   it can be very detrimental. It can lead to further     20   where it could also be ultimately up to use of a
     21   acting out either against themselves or others.        21   restraint chair.
     22          So for me solitary confinement just speaks      22          So restraint really encompasses any time

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      1   you're taking somebody's I guess freedom away from       1 very late before this, you know, right before this
      2   them, usually done if there is a concern for safety      2 report was submitted, so I only took what I thought
      3   to themselves or others. And there's mechanical          3 I could use for John Doe 1 at that point. I just
      4   restraints, and then there's human restraints, and       4 didn't have time to review the rest.
      5   then there's restraint chairs, so there's a whole        5     Q. At the end of that paragraph, the
      6   continuum.                                               6 Executive Summary paragraph, you say, "In summary,
      7       Q. That term is all-encompassing for you?            7 both the mental health care and overall care
      8       A. Well, unless you give me a specific, yes.         8 provided at Shenandoah are deficient and fall well
      9   I mean, if you said mechanical restraints, but           9 below professional standards of care in the juvenile
     10   restraints can refer to it, yes.                        10 justice system."
     11       Q. Okay. And then at the end of that                11     A. Yes.
     12   statement you refer to strapping into a chair, and      12     Q. So as far as mental health care is
     13   you referenced a restraint chair a couple of times.     13 concerned, you understand that there's a distinction
     14          Of John Does 1 through 4, do you know            14 between a secure facility and a residential
     15   which have been or were in the restraint chair ever?    15 treatment center, right?
     16       A. I'd have to go back and look specifically.       16     A. Well, yes, right.
     17   Well, I know Doe 1 was, for instance, and he was in     17     Q. And Shenandoah is not a residential
     18   there a long period of time. I know there were          18 treatment center?
     19   situations where -- and I forget which ones reported    19     A. Yes, that's right.
     20   to me or I read in their declaration they were in a     20     Q. And I think you mentioned that every
     21   restraint chair, and I believe in some -- at least      21 unaccompanied youth undergoes a mental health
     22   in one case the records from or one of the rebuttals    22 screening at intake?
                                                       Page 111                                                           Page 113
      1   stated that this person had never been in a              1       A. As far as I can tell they do, yes.
      2   restraint chair.                                         2       Q. And unaccompanied youth undergo mental
      3          But I know that Doe 1 for sure was, and I         3   health assessments by a clinician after that point
      4   know several of the others were reported to be.          4   at Shenandoah, is that your understanding?
      5       Q. Okay. Do you know how many times a                5       A. My understanding is there's an initial
      6   restraint chair was used at Shenandoah in 2017, for      6   intake done, I'm not sure who exactly does that, but
      7   example?                                                 7   some type of an initial intake where I believe there
      8       A. I don't know.                                     8   are some questionnaires given and then just a
      9       Q. Okay. Or 2018, same?                              9   general intake that's done.
     10       A. I -- I think we did get some data looking        10          I believe that -- I'm not sure if there's
     11   at that, but I have not looked at that in any kind      11   then another more formal intake that's done. I do
     12   of detail other than I know --                          12   know that psychologists, for instance, are referred
     13       Q. It's not something that you relied -- it's       13   to or psychiatrists if there's more explicit
     14   not something that you relied on to write this          14   concerns from that first intake. I don't know if
     15   report?                                                 15   it's one or two intakes that are done initially, but
     16       A. Well, it was in terms of John Doe 1              16   that I believe triggers the need for more
     17   because I know, you know, from looking at that I        17   evaluation, and it's not done for every single
     18   could see that he was in restraints and a restraint     18   child.
     19   chair and so forth for a certain number of minutes,     19       Q. Do you know if ORR has to approve that or
     20   700 minutes, I forget how many it was.                  20   if Shenandoah is able to just unilaterally have that
     21          So in that case yes, but I didn't have           21   happen?
     22   time to -- again, a lot of that information came in     22       A. Well, if I'm understanding your question,

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      1   I know there is a policy in place of initial             1   environment at Shenandoah by, for instance, a guard
      2   screening, which I don't -- I mean, that's a policy      2   just, you know, rushing too quickly to put a kid in
      3   I believe that's just initiated.                         3   restraints, let's say, versus talking to that kid.
      4           As far as their -- if there's concern that       4   If the kid is already acting aggressively, sure,
      5   they need further evaluation, I don't know for sure.     5   we've got to contain that child.
      6   I would suspect they're encouraged to do that to get     6          But if the kid is simply being
      7   the kid care, but I don't know if they have to           7   disrespectful or swearing or angry, there are
      8   get -- I know they have to make perhaps                  8   situations where I felt that wasn't dealt with, that
      9   transportation requirements or get things set up.        9   there was no real verbal -- I felt like they perhaps
     10           So I don't know. I suspect they probably        10   redirected them, you know, to go to your room, but
     11   do have to have approval, but I don't know for sure.    11   the first step is active listening and engagement
     12       Q. Okay. Do you know what the ratio of              12   with that child. And I felt like if that engagement
     13   clinicians to unaccompanied youth at Shenandoah is?     13   was there that that would decrease a number of the
     14       A. Oh, clinicians, let's see. Clinicians            14   incidents that they're having with these kids. But
     15   to -- I'm sorry, clinicians to --                       15   to understand that guards have to understand trauma.
     16       Q. Clinicians to unaccompanied youth                16          So for me, if we go back to your question
     17   specifically.                                           17   about mental health, it's not that they don't have
     18       A. Unaccompanied youth, you know, I did -- it       18   mental health providers there. They do, and they
     19   might have been in the Ann Nelson report. I believe     19   all appear to be licensed. But it doesn't feel like
     20   I read something about that. I don't recall. I          20   they're talking with each other or talking with the
     21   want to say it was two per eleven. I don't know for     21   guards about understanding trauma, you know,
     22   sure.                                                   22   understanding look at, you know, this is a kid
                                                       Page 115                                                    Page 117
      1       Q. So what in your opinion does Shenandoah           1   that's traumatized; he's going to react, he's going
      2   need to do that it's not doing with respect to           2   to swear at you occasionally. You've got to -- yes,
      3   mental health care, understanding that it is a           3   maybe you've got to intervene, but intervention
      4   secure facility and not a treatment center?              4   doesn't have to be punitive. It can be engaging and
      5       A. Well, I'm going to respond to that in two         5   bringing that kid's anxiety down.
      6   ways because mental health is also intertwined with      6           So for me, that's a lot of what gets
      7   following their policies. And the way they're            7   missed here is the integration of understanding
      8   intertwined, first and foremost I think it's             8   trauma in every aspect of what Shenandoah does, not
      9   following the policies that they do have.                9   just an assessment and then referring them for some
     10          So, for instance, their behavioral               10   treatment. There has to be more involvement with
     11   management program, I feel that there are a number      11   the guards understanding it.
     12   of situations that I reviewed, a number of incidents    12           And I don't see anything about staff. For
     13   where I did not feel that progressive approach was      13   instance, I'm aware of some facilities where staff
     14   followed, and because of that these kids got            14   have to -- the clinical staff are there, you know,
     15   triggered either for more acting out or more            15   until late at night and on weekends. I don't know
     16   depression, more self-injurious behavior.               16   for sure when they work here, but I didn't see very
     17          So I think the context, I think what I'm         17   much involvement particularly with evening stuff
     18   saying is that for it to be truly -- the mental         18   that the clinicians were involved until one or two
     19   health care to be truly appropriate in my mind and      19   days later when they talked to them in their therapy
     20   not harmful has to look at trauma that gets             20   sessions.
     21   triggered not just from these kids being traumatized    21           So my concern was that the guards were
     22   from the past but what's getting retriggered in the     22   simply having -- I know occasionally they would

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      1   consult with an outside doctor if they had to put a      1   what's missing for me is some aspect of
      2   child, let's say, in a restraint chair or whatever,      2   understanding; in other words, a little bit more
      3   so I'm aware of that. But in terms of active             3   about what it means to verbally engage, you know,
      4   consultation from the mental health staff, I see         4   what does it mean to -- in other words, the trauma,
      5   that lacking here, and that could greatly help to        5   the traumatic nature of it I think probably should
      6   reduce the problems that are there, that I feel that     6   be written a little bit more into the policy.
      7   are there; you know, helping guards to better            7          But for me, a lot of it is that if they
      8   understand, not to overreact, not to -- you know, to     8   did follow, for instance, the behavioral management
      9   follow the policies that are there.                      9   policy, I believe that again it would be sufficient.
     10          So the mental health part for me that's          10   It wouldn't quite go far enough for me because this
     11   lacking is really understanding the nature of trauma    11   gets into the training that the guards need and
     12   and how everybody has to be onboard, you know,          12   staff need to understand trauma and how it can
     13   understanding that.                                     13   easily get retriggered; that a kid that's acting
     14      Q. Do you have any issue with the policies as        14   out, for instance, is in a fight or flight mode
     15   written?                                                15   because of trauma perhaps versus they're just angry
     16      A. Which policy are we talking about?                16   for the sake of being angry or wanting to get back
     17          MS. LIEBERMAN: Which policies?                   17   at somebody.
     18   BY MS. HAYNES:                                          18          So I just feel like there's an aspect that
     19      Q. Do you disagree with the policies as they         19   probably could be enhanced in these policies to get
     20   are written?                                            20   at the traumatic nature a bit more to make it
     21          MS. LIEBERMAN: Object to form, vague.            21   integrated.
     22   Any of them?                                            22          But, anyway, so I guess sufficient but
                                                       Page 119                                                     Page 121
      1   BY MS. HAYNES:                                           1   wouldn't go far enough or adequate in that sense but
      2      Q. Well, the ones that you reviewed, sure. I          2   wouldn't go far enough.
      3   think a couple of times you said you reviewed a          3       Q. Okay. And then you also refer in that
      4   policy and you believed the policy is not being          4   last sentence to overall care. You mention mental
      5   followed.                                                5   health care, and then you also say "and the overall
      6      A. Yes.                                               6   care provided."
      7      Q. But with respect to those policies that            7          What do you mean by "overall care"?
      8   you're referring to, do you have any issue with the      8       A. Well, I'm referring there to -- in other
      9   way that they're written if they were being              9   words, the mental health care would be specifically
     10   followed? In your opinion would that be sufficient      10   the counseling staff and the psychiatrists and that.
     11   in your mind?                                           11   Overall care would be what I look at as the guards
     12      A. You know, I'm just thinking about that.           12   interacting with the kids, using restraints,
     13          It certainly would help. In other words,         13   following the policies.
     14   I understand that juvenile centers, you know, do        14       Q. So you're not referring to like medical
     15   need to have positive behavioral systems in place,      15   care, right?
     16   incentives and point systems. So in that sense,         16       A. I'm just trying to think. I mean, I guess
     17   just kind of looking at the general format of the       17   loosely it would refer to that. I didn't -- since
     18   policy, it generally looked appropriate.                18   I'm not a physician, I didn't review -- I saw some
     19          So the first answer is I don't think it's        19   of the medical reports, but that wasn't a big part
     20   sufficient. I think it would certainly help if          20   of what I looked at, so I can't really comment on
     21   those were followed.                                    21   the medical care.
     22          What I think is missing in some of the --        22          I mean, I know that the kids -- and there

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      1   was documentation that they had gotten treatment for    1 I think I mentioned that, at least in the first
      2   various things, but I don't -- I mean, I did not        2 report, maybe in the second one as well, that is
      3   really look at that.                                    3 specifically a trauma-informed therapy approach that
      4           So it's not really referring to medical in      4 through research has shown to lead to significant
      5   that sense.                                             5 improvement in kids' trauma and acting out less.
      6       Q. Is it fair to say that you're confining          6        So I'm forgetting exactly what your
      7   your opinions to your field of clinical psychology,     7 question was, but I think so the standards would be
      8   overall care within the perspective or within the       8 also, you know, research that I've looked at where
      9   context of clinical psychology?                         9 these approaches are utilized in juvenile justice
     10       A. Well, yes and no. It's coming -- I mean,        10 centers, and it's also my own experience with what I
     11   that's the lens that I'm looking at it through, but    11 know other facilities do.
     12   it's also looking at the interaction of the milieu,    12     Q. Okay. Is it your understanding that
     13   which would the guards; in other words, how they're    13 unaccompanied youth come to Shenandoah pursuant to
     14   interacting with the kids based on, again, what I      14 an agreement with ORR, a written agreement?
     15   read in the reports and what I heard from the kids.    15     A. Well, I'm sure there's some paperwork.
     16       Q. Okay. And then, again, you say in the           16 When you say "agreement," I'm not -- I guess I'm not
     17   juvenile justice system, and again I'm just            17 clear what the question is.
     18   wondering if you expect the same standard to be        18     Q. So unaccompanied youth come to Shenandoah
     19   applied in a secure facility that houses               19 at ORR's behest.
     20   unaccompanied youth as is applied in, say, any         20        Would you agree with that?
     21   juvenile detention center that maybe only houses       21     A. Yes.
     22   local youth who have been adjudicated or are in the    22     Q. And is it your understanding or do you
                                                      Page 123                                                           Page 125
      1   process of being adjudicated.                         1     know if there's a written agreement that governs
      2       A. I do, yes.                                     2     that relationship between ORR and Shenandoah?
      3       Q. And then lastly, you say professional          3         A. I'm sure there must be, yes.
      4   standards of care, and I think we've talked about     4         Q. Okay. But you haven't seen it, right?
      5   this a little bit already, but who are you -- as      5         A. You know, I've had a lot of records that
      6   defined by who? What professional standards of care 6       I've looked at, and I know I tend to pass over some
      7   specifically are you referring to there?              7     of the stuff that clearly isn't relevant to me.
      8       A. Well, I mean, the two that I listed before     8            So I know there are -- so my guess is I
      9   would be two main ones, you know, the Attorney        9     probably have seen it in passing, but, you know, I
     10   General's report and the National Child Traumatic    10     can't really -- nothing comes to mind.
     11   Stress Network, and also just my own experience with 11         Q. Can we say that if you don't recall
     12   other facilities and what they're doing, you know,   12     specifically reviewing it it wasn't relevant to the
     13   in terms of types of trauma systems that they're     13     opinions that you set out in your report?
     14   using, you know. There may be specific -- I mean,    14         A. Yes.
     15   it's all part of trauma-informed care, but it's more 15         Q. Okay. Do you know if that -- so I guess
     16   comprehensive.                                       16     you wouldn't know if that agreement speaks to the
     17           For instance, for some of the therapies,     17     care that's provided to unaccompanied youth at
     18   just as an example, if we're looking at a pie and    18     Shenandoah?
     19   there's different aspects of trauma-informed care,   19         A. You know, I have seen some -- it didn't
     20   one is what kinds of work are the counselors doing, 20      factor into my -- I mean, I guess that's where
     21   are the therapists doing, and there are very         21     you're going. It didn't factor into my report.
     22   specific -- you know, one program is called Target. 22             I have -- I mean, I know there's some

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      1   basic things that talk about their rights or             1       Q. 28.
      2   something like that. I don't know if that's part of      2       A. 28, okay. All right.
      3   what you're referring to here. I mean, I have            3       Q. And you evaluated him in person at
      4   loosely seen some of that and kind of read through       4   Shenandoah, right?
      5   it quickly where they talked about, you know, this       5       A. That's correct.
      6   is what will be provided for you.                        6       Q. In July 2018, and for a total of 10-1/2
      7          So, again, I'm assuming there's some paper        7   hours?
      8   agreement there, and I know I see the kids sign          8       A. Yes.
      9   certain things. So I am aware of that, but it            9       Q. Was that -- do you know if that was split
     10   wasn't a factor in what I looked at.                    10   evenly between the two days, or was it mostly one
     11       Q. So fair to say regardless of whether the         11   day and then the remainder of those hours on the
     12   agreement between ORR and Shenandoah speaks to          12   second day?
     13   standards for care of unaccompanied youth at            13       A. Yes, it was split. The bulk was on the
     14   Shenandoah, that's not something you considered or      14   first day, and the second day was like a half day;
     15   considered relevant?                                    15   so it was probably 7 and 3-1/2 or something like
     16       A. I think that's correct. I'm just trying          16   that.
     17   to think what I did look at that might be getting at    17                 (Exhibit 5 was marked for
     18   what you're talking about.                              18                 identification.)
     19       Q. I think you've answered the question.            19   BY MS. HAYNES:
     20       A. Yeah, I don't think so. I don't think it         20       Q. Okay. And then if you'll turn to
     21   really did, yeah.                                       21   Exhibit 5, if you have that handy in front of you.
     22       Q. What about do you know if there are              22       A. Okay. Okay.
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      1   regulations specific to Virginia that speak to the       1      Q. Are these your handwritten notes from your
      2   care of unaccompanied youth or juveniles? Do you         2   evaluation on July 25th and 26th?
      3   know?                                                    3      A. Yes. Yes, they are.
      4      A. Most states have different regulations,            4      Q. And would you have taken these notes in
      5   and I know there's some state flexibility there.         5   realtime as you were meeting --
      6          So I have not seen those, but I'm quite           6      A. Yes.
      7   sure there are, yes. In fact, I know there are.          7      Q. -- with John Doe 4?
      8      Q. Okay. I don't know about you, Dr. Lewis.           8      A. Yes.
      9   On our end it smells like it's lunchtime here, so        9      Q. Okay. Are these all of the notes that you
     10   maybe we could take a few minutes for lunch.            10   would have taken during that evaluation?
     11      A. That's fine.                                      11      A. Yes, this is all that I -- let me just
     12      Q. How much time does everyone -- is 30              12   think. I was asked for two things.
     13   minutes enough? 40 minutes?                             13          Oh, yes, yes, this is both days are here.
     14      A. That should be fine.                              14   In fact, you can also see the hours at the top of
     15                (Whereupon, a lunch recess was             15   how it was broken up. So the first day was from
     16                taken from 12:01 p.m. to                   16   9:00 to 4:30. I was just looking to make sure the
     17                12:50 p.m.)                                17   second day was included, and that's on Page 13.
     18   BY MS. HAYNES:                                          18          Yes, so this is everything.
     19      Q. Dr. Lewis, I wanted to turn to the part of        19      Q. Okay. Thank you. And what was -- could
     20   your report that discusses your evaluation of           20   you tell me what your proficiency is in Spanish?
     21   John Doe 4, and that starts on Page 28 of Exhibit 3.    21      A. I basically understand some words kind of
     22      A. I'm sorry, which page was it again?               22   in a passive way. I don't speak it fluently.

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      1       Q. And what is -- what was John Doe 4's          1      learned British English or whatever. Occasionally
      2   proficiency in English?                              2      I'll have a young person from Central America or
      3       A. I think he understood, you know, some         3      Mexico who for whatever reason is quite fluent in
      4   basic words. The interview was done primarily        4      English.
      5   through -- well, it was done fully through a         5             So I'm going to say probably 90 percent of
      6   translator, and occasionally like basic words he     6      the time that I use a translator.
      7   understood, and he could say thank you or, you know, 7           Q. Do you think working through a translator
      8   good day or whatever.                                8      has any detrimental effects on your evaluation?
      9          So I really don't know. I suspect not a       9           A. I'm sure there's -- I mean, there's
     10   lot.                                                10      usually some slippage. I mean, again, words can be
     11       Q. And the translator that you worked with      11      misconstrued, you know. So there can be language
     12   for this evaluation was Mr. Jeff Divers?            12      issues that present themselves or the context.
     13       A. Yes.                                         13             Again, often, you know, the translators
     14       Q. Had you ever met or worked with him          14      will -- if they feel like there's something that's
     15   before?                                             15      happening, they'll explain to the client that they
     16       A. Yes. I had worked him with Doe 1.            16      need to talk to me for a moment, and they'll explain
     17       Q. Have you worked with him any time or any     17      to me I think that there's a context here that I may
     18   other time other than that?                         18      not be understanding or the kid might not be. So
     19       A. No.                                          19      they'll talk to me about it. And then if that's
     20       Q. Do you know what his -- if he has any        20      relevant, I might ask the question in a different
     21   training in mental health?                          21      way.
     22       A. Let me think for a minute.                   22             So I do try to account for that, but I'm
                                                      Page 131                                                            Page 133
      1          Offhand I don't know. I'm trying to think        1 sure there's always some things that are
      2   what he had told me. Most of the vetting for him        2 misconstrued.
      3   was done by the lawyers that basically interviewed      3     Q. Could you walk me through how you do a
      4   him for the position -- not position but for working    4 forensic psych eval., what are the steps you take?
      5   with me.                                                5     A. Well, first is just greeting the person,
      6          What I usually say to them is obviously I        6 introducing myself, saying nice to meet you. I
      7   need someone who is fluent in Spanish. It would be      7 often will ask a little bit about what their
      8   nice if they were from the same country, but that       8 understanding is of who I am or what I'm there for,
      9   often doesn't happen. Also I'd like if they've had      9 you know, why I'm going to be meeting with them just
     10   some involvement with youth or with trauma cases or    10 to see what they understand.
     11   immigration. That's usually what I ask for.            11        I then explain the purpose of the
     12          So I don't know exactly what his                12 evaluation. And, again, if it's, you know, a case
     13   experience was with mental health issues and per se.   13 like this that's a civil case that's looking at the
     14   I know he had worked with youth, but I don't know --   14 impact of their living in detention, I will explain
     15   like in school systems, but I don't know exactly       15 that to them, that part of what I'm going to be
     16   more than that.                                        16 doing is talking to you about your experiences, for
     17       Q. How often when you are doing a forensic         17 instance, here at Shenandoah. If it's about asylum
     18   psych eval. are you working through a translator?      18 or SIJ I'll explain that I'm going to be asking
     19       A. A forensic psych eval., a high percentage       19 about their history more and their psychological
     20   of the time, 90 percent of the time. Some of the       20 history, whatever traumas they may have had, how
     21   people that I've seen, like for instance from          21 that's affected them, and how they're functioning
     22   Africa, often do speak English, you know. They've      22 currently.

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      1           And then I have them tell me back what            1   can tell if somebody is alert, you know, versus
      2   they understand so that I have some sense of whether      2   they're being comatose. I can tell; I don't have to
      3   they're grasping the purpose of the evaluation, and       3   ask them that. But I don't know if they know the
      4   we will get that clarified if it needs to be.             4   date and where they are, so I will specifically ask
      5           And then I usually just start in doing my         5   that for instance. So I will do a mental status
      6   interview. Usually I start with things like just          6   exam.
      7   tell me a little bit about -- well, it might vary.        7          And then in this case would ask about
      8   Some people want to just talk about their current         8   their experiences at whatever facility they're at,
      9   situation, so I might start by talking about, you         9   how that may be affecting them, any particular
     10   know, their -- for people that are living in the         10   problems, and then get into some detail with that.
     11   community, you know, where they're living and what       11          As I mentioned before, I will -- if I have
     12   they're doing. But then I quickly go to their            12   records available, and sometimes I don't have any,
     13   history. I want to understand who this person is         13   it might be an affidavit this person has submitted
     14   that's in front of me, where they were born; and         14   or a declaration or maybe records from ORR, I try to
     15   they give me their birth date, what kind of family       15   look for areas of consistency and inconsistency, and
     16   environment were they raised in, their schooling, so     16   where there's inconsistency I do try to ask about it
     17   getting at things of that sort kind of to build          17   in a way that lets them know that, you know, I don't
     18   rapport and get their history.                           18   understand why you said this and now you're saying
     19           I will ask about, or if they haven't             19   that or what -- help me better understand this. I
     20   reported already, any particularly stressful events      20   do try to get to some of that as well.
     21   that may have happened in their childhood. If            21       Q. You mentioned that you did some paper and
     22   they're in this country where I'm evaluating them,       22   pencil evaluations.
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      1   and most of them are, I'll ask what the                   1          In Paragraph 103 at the top where you say
      2   circumstances were that led them to come to the           2   "administered several psychological questionnaires,"
      3   United States and how they got here, what that            3   is that what you're talking about when you say paper
      4   journey was like. And then I'll ask about their           4   and pencil evaluations, or is that something
      5   current situation, where they're living, how they're      5   different?
      6   functioning.                                              6       A. No, that's what I'm referring to.
      7          Depending on the nature of the evaluation,         7       Q. Okay. And I assume there are specific
      8   there will be some what we call paper and pencil          8   questionnaires that you use for this purpose?
      9   like questionnaires that I'll use. It just depends        9       A. Yes. It may vary somewhat from individual
     10   on, you know, how much time I have and what the          10   to individual, but yes.
     11   nature of the evaluation is.                             11       Q. Do you know which ones you used for
     12          So with most of the youth that I evaluate         12   John Doe 4?
     13   for these cases I do try to do some type of trauma       13       A. I'd have to -- I don't -- yeah, I don't
     14   assessment besides the clinical interview. There's       14   think I included that here, and I didn't bring his
     15   a number of different tests that I may use. I            15   report. Let me see if I can recall.
     16   may -- I will do some questionnaires that get at         16          I did the -- well, one -- I believe there
     17   issues of depression and anxiety just as a way as an     17   were five that I gave him. One was the Beck
     18   adjunct to the clinical interview.                       18   Depression Inventory 2, Spanish version. One was
     19          I will do a mental status exam. It may            19   the trauma -- it's called the Trauma Symptom
     20   not be a formal exam. Certain parts might be if I        20   Checklist for Children, the TSCC, also the Spanish
     21   suspect, you know, some -- a lot of the mental           21   version. So as much as I can I try to utilize tests
     22   status exam could be gleaned from the interview. I       22   that are in Spanish.

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      1          There was three other ones. Let's see. I          1        So the translator, you know, again, I'll
      2   did the Beck Anxiety Inventory as well. I believe        2 be here, and the translator will go through each
      3   that was also in Spanish. And I don't recall what        3 question. At first we might have the youth read it
      4   the other two were off the top of my head.               4 if they can, and if they can't read the translator
      5       Q. And what is the purpose of those                  5 or interpreter will read it for them, make sure
      6   questionnaires in the evaluation?                        6 they're understanding the directions, you know, so
      7       A. So, again, each questionnaire usually has         7 make sure for the first couple of examples they're
      8   a time frame. The Trauma Symptom Checklist for           8 understanding what's being asked and how they should
      9   Children, there's no time frame. It basically            9 respond accordingly.
     10   assesses for trauma across the life span, so there's    10        So I would say it's probably maybe a third
     11   no defined time frame.                                  11 of the time the youth, some of the youth are bright
     12          For instance, the Beck Depression                12 enough to just read through it. You can tell; you
     13   Inventory, I believe it's any symptoms. There's a       13 know, I'll have them read it out loud, they clearly
     14   variety of symptoms they ask about, and there's a       14 understand it and they get it maybe a quarter. The
     15   range of never occurs to sometimes to always, and       15 other three-quarters, the translator or the
     16   there's numbers like zero to 4. So it's in the          16 interpreter helps them with it.
     17   Likert scale where they have to rate it.                17        And if they run into a problem they'll ask
     18          And they -- basically it's within the last       18 me, like they'll say, you know, he's having a hard
     19   either week or two weeks. Some tests it's the last      19 time with this particular issue because it's not
     20   month. So there's often a time frame, have you had      20 something a part of his culture, so together we will
     21   any of these symptoms in the last two weeks, any of     21 try to work with it. That might happen maybe one
     22   these symptoms in the last month.                       22 question on a particular exam. So we will talk
                                                       Page 139                                                             Page 141
      1          Some of the tests are not within a time           1   about a way of asking that that's consistent with
      2   frame. It's more just within a -- it could be a          2   what the question is getting at.
      3   life span type of thing.                                 3      Q. And what was the case with John Doe 4?
      4          And, again, these are used as not so much         4   Was he able to read it and fill it out himself, or
      5   for the score. It's used to kind of get --               5   was it something that you and the interpreter worked
      6   sometimes a score is helpful if it's a test that's       6   on with him?
      7   validated on these particular youth; it's in             7      A. I think there was a combination. Again, I
      8   Spanish. There are times that I've simply had to do      8   can't remember all the five tests I gave him. He
      9   this as a way to get a different way of asking           9   was quite verbal, that I do recall; and my sense was
     10   questions just to make sure I'm not missing             10   he had, you know, probably average intelligence.
     11   something.                                              11          I don't recall offhand -- yes, I'm just
     12          So it's used as an adjunct primarily. The        12   not recalling whether he was able to just -- I think
     13   main information comes from the clinical interview.     13   one of the tests he was able to -- one of the
     14       Q. Are the tests something that you put in          14   inventories he was able to do on his own. I just
     15   front of the youth and ask them to complete, or do      15   don't recall. It was probably a combination is my
     16   you go through it with him and fill it out as he        16   guess.
     17   gives you answers? How does it work?                    17      Q. All of the tests, were all of the tests
     18       A. It depends. Many of the youth, depending         18   you gave him translated into Spanish?
     19   on -- and most of these tests are written at like a     19      A. Again, if I had all five I could say for
     20   second-grade or fourth-grade reading level, so          20   sure. I know the three I gave you were, the Trauma
     21   they're very basic. But some of the youth just          21   Symptom Checklist. These are tests that are ordered
     22   don't have that ability to do that.                     22   and they're standardized, and so you have to order

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      1   them and pay to use them. So they come in a packet.             1       Q. And so in portions of your report where
      2           So yes, the three that I listed were in                 2   there are paragraphs in quotes and italics, are you
      3   Spanish. I can't remember what the other two were               3   taking those from your notes?
      4   offhand, so I'm not sure if they were in Spanish.               4       A. Yes. As close as I can I try to get it
      5       Q. Do you know if -- and so if it's not                     5   verbatim. Obviously it's not perfect, but I try to
      6   translated into Spanish, the translator would as                6   get -- you know, what the translator is translating
      7   needed translate verbally?                                      7   for me, I try to get that down verbatim, but I'm
      8       A. Right.                                                   8   sure it's not perfect. But I think I clearly get
      9       Q. And then you would take the answers down                 9   the gist of it accurate most of the time.
     10   as you go?                                                     10           And if there's something I'm not sure
     11       A. Yes, right.                                             11   about, I go back and I ask them, you know. That's
     12       Q. Okay. And in addition to being translated               12   the purpose of doing this over a couple of days too.
     13   into Spanish with respect to the three that you do             13   One is to develop trust with these kids, and there's
     14   remember were translated into Spanish, do you know             14   a lot to get through. But if I look over my notes
     15   if those tests have been used in and standardized to           15   on the first day and I'm realizing something is not
     16   Spanish-speaking youth?                                        16   clear from what they said, I can then go back the
     17       A. So the issue of standardization, it's kind              17   second day and clarify.
     18   of a tricky one. Some of them have, but to be                  18       Q. With respect to the evaluation, is it fair
     19   honest with you there are no, that I'm aware of, no            19   to say that those are all self-reporting, meaning
     20   let's say questionnaires or tests that have been --            20   it's a checklist for a questionnaire where the
     21   in other words, to be truly validated and                      21   subject is providing the information asked for?
     22   standardized, it has to be a population similar to             22       A. I believe that's correct with the tests
                                                              Page 143                                                      Page 145
      1 yours. But are we just talking Spanish-speaking                   1   that I used with Doe 4. They were all
      2 populations, of which there are varieties even there              2   self-reported. Even if he was being assisted, they
      3 in terms of, you know, the region they're from. But               3   were primarily self-reported, that's right.
      4 then there's also the fact that these are immigrant               4       Q. I know there's some tests out there that
      5 or refugee or unaccompanied minors, and I don't know              5   have validity scales.
      6 of any validation that's been done on any refugee --              6          What does that mean?
      7 well, for refugees there has been. There are tests,               7       A. Validity scales are scales that are
      8 but those are more for adults. But for youth I'm                  8   embedded -- well, there's two kinds of validity
      9 not aware of any.                                                 9   scales. One are tests that simply assess for
     10        So at times we have to just get as close                  10   malingering, you know, that someone -- the problem
     11 as we can, so I try to at least get tests that have              11   is a lot of those are based on adults. It's a whole
     12 validation and norming on Spanish-speaking youth.                12   different context from working with youth.
     13 Often they're youth that are in this country that                13          So the validity tests basically get at
     14 were living here versus youth that are coming from               14   whether someone, and they ask questions to -- they
     15 another country here.                                            15   throw a few very preposterous questions in. So, for
     16        So that's one of the dilemmas of using                    16   instance, if somebody agrees to a lot of this,
     17 these tests.                                                     17   they're thinking, you know what, they're likely not
     18     Q. It seems like there's a need there.                       18   telling the truth because nobody would ever agree to
     19     A. There's a huge need, yeah.                                19   this kind of question. If it's embedded in a test,
     20     Q. Do you record the interview in any way                    20   and it was in the Trauma Symptom Checklist for
     21 either audio or video?                                           21   Children, that's one reason I use that. There is a
     22     A. I do not, no. I just take notes.                          22   Spanish version. There is a validity scale in

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      1   there. And it basically gets at whether they're         1          I think part of it was -- again, I'd have
      2   trying to overexaggerate or underestimate their         2   to look at the specific tests to say why I chose
      3   situation, their symptoms basically.                    3   that for him versus for Doe 4. I think there was
      4           So it's looking at -- it's not so much          4   some that I used that were the same, but I think
      5   looking at are they telling the truth about X, Y and    5   there were some that were different.
      6   Z; are they telling the truth about their current       6       Q. And do you still have copies of the tests
      7   functioning. So it doesn't say if he's telling the      7   that you administered? Do you have --
      8   truth about what happened at Shenandoah, but it         8       A. Yes.
      9   tells me there's some validity -- and his scales        9       Q. -- your own files for these --
     10   were okay as I recall, I'd have to go back and look,   10       A. Yes.
     11   but they were valid, meaning that he wasn't trying     11       Q. -- individuals?
     12   to overexaggerate or underestimate his current         12       A. Yes.
     13   symptoms.                                              13       Q. In Paragraph 105 you kind of summarized
     14           And why might people do that? Well, to         14   your -- I think you talked about this when I asked
     15   win a lawsuit, to get certain benefits. If they        15   you how you do these evals., your kind of discussion
     16   exaggerate certain disability symptoms they can get    16   with him about the purpose of the evaluation and
     17   disability.                                            17   what you're there to do. And you say, "He was
     18           So there's other things that we look at        18   informed I would be providing a written report to
     19   for validity besides what's in these scales, but       19   his lawyers that would also be submitted to the
     20   that's the reason to try to use some. The problem      20   court."
     21   is there's no malingering test that's validated and    21          Was it your understanding at the time --
     22   normed on adolescents, particularly adolescents who    22   this would have been July 2018 -- that this report
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      1   speak Spanish or who are migrants or unaccompanied      1   would be used in the lawsuit?
      2   minors, so, again, that's part of the problem.          2      A. We're talking about Doe 4 now, right?
      3       Q. You mentioned that I think the TSCT had a        3   Okay.
      4   validity scale.                                         4      Q. Yes.
      5          Do you know if any of the other tests you        5      A. This current lawsuit, I believe -- well,
      6   gave him did?                                           6   yes, yes. Well, I didn't know -- I mean, when I
      7       A. No. For Doe -- no. For Doe 4, I believe          7   give a report to a lawyer, it's up to them whether
      8   that was the only one that had a validity scale. I      8   they want to use it.
      9   know for Doe 1 there were two that had validity         9          So in that sense I knew it was potentially
     10   scales, but for Doe 4 that was the only one.           10   going to be used, but I never know if it's going to
     11       Q. And I think when you evaluated Doe 1 you        11   be rejected or not.
     12   used ten tests.                                        12      Q. Right. And I assume that it was
     13          Is there a reason why you would use ten         13   John Doe 4's lawyers who asked you to do the
     14   with John Doe 1 and only five with John Doe 4?         14   evaluation, right?
     15       A. Off the top of my head, I believe part of       15      A. I'm sorry, that it was who?
     16   it was because I was doing a number of things in       16      Q. It was John Doe 4's lawyers who asked you
     17   that evaluation. I was having to assess for            17   to do the evaluation?
     18   competency plus looking at his immigration case, so    18      A. I've got to think about that for a minute.
     19   I had to get at trauma in different ways.              19      Q. If it wasn't, let me know.
     20          I think part of it had to do with the           20      A. Well, you're talking about for the civil
     21   complexity of the case, you know, because, again, it   21   case, yeah. The reason I hesitated is because with
     22   wasn't just one evaluation. It was several.            22   the Young Center I get involved with so many

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      1   different -- yeah, no, this simply came as a result     1       A. Well, just in general, for any -- you
      2   of this case, that's right.                             2   know, whether it's a medical doctor or a
      3       Q. And my understanding was that you were           3   psychologist, clinical social worker, if we have
      4   initially -- and I think we talked about this this      4   access to other records, it helps us to know prior
      5   morning, but you initially evaluated John Doe 1 at      5   history just to be consistent with things; so, I
      6   the request of the Young Center, and then --            6   mean, it's pretty much a standard that we all
      7       A. Yes.                                             7   utilize. Sometimes we don't have access to prior
      8       Q. -- the lawyers who were involved in this         8   records, so when we do, the reason in this case to
      9   case --                                                 9   have access to that is to understand what his
     10       A. That's right.                                   10   experience has been through the detention system,
     11       Q. -- asked you to look at John Does 2, 3 and      11   just looking at how he functioned, why he was
     12   4 --                                                   12   transferred.
     13       A. Right, whereas this was --                      13          In this particular case the reason I -- so
     14       Q. -- right?                                       14   there are times that I would review records and it
     15       A. -- the other way around and I haven't been      15   might not be relevant to a case at all. In this
     16   involved with the Young Center or anybody else on      16   case I felt it was because there was abuse that had
     17   this case, on Doe 4, just the civil attorneys,         17   occurred at one of the facilities, and I felt that
     18   right.                                                 18   that was important to be aware of also because this
     19       Q. Right. And did he know that, that you           19   is a young man who I found to have posttraumatic
     20   were there at the request of his attorneys?            20   stress disorder who experienced a great deal of
     21       A. Yes, he did.                                    21   trauma in his home country; and I felt that it was
     22       Q. Okay. Was anyone else in the room with          22   important to be aware of that trauma because that's
                                                      Page 151                                                     Page 153
      1   you besides the translator and John Doe 4?              1   going to affect then how he behaves in his new
      2        A. No. Well, no, I take that back. For the         2   facility and then how he is treated and dealt with.
      3   first 10 minutes Ms. Lieberman was with me just to      3       Q. And in these paragraphs I understand that
      4   make sure that everything was calm and that             4   you're evaluating him, you're giving him the tests
      5   everything was functioning well, and she sat over in    5   that we've talked about, and you also reviewed some
      6   the corner and then she left. She stayed just for       6   records.
      7   the first part of the evaluation, the first five,       7       A. Right.
      8   ten minutes where I was just getting to know him and    8       Q. How do you synthesize all of that into
      9   explaining the purpose of it, and she left after        9   your report?
     10   that. That was on the first day that I was there.      10       A. When you say "how," do you mean like what
     11        Q. Thanks for the clarification.                  11   weight do I put on things? Or, I mean, I just try
     12        A. Yes.                                           12   to integrate -- I mean, I write the report in a
     13        Q. In Paragraphs, flipping ahead a couple of      13   certain format, you know. I start with the history.
     14   pages, 124 and 125, you talk about John Doe 4's --     14   I mean, I follow a pretty similar outline for each
     15   I'll wait until you're there.                          15   report. Obviously it's going to change depending on
     16        A. Yes.                                           16   the circumstances.
     17        Q. You kind of reviewed some of John Doe 4's      17           So I first talk about family history and
     18   history at other facilities.                           18   trauma. I then do a section on the results of what
     19        A. Yes.                                           19   I call the testing or the questionnaires, and I'll
     20        Q. What is the -- could you kind of elaborate     20   often go through each test and talk about what I've
     21   or tell me what the importance of that is or why you   21   found in those tests. And then I try to do a
     22   do that when you evaluate someone?                     22   synthesis at the end where I bring it all together.

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      1           So as far as collaborative records,              1 perspective who or what entity would have made that
      2   usually they're simply brought in just to highlight      2 decision to transfer him to Shenandoah?
      3   certain points. Again, it just depends on the            3     A. Well, I'm assuming ORR, yeah. I don't
      4   situation. You know, they're alluded to in the           4 know.
      5   report and they're looked at, and if there's             5     Q. Okay. And then in Paragraph 134 you go
      6   something specifically that I'm relating to that         6 into what I think you've talked about a little bit
      7   like here I document that.                               7 already, the idea of complex trauma.
      8           So there is a synthesis at the end and a         8     A. Yes.
      9   summary, but there's also specific sections that         9     Q. And I think, correct me if I'm wrong, but
     10   like highlight the testing and what's done.             10 I think in John Doe 1's evaluation you decided that
     11       Q. In Paragraphs 124 and 125 specifically,          11 he does not meet the requirements for diagnosis of
     12   can you tell by looking at them if the two of you       12 PTSD; is that right?
     13   talked about those events or if that's from your        13     A. That's right.
     14   review of documentation or both?                        14     Q. And I'm just wondering for my own
     15       A. We're referring to 124 here and 123 did          15 curiosity why John Doe 1 no on PTSD but John Doe 4
     16   you say?                                                16 yes on PTSD.
     17       Q. 124 and 125.                                     17     A. So I'll give you the general answer then
     18       A. Oh, okay. This was -- this was actually          18 the specific one. Someone can have been traumatized
     19   both. I was aware of this when I evaluated him, and     19 but not have symptoms of trauma. It doesn't mean
     20   I just -- I think I asked at one point, you know,       20 they weren't traumatized. They just aren't
     21   what his experience was like there, and he just         21 reporting nightmares or flashbacks or whatever.
     22   talked about this and he corroborated what was here,    22         So in Doe 1's case, he either -- I'd have
                                                       Page 155                                                            Page 157
      1   so I didn't take any separate notes on that. But    1        to go back and specifically look at it, either
      2   this was from both, for example, 123 and 124.       2        didn't -- my guess is he didn't have enough symptoms
      3       Q. And you know that because you can remember 3          to give him that diagnosis whereas Doe 4 clearly did
      4   sitting here today talking about it with him?       4        and it was very specific. He talked about
      5       A. Yes.                                         5        nightmares, and so there was specific symptoms that
      6       Q. Okay. And then ultimately Doe 4 was          6        he gave that met that criteria. And you have to,
      7   transferred to Shenandoah because of behavioral     7        again, according to DSM-5 you have to look at the
      8   problems and because he was deemed a flight risk,   8        number of different criteria that have to be met and
      9   right? I'm getting that from 128.                   9        over what period of time. So Doe 1 did not meet
     10       A. I believe that's correct, yes, right, yes.  10        that and Doe 4 did.
     11       Q. Do you know any more of the specifics with 11                But the other point that I'm making here
     12   regard to his behavioral problems?                 12        is that, and this goes back to the trauma-informed
     13       A. And, again, for his case I did not have     13        care issues that you were asking about earlier, is
     14   ORR records, so I didn't have access. I believe he 14        that a young man or a young woman who has been
     15   had had a number of SIRs. I don't know how many. 15          traumatized, even if they don't specifically have a
     16   And, again, I did not have access to that. I mean, 16        diagnosis of PTSD, their diagnosis might be
     17   I did but I didn't -- yeah.                        17        depression, it might be conduct disorder, which
     18       Q. And do you know --                          18        Doe 1 did have, for instance; but what gets missed
     19       A. I'd have to go back and look at the dates.  19        there is that when they've been traumatized, and
     20       Q. Do you know from a --                       20        Doe 1 clearly was traumatized by his father in
     21       A. I'm sorry.                                  21        particular, that the underlying issue beneath those
     22       Q. Do you know from an overarching             22        depression and behavioral problems is the trauma.

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      1           And so if we're just going to treat the       1                A. There's going to be variability.
      2   conduct disorder or the depression, it's missing, in  2                Q. Okay. Okay. And I think you mentioned
      3   my mind and in my opinion, it's missing the           3             complex trauma is not in the DSM yet, and is that
      4   underlying trauma that's the cause of those           4             what you mean by not yet recognized by the APA?
      5   acting-out behaviors or that depression. So part of   5                A. That's right.
      6   it is not just dealing with symptoms but dealing      6                Q. Okay. In Paragraphs 136 and 137 you quote
      7   with the underlying issues.                           7             John Doe 4 talking about some specific events.
      8           But Doe 1 did not meet criteria for PTSD.     8                    Was he able to identify names and dates
      9   He just didn't meet DMS-5 criteria, but I felt like   9             for you when you talked to him?
     10   he had complex trauma simply because what complex 10                   A. In general, no. There might have been one
     11   trauma is is multiple, prolonged experiences of      11             time he did. I'd have to go back and look at my
     12   trauma, and he had multiple instances of abuse by    12             note, but in general, no.
     13   his dad, and difficulties in what we call            13                    I also have to say I did not ask -- he did
     14   self-regulation, managing emotions, managing         14             not offer that and I did not specifically ask for
     15   behaviors. They get triggered very easily in         15             dates and names.
     16   situations.                                          16                    But the answer is generally no, I don't
     17           So that's part of what we look at with       17             think he did.
     18   complex trauma. It's not officially in DSM at this   18                Q. And the purpose, I think you talked about
     19   point. It likely will be in the next one that comes  19             this a little bit or alluded to it when you talked
     20   out. Obviously that remains to be seen. But it is    20             about validity scales, but the purpose of this
     21   something that's been talked about for a good ten    21             evaluation was to assess John Doe 4's psychological
     22   years and is part of what has to be looked at        22             functioning, right?
                                                              Page 159                                                    Page 161
      1 particularly with migrant youth, who many are                     1       A. Well, yes, and, again, just as part of any
      2 traumatized, as well as kids who are in detention                 2   good psychological evaluation, I do want to get at
      3 centers.                                                          3   his history. So, I mean, I'm going to ask about his
      4       Q. Is it safe to say on a theoretical level                 4   childhood history, and I need to know about that and
      5 that different individuals and different kids                     5   his reason for coming here.
      6 respond to trauma in different ways?                              6            So even though that's not the primary
      7       A. Sure.                                                    7   focus, that's all relevant. I can glean how he
      8       Q. And does that kind of very generally                     8   relates to me by doing that, what he can tell me
      9 describe what you're talking about when you talk                  9   about his history, does that compare to other things
     10 about why John Doe 1 might not meet the requirements             10   that I know about his history. So there's a number
     11 for a PTSD diagnosis but John Doe 4 does?                        11   of things.
     12       A. Say that to me again. I just want to make               12            So yes, it is primarily about his
     13 sure I'm following your reasoning.                               13   functioning now and his experience at Shenandoah.
     14       Q. What I'm getting at is the idea that you                14       Q. And is verifying the details of what he's
     15 might have two kids who have equally horrific                    15   saying particularly important to you in that
     16 experiences in their past.                                       16   exercise?
     17       A. Right.                                                  17       A. I mean, I always try to look for that, and
     18       Q. One might have a diagnosis of A, B and C,               18   yes. So, I mean, important in the sense that do I
     19 and the second one might have a diagnosis of D, E                19   have -- do I always know the reason why things
     20 and F, and that's just the manifestation of trauma               20   might -- if it's consistent it tells me one thing;
     21 in individuals, right? Is that a fair way of saying              21   if it's inconsistent it tells me something else.
     22 it?                                                              22            If there are things that are, you know --

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      1   I mean, it could be a variety of things, but it's     1     wanted to see where he went with that, so that was
      2   important in the sense that it's relevant to the      2     the context for it.
      3   evaluation. It could be relevant to their             3        Q. Sure.
      4   credibility, for instance.                            4        A. As far as what he said, yeah, I mean, go
      5      Q. In Paragraph 142 you write that Doe 4           5     outside more, different kinds of games, manage their
      6   reported there were some nice people at Shenandoah 6        money, yeah, I mean, I think this probably would be
      7   who tried to help him and teach him to calm down.     7     consistent with what most of the kids would say.
      8          Do you know who specifically he would have     8            What I found interesting though is that
      9   been referring to?                                    9     he -- I mean, he basically said this all in one
     10      A. He didn't give me names. He just said --       10     sentence, so he clearly had some thoughts about it.
     11   well, he did mention Evenor, which I think I quoted 11      And the fact that he even commented on the color of
     12   there, that had he tried to help him to some extent. 12     the walls, I mean, yeah, I mean, it's a minor issue,
     13   He didn't feel he went far enough. And I think he    13     but his point there was that it's a very sterile
     14   was referring to there some of the guards that I     14     environment, and I realize it's not a hotel, but I
     15   think he felt were good people or nice people. He    15     think that's part of -- I mean, if there was a way
     16   didn't give me names. He did give me Evenor's name, 16      to make it more aesthetically comfortable for the
     17   but the other names he did not give me.              17     kids it would help in terms of some of their acting
     18      Q. But your understanding was that he was         18     out.
     19   referring to four staff as opposed to a clinician?   19            But yeah, I agree with you. It's probably
     20      A. Yes. I mean, he did say guards at some         20     pretty typical of what most of the kids might say.
     21   point. When I asked him who that was, he said,       21        Q. In Paragraph 151, if that's the paragraph,
     22   well, Evenor and then some of the guards or          22     you describe something I think you've talked about a
                                                      Page 163                                                    Page 165
      1   something like that.                                    1   few times, this concept of losing a point versus not
      2        Q. Okay. And then in Paragraph 147 Doe was         2   being awarded a point because you haven't earned it.
      3   asked what he would change about Shenandoah if he       3       A. Right.
      4   were in charge, and he responded with the following:    4       Q. And kind of on a conceptual level and
      5   "The way they treat us, improve the food, be less       5   understanding that it may have been documented as
      6   strict, get us outside more, different types of         6   having a point taken away, do you know if that's how
      7   games, change the color of the walls - everything is    7   it was communicated at all times to John Doe 4 or to
      8   white, more comfortable chairs, and teach kids how      8   any of the Does?
      9   to work, be organized, and manage their money."         9          MS. LIEBERMAN: Object to the form.
     10           And I'm not trying to be flippant in any       10   BY MS. HAYNES:
     11   way, but to me this kind of seems like a complaint     11       Q. Let me try again because it's a
     12   list for any kid in John Doe's 4 situation and maybe   12   complicated issue, and I'm trying to understand.
     13   even a lot of teenagers who aren't detained.           13       A. Sure.
     14           Did it not strike you that way?                14       Q. So before a certain point -- we agree
     15        A. Let me -- and again, remember, I was           15   there was a change in the behavioral management
     16   simply at the end of the interview, I just was --      16   program; is that right?
     17   sometimes I'll end on a note and just say is there     17       A. My understanding was there was. I mean, I
     18   any -- like if I know it's going before a judge,       18   can't attest to that. I never saw the before and
     19   I'll say is there anything particular you feel is      19   after, but that's what I'm hearing.
     20   important for me to know or for the judge to know.     20       Q. Okay. My understanding is that was
     21           So in this case I just said, you know, if      21   August 2016.
     22   you were in charge here what -- I just kind of         22       A. Okay.

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      1      Q. And I take it to be your opinion that the          1   where a point had been earned and then that earned
      2   distinction between losing points or not being           2   point was taken away.
      3   awarded points because you haven't earned them has       3          Do you remember which Doe or which youth
      4   never been successfully implemented based on your        4   that occurred with?
      5   review of the documentation.                             5       A. You know, I tried to -- I didn't quite get
      6      A. I would say --                                     6   finished. Over lunch hour I was trying to go
      7      Q. Is that fair?                                      7   through just to give you some examples, and I was
      8      A. Yes, not successful in the sense of not            8   looking for that in particular.
      9   consistently done. I believe there probably is some      9          I believe -- well, I'm assuming you just
     10   misinterpretation on the part of the kids, but I        10   looked over Doe 4, so if it was Doe 4 you probably
     11   also do believe that there were times that young        11   would have picked up on it because I did put it in
     12   people had already earned points for certain things     12   the report. So it must have been one of the other
     13   they had done and that those points were taken away,    13   Does. I'm thinking it was either 2 or 3. I think
     14   and, I mean, that -- I mean, there were just a          14   it was either 2 or 3.
     15   number of kids that talked about that. And you can      15       Q. Okay.
     16   say, yes, some of that was slippage, but just the       16       A. But I did document where I got that
     17   way it was documented, there was one in particular,     17   information from, and I took it verbatim from the
     18   and I don't remember which one, where clearly there     18   report. And that was one example for me that just
     19   was a point that had already been earned for a          19   seemed very clear cut because it did mention that
     20   behavior, and it was documented in the note that        20   their points had already earned and now they were
     21   this was taken away. So for me that was a clear         21   being taken away, and that's part of what triggered
     22   example of a point lost.                                22   this kid to act out.
                                                       Page 167                                                     Page 169
      1          So my guess is there's some slippage              1       Q. Did you ever feel like you wanted to or
      2   there. Either way for me -- and I'm for point            2   should talk to the people who were doing the
      3   systems. I mean, I want to make that clear. I            3   documenting to get kind of what their perspective
      4   mean, you need to have that way of behavioral            4   was on it?
      5   management in systems like this. But how it's            5       A. I mean, that certainly would be nice. I
      6   implemented, if it's done inconsistently or              6   mean, again, the more information I have the better,
      7   unfairly, it triggers for these kids a                   7   you know, place I'm at to make an accurate opinion.
      8   demoralization and acting out. And I do believe          8   That simply was -- well, there was no time to do
      9   there were times that staff did not follow the           9   that. Again, my primary reason to be there was to
     10   protocol properly and actually did take points away,    10   evaluate the young man.
     11   and other times I think the kids misinterpreted it.     11           So, you know, I think point well taken
     12   Other times the kids misinterpreted it, so I think      12   again if I'd had that access, but that simply --
     13   it's both.                                              13   generally in these cases that's not what -- I don't
     14       Q. Okay. Are you able to say what percentage        14   know if it's that we haven't been allowed to do that
     15   was which scenario, what percentage of kids             15   or it just hasn't been done. I don't know.
     16   misunderstanding and what percentage is guards not      16       Q. No, I understand, and I'm not trying to
     17   following or staff not following the procedure?         17   be -- I'm not trying to pick an argument with you.
     18       A. No. I mean, what percentage?                     18   I just have trouble with that concept as a semantic
     19       Q. Do you remember --                               19   issue.
     20       A. I don't know.                                    20           In Paragraph 153, and this looks like --
     21       Q. -- which -- you were referring to that           21   again, this is a paragraph where I look at it and it
     22   specific instance that you saw in documentation         22   looks like you were looking at documentation when

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      1   you drafted this particular paragraph, but can you        1   i.e., the progressive measures of the behavior
      2   tell if you also discussed this incident with             2   management programs had been followed, then force
      3   John Doe 4?                                               3   very likely would not have been necessary.
      4       A. Which, I'm sorry?                                  4           And I just wanted to know what less
      5       Q. It kind of goes with the preceding.                5   restrictive measures you had in mind when you wrote
      6       A. Which number are you looking at?                   6   that.
      7       Q. I'm looking at 151 --                              7       A. So with all of these examples that I'm
      8       A. Oh, okay.                                          8   giving I try to give examples where -- because there
      9       Q. -- to 153.                                         9   were examples that I reviewed where I felt it was
     10       A. Okay.                                             10   handled appropriately. But the examples that I gave
     11       Q. It talks about this incident on                   11   here were examples I took literally from the records
     12   February 4th, 2018. And as I read it, it looks like      12   from reviewing the disciplinary reports, the SIR
     13   you obviously were referring to documentation            13   reports as well as the case management and progress
     14   because you have specific dates.                         14   notes, if there was any connection there. In other
     15           But can you tell by looking at this              15   words, sometimes the dates didn't match up, but I
     16   paragraph if there was something you would have          16   tried to as much as I could look at all of that and
     17   talked about with John Doe 4 too?                        17   report -- even though I wasn't there and didn't ask
     18       A. I did not talk to him about this one.             18   the young man about it tried to put down what I was
     19       Q. Okay. And is that just because of your            19   gleaning from the report.
     20   recollection?                                            20           So in this particular case he was -- I
     21       A. No.                                               21   believe it was about his fingernails, led to his
     22       Q. Do you just remember whether you talked           22   failure to earn a point, led to -- again, this came
                                                        Page 171                                                     Page 173
      1   about it with him?                                        1   from -- I pulled this right from the report,
      2       A. No. As I'm looking at this I realized              2   argument/power struggle, he assaulted staff and
      3   when I -- well, it's a recollection, but also like        3   punched a table.
      4   the Children's Village situation I explicitly -- we       4           So I think where I was going in this case
      5   did talk about that because I just wanted to see          5   was that -- let's see. He was known to show -- so
      6   because for me that's some corroboration, you know.       6   my point here, and I guess this is a point that I
      7   If he says I was abused at the other facility, and        7   felt with many of the disciplinary reports that I
      8   then they found that it wasn't, that might tell me        8   looked at and SIR reports that an incident that was
      9   one thing.                                                9   considered fairly minor -- I mean, not cutting your
     10          So in that case I specifically wanted to          10   fingernails is one thing, and, you know, hitting a
     11   know about that, so that's why I remembered that.        11   staff number is another, there's a continuum
     12          In this case when I put on Page 36 review         12   there -- just felt to me like many times these minor
     13   of Doe 4's declaration and disciplinary reports, for     13   incidents all the sudden went into some major either
     14   the most part that's done simply by reviewing            14   room confinement, room isolation or going into
     15   documents. So only in exceptional circumstances          15   restraints.
     16   like the Children's Village situation would I            16           And when I went back and looked at what
     17   specifically have asked about it.                        17   the staff, the progressive policy that they were
     18       Q. Okay. That makes sense.                           18   implementing, they would often talk about verbally
     19          So in Paragraph 153 your conclusion kind          19   redirect a patient or in this case a detainee client
     20   of is in this incident, if less -- and the incident      20   or then went to point loss, but they didn't start
     21   I guess you're referring to is in 151 and 152, if        21   with engaging in verbally active listening. And
     22   less restrictive measures had been implemented,          22   that's the first thing that's talked about in the

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      1   protocol. And it is an -- it's an act of listening    1      intervene, and it just seemed like what they did was
      2   that's important but it's engaging this kid.          2      appropriate, even if it was one of, you know, the
      3           So, for instance, you know, Doe 4, come       3      kids -- well, it was probably either Doe 1 or Doe 4
      4   on, what's going on with your fingernails? I mean,    4      or 2 or 3 where it seemed like, you know, that's
      5   come on, let's not make this a big issue here.        5      appropriate; I can't fault them for that. But no,
      6   What's happening? In other words, trying to engage 6         so there's no report that I put that in.
      7   the kid rather than going to, look at, I need you to  7             I did try to be fair with both with the
      8   do your fingernails or whatever happened here         8      mental health and whatever if I felt there was at
      9   because something happened where it quickly went to 9        least some efforts being made. I didn't go into
     10   an escalation. I realize at that point they've got   10      specifics with that. Well, sometimes I did with the
     11   to intervene. I'm not questioning that.              11      mental health stuff. I did. I think I listed in
     12           What I'm questioning is it's like the bell   12      here, it might have been for Doe 4, some efforts
     13   curve, you know. When the kid has got the temper 13          that were made by the counselors to try to
     14   tantrum up here, you've got to deal with it, but if  14      appropriately respond to him. I just felt they
     15   you can catch it on the way up, and I felt in a      15      didn't go far enough. But I didn't do the same
     16   number of these situations it wasn't caught on the   16      thing with the disciplinary reports, you know. I
     17   way up because verbal de-escalation and engagement 17        didn't put the times in that they had done it
     18   was not used by the staff, so that's really what I'm 18      properly or where I felt they had done it properly.
     19   getting at here.                                     19         Q. Was there any particular reason why you
     20       Q. Understood. Is it possible in at least        20      did include some of that with respect to mental
     21   some of those circumstances that there was some      21      health but not with the disciplinary reports?
     22   attempt at verbal de-escalation and it wasn't        22         A. To be honest with you, no particular
                                                       Page 175                                                     Page 177
      1   documented?                                              1   reason. I just -- no, no. I mean, there was no --
      2      A. You know, I come from a medical                    2   I just didn't think about it.
      3   environment where if it's not documented it didn't       3       Q. I do appreciate you keeping the report
      4   happen. It's possible, but that's where I come           4   under 75 pages.
      5   from.                                                    5       A. Yeah, and I would -- I mean, just to be
      6      Q. Gotcha. You said that there were some              6   honest, the reason I'm even sharing that with you is
      7   examples you reviewed where you felt that things         7   I wouldn't necessarily say it was an oversight.
      8   were handled appropriately.                              8   It's not something I'm trying to hide. I mean, I do
      9         Can you think of examples?                         9   think, again, just like with the mental health, I
     10      A. Where they were handled appropriately, is         10   think there were some things that they did that they
     11   that what you said?                                     11   tried to do what was right and even with the guards.
     12      Q. (Nods head.)                                      12   But for me the bulk was overweighed by other
     13      A. Yeah, you know, I didn't put those in this        13   situations that I felt just they missed the boat and
     14   report, but, yeah, I mean, there were. I mean, I'd      14   they didn't use verbal de-escalation, things
     15   have to go back and look at, you know, my -- you        15   escalated, and I feel like they missed the whole
     16   know, the specific situations.                          16   trauma impact on.
     17      Q. Is there a report that you did put them           17          And I can also give you other examples if
     18   into?                                                   18   you want later. I did go through and pick out some
     19      A. No. I mean, an example would be if the            19   things that I think might help you understand more
     20   kid was already, you know, just went and hauled off     20   where I'm coming from.
     21   on another kid and started beating him in the gym, I    21          So I'm not afraid to say that yes, I think
     22   mean, at that point, you know, staff had to             22   at times they handled a situation properly but just

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      1   didn't put it in the report.                              1   facility?
      2       Q. Okay. Okay. In 156 -- give me a minute             2       A. Secure, you're right.
      3   to find it.                                               3       Q. And "This all makes no sense."
      4           At the bottom of that paragraph you               4          So I guess what I was trying -- is there
      5   conclude by saying, "It is my sense that Doe 4 was        5   anything with this paragraph that has to do with
      6   viewed as just another 'detainee' at Shenandoah           6   Shenandoah in your mind?
      7   without fully taking into account his prior               7       A. Yeah, I understand.
      8   traumatic history or that he was an unaccompanied         8       Q. My understanding is that you're being
      9   minor seeking asylum who was not in detention             9   critical of the process --
     10   because of having committed a crime."                    10       A. Right.
     11           And I guess I was wondering what your            11       Q. -- that got him there, but it's not
     12   understanding was of why he's in detention. I mean,      12   anything that Shenandoah had anything to do with.
     13   obviously I think we all understand he was in            13          Is that fair?
     14   detention because of his immigration status but why      14       A. Let me just quickly look at the paragraph
     15   he was at Shenandoah specifically.                       15   before and after. There's no traumas, right. So he
     16       A. Could I go back and look at earlier --            16   came in. Let's see.
     17       Q. Sure.                                             17       Q. And I want to ask you about 158 too, but
     18       A. Because sometimes -- I don't want to mix          18   with respect to 157, that's about other things.
     19   the kids up.                                             19       A. I mean, to a point you're right, but I'm
     20           Okay. I don't want to waste a lot of the         20   also tying it to the last sentence in 156 where it's
     21   time here. I know there was one, and I don't --          21   my sense that Doe 4 was viewed as just another
     22   that's the reason I wanted to be sure. I know for        22   detainee, which you read before. What I was trying
                                                        Page 179                                                     Page 181
      1   the most part it's due to aggressive or assaultive        1   to highlight was that here was a young man who
      2   behavior, you know, that's been quite frequent; or        2   had -- who, first of all, clearly had a history of
      3   if there has been I guess a committed crime in the        3   trauma that he reported to me anyway. And actually
      4   past particularly of a violent nature.                    4   when I looked at the records he had reported this to
      5          I know there was one youth, and I don't            5   other professionals in his other facilities. And I
      6   think it was Doe 4, I'm pretty sure it wasn't, who        6   believe the psychiatrist at Children's Village had
      7   had gone on record initially as saying that he, I         7   diagnosed him with PTSD. I thought he did an
      8   don't know if it was through gang activity or             8   excellent -- it was an excellent report there.
      9   whatever, may have killed somebody or did kill            9           I just felt like now he's coming to
     10   somebody and later recanted that, and I believe that     10   Shenandoah, so I think this bridge paragraph of 157
     11   was part of the reason that he was sent. It might        11   was to highlight two things. One, he had a prior
     12   have been Doe 3 or Doe 2, but that's the reason I        12   history of trauma; they were recognizing his need
     13   was checking.                                            13   for residential treatment because of that, and that
     14          So I don't remember specifically, but I           14   was documented -- I don't know if it was San Antonio
     15   suspect it was for aggressive behavior and possibly      15   or whatever -- but also that while he was in custody
     16   being a flight risk as I recall.                         16   he was abused. And that -- for me that was
     17       Q. Okay. In the next paragraph, 157, you             17   significant for Shenandoah to be aware of is that
     18   sort of recount some things that happened at             18   this is a young man who is going to come in not
     19   Children's Village and how he got to Shenandoah.         19   trusting authority figures, not feeling safe just
     20   You say sort of in the middle shortly after this         20   because of what's happened to him not only in his
     21   Doe 4 was transferred to a staff secure facility.        21   own history but also at the prior facilities.
     22          And actually Shenandoah would be a secure         22           So I just felt, again, it was a bridge

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      1   paragraph to then get into I just felt like he           1   That approach is not going to work with them. It's
      2   wasn't dealt with in a trauma-informed way. I felt       2   got to be, you know, engaging him around this nail
      3   like they saw him as having bad behavior versus          3   thing and just, hey, Doe, what's going on here?
      4   trying to understand. This is a kid who is getting       4   Help me understand; this isn't a big deal, you know,
      5   triggered in the moment who is either fighting or        5   giving them some room, as long as he's not hurting
      6   fleeing this situation, and we need to understand        6   himself or whatever at that point or others to give
      7   that and talk to him and engage him rather than to       7   him some room, say look at, let me check back with
      8   say, look at, you're going to lose points or             8   you in two minutes, maybe we can talk about it a
      9   whatever other interventions they went to. I just        9   little bit more, something to just slow that process
     10   feel like they missed -- if they had a better           10   down because I realize this may be a symptom of his
     11   understanding of what was going on they would have      11   just acting out his trauma rather than simply
     12   engaged him differently.                                12   disobeying a rule.
     13          So that was really the point of 157.             13           And the same when these kids would get
     14       Q. Okay. Thank you for the explanation. And         14   angry or curse at the guards, they're acting out
     15   I think that's kind of where you make that              15   their anger. And, again, nobody likes to have that
     16   conclusion in 158, and now I understand how these       16   happen. You know, if that happened to me I would
     17   paragraphs work together.                               17   feel something. But if I'm just going to react and
     18          But I guess when you say Shenandoah should       18   provoke the kid back, well, that's it, and this is
     19   have been aware -- this is 158 -- Shenandoah should     19   what I felt happened, that the guards were just too
     20   have been aware not only of Doe 4's prior behavioral    20   reactive to situations that could have been handled
     21   problems but also of his trauma history, that he had    21   through engagement, relationship building and
     22   been considered for a residential treatment center      22   building trust and realizing these kids don't trust.
                                                       Page 183                                                    Page 185
      1   and that he had been abused by Children's Village        1   These are vulnerable kids who have been traumatized
      2   staff, I mean, what makes you think that they did        2   who don't trust very easily, and so little things
      3   not know those things?                                   3   can just set them up. It's like a spark.
      4       A. Well, I'm going back to just the few              4          And if that's not understood, it basically
      5   examples we talked about earlier with him, that          5   leads to more of a punishment or what I feel is a
      6   where I'm coming from is that like with the nail         6   punishment or control of that behavior rather than
      7   experience, for instance, if I'm going to see that       7   getting at the underlying trauma that's triggering
      8   as a kid, you know what, you're simply disobeying,       8   that behavior.
      9   these are basic rules, you've got to follow the          9       Q. So what I hear you saying is you don't
     10   rules, I'm going to go one way. And for the average     10   think that they took that information into
     11   kid that maybe is fine; look, you've got to follow      11   account --
     12   the rules, if you don't here's the consequence.         12       A. Yes.
     13           But for traumatized kids who are refusing       13       Q. -- or responded to his history
     14   to -- let's say who are being disrespectful or are      14   appropriately.
     15   not following the rules, it's not necessarily coming    15       A. Right.
     16   from a place of just trying to be bad. It may be        16       Q. But are you also saying that they didn't
     17   something about they're just angry kids because of      17   know the facts of this prior history?
     18   their prior trauma. They're going to act tough at       18       A. I'm not necessarily saying that. I can't
     19   times because they don't trust the guards or the        19   say because I don't -- I think more what I'm saying
     20   staff. And if that's understood, I'm not going to       20   is I don't see them taking it into account.
     21   intentionally try to just confront that kid, you        21       Q. Okay.
     22   know, or say look at, you've got to do something.       22       A. I mean, that's based on, again, reading

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      1 the notes and not seeing them use that to deal with               1          So, for instance, I do talks in various
      2 these kids differently, so it's more that.                        2   universities around Chicago or whatnot, so I'm aware
      3     Q. I think I understand what you're saying.                   3   of this literature and do talk about it, but I don't
      4 And when you say "should have been aware," you're                 4   think -- in some of these individual studies I've
      5 kind of more talking about --                                     5   referenced in other reports that I've done on not so
      6     A. Yes.                                                       6   much in the civil cases because those were years and
      7     Q. -- aware in the theoretical sense,                         7   years ago, and some of this is newer literature.
      8 responding to taking into account not the -- they                 8   But this is primarily for this case, but it's
      9 literally did not know that these things had                      9   information that I was aware of prior to the case.
     10 happened to him or that he had been suggested to go              10       Q. And Paragraph 164 seems particularly bleak
     11 to an RTC?                                                       11   to me.
     12     A. Right. It's more that he has been                         12          Can I summarize that paragraph by saying
     13 traumatized and how can we use that to work with him             13   psychological harm is inevitable in detention?
     14 differently, yes.                                                14       A. Loosely, yes. I think so. It doesn't
     15     Q. In 163, which is at the bottom of Page 40,                15   mean that, you know, detention isn't appropriate for
     16 you say, "It is my opinion that SVJC staff was                   16   some kids, but that's why many centers like, for
     17 negligent in its treatment of Doe 4."                            17   instance, the one here in Chicago, the Cook County
     18        Obviously negligent has a legal meaning,                  18   Detention Center, has gone to what's called
     19 but I was wondering what negligent means to you.                 19   restorative justice and, again, looking at
     20     A. I'm just reading the paragraph here.                      20   least-restrictive alternatives to get a lot of
     21     Q. Sure.                                                     21   these, quote, kids who are there with crimes, you
     22     A. Well, I guess just off the top of my head                 22   know, being charged with delinquency in the
                                                              Page 187                                                            Page 189
      1   negligence for me would be, whether it's intentional            1 community and different placements rather than
      2   or unintentional, would be a blatant disregard for              2 keeping them in detention, and much of that is
      3   what would be appropriate in a situation or what                3 because of just being in detention in and of itself
      4   would be ethical. I mean, I'm talking in general                4 for a minor.
      5   here.                                                           5        I mean, sometimes it's perhaps necessary,
      6          So I guess it would be a disregard for                   6 but just being in detention deprives them of their
      7   either a commission or an omission, you know,                   7 freedom. And even if they've done something to put
      8   something directly done or something not done.                  8 them in detention, they're with kids who have
      9       Q. Okay. In Paragraph 164, the next one on                  9 sometimes done serious, very serious crimes, you
     10   Page 41, you talk about -- one thing I was                     10 know, maybe murders or whatever, and other kids who
     11   wondering, I guess I should pay more attention to              11 got caught with an ounce of marijuana and whatever.
     12   your subtitles, this section is Youth in the                   12 And so it's mixing. And then they get influenced by
     13   Juvenile Justice System/Detention, and it's more               13 those kids and just has a very -- and there's a lot
     14   about or seems to be more about research and the               14 of research from Australia and from England as well
     15   literature and your knowledge in the field.                    15 as the United States on the harmful effects of just
     16          Is this something that you would have                   16 being in detention independently of anything else
     17   drafted for this case in particular, or is this                17 for a child or for a youth.
     18   something that you can use from other cases or other           18        So yes, you're right.
     19   work that you've done?                                         19     Q. In Paragraph 166 over on the next page,
     20       A. A little bit of both, primarily for this,               20 about the middle of that paragraph you say, "Thus,
     21   primarily for this case, but, I mean, these are                21 the frequency and length of time juveniles are held
     22   things that I've read.                                         22 in isolation at Shenandoah as captured by BRG

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      1 statistics" ...                                                   1   report as well as information from the ORR records,
      2     A. I'm sorry, where are we?                                   2   he had had multiple -- I knew he had been in
      3     Q. So my understanding --                                     3   restraints multiple times. I mean, that was clear.
      4     A. Where are you?                                             4          So when I saw that, it didn't seem unusual
      5     Q. It's about --                                              5   to me. I mean, what seemed unusual was the amount.
      6     A. Oh, yes, okay.                                             6   I mean, it was a lot of time. I mean, it just jumps
      7     Q. Paragraph 1 --                                             7   out at you.
      8     A. Okay.                                                      8          But it did seem consistent with what he
      9     Q. What are the BRG statistics?                               9   was telling me and what ORR records indicated,
     10     A. This is a -- I think it's a research group                10   so ...
     11 that was utilized by the lawyers on this case to                 11      Q. Okay. Jumping over to Paragraph 174 on
     12 look at documents provided by Shenandoah and to look             12   Page 44, and I think we've covered this a little bit
     13 particularly at statistics of how often restraints               13   already, but you say, "Trauma-informed approaches
     14 were used per kid per month per year and try to                  14   are the standard of care in all stages of the
     15 develop -- well, not try but developed an overview               15   juvenile justice system," and we talked about the
     16 so that we could look at that. That's what I got                 16   National Child Traumatic Stress Network and the
     17 the information for Doe 1 from in terms of how often             17   Attorney General report that you cite in your
     18 he had been put in restraints.                                   18   report.
     19     Q. And I think you said before that you                      19          Have I covered what you're referring to
     20 didn't look at Dr. Diver's report, but did you look              20   when you refer to standard of care as far as
     21 at -- I guess you looked at these tables that were               21   authorities that say this is the standard of care?
     22 compiled?                                                        22      A. I think for the most part, yes. I mean,
                                                              Page 191                                                     Page 193
      1      A. So is that the person that's from BRG? Is                 1   it is also based on my experience of what I know, so
      2   that why -- okay.                                               2   not in terms of a regulatory authority but in terms
      3      Q. Yes.                                                      3   of what I know other centers utilize. And I know
      4      A. His name was never mentioned to me before.                4   there are other states that do this. I didn't list
      5   Okay.                                                           5   those.
      6           So I have not looked at all of the                      6           Well, actually I think I did put down -- I
      7   statistics. I've just looked at -- I mean, I know               7   forget. It was somewhere else in this report where
      8   they exist, and the ones that I'm aware of are the              8   I think I did list some of the states. It was a
      9   ones from Doe 1 because I really tried to do --                 9   footnote, I believe. At least it was in one of
     10   because there was so much to look at, and there                10   my --
     11   was -- and, again, this came in I think two days               11       Q. I remember that too.
     12   before we submitted the report.                                12       A. So that was part --
     13           So, I mean, I didn't include that other                13       Q. I remember that too and I'm not --
     14   than just quickly getting what I needed for this               14       A. Yeah, it wasn't a regulatory authority in
     15   report.                                                        15   that sense, but it was indicating other states that
     16      Q. Understood. And so at that point you                     16   have gone to revamping their juvenile justice
     17   assumed their reliability and accuracy and all that?           17   systems utilizing trauma-informed care in a
     18      A. Well, I just assumed that, yes, right.                   18   comprehensive way.
     19      Q. Okay.                                                    19           And, again, just so I'm clear, I think
     20      A. And I think partly why I assumed that with               20   there are certain things, aspects that are utilized
     21   Doe 1, if I could just add, is that I knew that he             21   at Shenandoah, but it's not in a comprehensive way.
     22   had had -- I mean, that I was aware of both from his           22   It's not integrated and woven into their work.

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      1   That's my concern. I feel like one hand doesn't          1   well ahead of a system that just started it a month
      2   often know what the other is doing or that if the        2   ago. On the other hand, there's an unfolding of an
      3   approach is primarily to get these kids to behave        3   entire process that has to happen right from the
      4   better, and I understand they want the kids to           4   beginning.
      5   behave better, but you can't just tell a kid to          5           So when I say yes and no I do get your
      6   behave better and give them an incentive if he has       6   point, but I look at it as more of an immature
      7   been traumatized because his trauma is going to get      7   versus a mature system. And for me trauma care
      8   retriggered no matter what the intentions of staff       8   isn't just doing an assessment on a kid and asking
      9   are; and if they don't understand that, that's where     9   about abuse, making sure they get the right
     10   the collision occurs.                                   10   medication for that or the therapy for that. It's
     11           So that's where I'm coming from with that.      11   also the entire environment has to be viewed as
     12       Q. I asked you about this earlier, and I'm          12   being a part of what could retrigger that kid's
     13   not sure I understood what you said, so I'm going to    13   trauma, and that's where staff training, staff
     14   try again.                                              14   understanding their own reactions, having support
     15       A. Yeah.                                            15   groups for the staff, whatever, to help them to
     16       Q. So to me a trauma-informed approach seems        16   process what's happening so they don't trigger the
     17   to lend itself to a continuum really well because       17   kids.
     18   you have some facilities that are doing a couple        18           That's part of why I put in the section on
     19   of -- or you have some facilities that are not doing    19   interpersonal dynamics from places where I've
     20   anything in a trauma-informed way, and they're at       20   worked, which has included hospitals, schools,
     21   one end of the spectrum; and then you have some         21   inpatient, residential, where if staff don't
     22   facilities that are doing a couple of things that       22   understand how they're getting triggered, they can
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      1   are trauma-informed; and then at the other end of        1 easily consciously, unconsciously, verbally or
      2   the spectrum you have a facility that is fully           2 nonverbally provoke a kid; and if I don't understand
      3   trauma-informed and doing all the things that you        3 that, this kid is going to be off and running. It's
      4   can imagine or suggest in that realm.                    4 that type of stuff that I see getting missed, and
      5           So is it not -- I mean, tell me what I'm         5 that should be there right from the beginning in
      6   misunderstanding, if I am, but is it not a continuum     6 some form.
      7   of compliance with what you say is the standard of       7        So I kind of understand where you're going
      8   care of some facilities being at one end and some        8 and I agree with that, but I also think that right
      9   facilities being at the other?                           9 from the beginning there needs to be -- the whole
     10           MS. LIEBERMAN: Asked and answered.              10 pie needs to be there even if it's in its beginning
     11   BY MS. HAYNES:                                          11 stages.
     12       Q. You can answer. I'm just trying to               12     Q. Understood. Thank you for explaining it
     13   understand.                                             13 to me.
     14       A. Yeah, I'm just thinking about your               14        And it sounds like what you're saying is
     15   question.                                               15 you can implement some trauma-informed approaches or
     16           Yeah, I mean, yes and no. I'm going to          16 trauma-informed tools and still not have a
     17   say yes and no. I see your point. And when              17 trauma-informed approach because of the way you're
     18   facilities are maybe changing their approach or         18 implementing it.
     19   whatever, there has got to be a starting point.         19        Does that kind of get at what you're
     20           So in that sense I understand your point        20 saying?
     21   that, you know, a system that's been using some kind    21     A. Yeah, I think that's more -- that's how
     22   of trauma-informed care for ten years is going to be    22 it's implemented, right, and it's got to be full

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      1   circle, comprehensive in that not just the detainee       1   assumed it was initials, gang-related, I don't
      2   and the immediate clinical staff. A lot of times          2   remember that part of it, but that's clearly where
      3   people think of trauma-informed care as just being        3   the focus went. And what got missed there was that
      4   the clinical staff providing understanding, but it's      4   almost independently of what he is carving is that
      5   all of the staff.                                         5   he's hurting himself, and, you know, what's going on
      6           So, for instance, maybe another way of            6   there? If it was about being bullied, that's what
      7   looking at this is the anti-bullying programs that        7   needs to be focused on. That's the trauma in that
      8   have come out over the last several years, the ones       8   moment.
      9   that are the most effective don't just target the         9           And the kids that were bullying him,
     10   individual being bullied and the person doing the        10   again, this is going to be a trigger related to
     11   bullying. It also targets the bystander, the kid         11   stuff with his father, and he reported that -- and I
     12   walking by, the teacher who looked the other way.        12   forget which one it was, it's one of the next where
     13   There has got to be a buy-in from the principal on       13   he clearly talks about being reminded of his father
     14   down to the janitor so that everybody understands        14   the way the guards were speaking to him, it was a
     15   that we don't tolerate certain things in this            15   huge trigger for him.
     16   school, you know; there's a culture of respect.          16           So the therapist has to help him make
     17           So that's what I mean by a total buy-in          17   those connections in that moment of being bullied,
     18   and a total package that I just don't see happening      18   hearing that, does this remind you of your dad, does
     19   here. And the reason I don't see it happening is I       19   this -- let's understand this is a part of trauma,
     20   don't see it indicated in the notes, you know, that      20   and explain to that kid here's what happens when
     21   they were understanding it from a trauma-informed        21   you're traumatized. You're going to have these
     22   perspective.                                             22   things that remind you of that, and it's going to
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      1          The best example would be Doe 1, and I             1   cause you to do whatever. So we need to understand
      2   don't want to get us off of this, but I can give you      2   that; now let's start working out a way to help you
      3   a clear example that might help you to understand         3   to manage that better.
      4   kind of where I'm coming from, but you can let me         4          So, again, my point here was that his
      5   know if you want me to go there at some point.            5   underlying feelings of being ashamed, the
      6      Q. If you know off the top of your head, go            6   self-loathing did not get addressed, which might
      7   ahead.                                                    7   have reduced his whatever. What got focused on was
      8      A. Yeah, again, I was trying to pull some              8   what he actually carved. They just simply missed.
      9   things over lunch, the examples.                          9   My guess is it was somebody who was a bit younger,
     10          So if we go to Page 9 -- well, yeah, we           10   not as sophisticated clinically.
     11   can just start with Number 38 where he refused to        11          The issue --
     12   leave his room, and he engaged in self-injurious         12      Q. That --
     13   behavior. He carved initials on his chest, began         13      A. Go ahead.
     14   banging his head against the wall.                       14      Q. I'm sorry, that to you stands out as an
     15          The note on 7/11 -- I couldn't find the           15   example of what you see as the problem and issue?
     16   note from 7/10, so I assume they didn't see him on       16      A. It may not be the best example, but it's
     17   7/10, they saw him the next day, the clinician, the      17   an example, yeah. Superficial things get reported
     18   counselor, suggested that they noticed the               18   on, the behavior gets focused on, but not the
     19   self-destructive behavior was in response to being       19   underlying feelings or the underlying trauma that
     20   chronically bullied by one of his peers. However,        20   may be triggering it.
     21   the focus in that session was then on what it was        21      Q. I want to back up a little bit to
     22   that he was carving in his chest, and I think they       22   Paragraph 159, which is Paragraph -- or I mean

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                                                              Page 202                                                    Page 204
      1 Page 39.                                                          1   much is due to his prior experiences, how much was
      2     A. Page -- mine got out of order here.                        2   due to current things happening. But I do feel that
      3     Q. Page 39, Paragraph 159.                                    3   even though Children's Village clearly was
      4     A. Okay.                                                      4   documented there was trauma there and that the guard
      5     Q. It's about halfway through the paragraph.                  5   lied about it. I mean, that's in the record; that
      6 You start a sentence with "although."                             6   we don't have, quote, any formal abuse reports that
      7     A. Yes.                                                       7   were corroborated at Shenandoah. The abuse I'm
      8     Q. And you go on to say, and I'm                              8   talking about here is more the trauma of not dealing
      9 paraphrasing, that while it's not possible to                     9   with him appropriately, not understanding his trauma
     10 determine to what extent his experiences at                      10   and that that's going to retraumatize him.
     11 Shenandoah exacerbated his PTSD if they did somehow,             11           So I do feel confident saying that in my
     12 and I just wanted to ask you about that as a general             12   mind it did because he reported -- you know, the
     13 idea.                                                            13   first thing out of his mouth when I said, well, just
     14         Is it possible to tease out what trauma                  14   tell me about your experience here, now his first
     15 resulted in what diagnosis under any circumstance?               15   words were it's horrible. So I'm sure most kids
     16     A. It's very difficult. The only times that                  16   would say that, but he then went in to talk about
     17 you can be more confident in that is if you've got               17   situations where he felt that he was mistreated.
     18 somebody here who maybe is seeking asylum, let's                 18   And it's that type of thing that I've heard and read
     19 say, and you have history or you have documentation              19   in his reports that even if it's not totally true,
     20 that they were -- you know, they really didn't have              20   everything they're reporting, there was a flavor of,
     21 any psychiatric history, there were no problems,                 21   you know, points being lost and demoralization,
     22 but -- now I'm just thinking of someone who I saw                22   guards overreacting to situations that could have
                                                              Page 203                                                    Page 205
      1   who, and I won't go into details, but clearly had               1   been handled differently.
      2   been tortured, and I had from supporting groups that            2          And the other theme was that violence -- I
      3   investigated that, there was confirmation of that,              3   think even Doe 4 said they used violence; they
      4   and the trauma that he experienced was clearly                  4   provoke us, we provoke them, we're off and running.
      5   linked to that specific issue. There was no                     5   He didn't say it exactly like that, but he said
      6   premorbid or prior problems; it was clearly linked              6   violence begets violence. Violence encourages more
      7   to that. And since being here in this country there             7   violence. And that's been my concern, and that's
      8   hadn't been any issues. So that's a situation where             8   what I see as traumatizing.
      9   you can feel pretty confident that this seems very              9          So it's not just what's done. It's what's
     10   clearly linked to that.                                        10   not done is the trauma and understanding and dealing
     11           In situations like, let's say, Doe 4 or                11   with it, and then what's done is the not following
     12   many of the Does where there is prior trauma, in his           12   the protocols, reacting too quickly to point loss
     13   case there was, which I was able to document, prior            13   and room confinement or whatever versus engaging,
     14   to coming to the United States, his journey here was           14   having a relationship with these kids.
     15   very traumatic, now you've got situations where, you           15          I also -- the other thing, again, this I
     16   know, he was abused at Children's Village, for                 16   don't know about, but I know other centers where the
     17   instance. You can't tease out, well, how much --               17   counseling staff are there until late at night and
     18   there is cumulative. There is research showing that            18   on weekends, and I just didn't get a sense from any
     19   trauma is cumulative in many cases.                            19   of the notes I read that they were available to
     20           Here it's clear to me there's an ongoing;              20   consult with the guards in the evening, and that
     21   it's trauma added upon trauma. But to say how much,            21   might have made a big difference.
     22   that's what I was saying, I can't say for sure how             22          I'm also aware of other facilities where,

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      1   for instance, they play more relaxing music in the       1       A. Yeah.
      2   evening. Now, maybe they do that here and I just         2       Q. Are you familiar with the American
      3   didn't see it written anywhere but where they try to     3   Correctional Association standards? Do you know if
      4   create a calmer environment. Again, part of that is      4   they speak to juvenile detention facilities and/or
      5   understanding trauma, understanding these kids are       5   to trauma-informed care?
      6   in a place where they don't want to be.                  6       A. I know that the standards exist. I know
      7          So, anyway, you can't tease out exactly           7   they do speak -- I don't know about the
      8   how much is due to Shenandoah, you're right, but I       8   trauma-informed care aspects of it. I'm not sure
      9   do feel that there is responsibility there on the        9   what they say about that.
     10   part of Shenandoah staff.                               10       Q. Okay. I assume you're familiar with the
     11      Q. Understood.                                       11   Flores settlement?
     12      A. And if I could just add one thing again           12       A. Yes.
     13   because I realize that, you know, sometimes I           13       Q. Is that something that you reviewed as
     14   understand and we're coming from a different            14   part of your work on this case?
     15   perspective, but keep in mind this is a young man       15       A. The settlement itself?
     16   who clearly had prior traumas, horrible things that     16       Q. Yes.
     17   he witnessed growing up and then his father not         17       A. I'm just aware of it from before. I mean,
     18   being there and his mother abandoning him. Then we      18   mostly where I was coming from there was the least
     19   go through these horrible things happening on his       19   restrictive setting, and, I mean, I'm sure there's a
     20   journey here.                                           20   lot of other aspects to the case, but that's what I
     21          Now, he alleged that Customs and Border          21   was focused on and referencing. And a lot of that
     22   Patrol abused him. I don't know if that's true, but     22   was driven by what I saw as, like, for instance, I
                                                       Page 207                                                    Page 209
      1   that's his allegation. But then he clearly was           1   think it was Doe 3, whichever one had the 96 days of
      2   abused at Children's Village in a government             2   good behavior that clearly he did not need the
      3   organization. So, again, that's going to -- right        3   setting, in my mind, the setting that he was in. He
      4   there he's going to carry distrust with him. So now      4   should have been in a lesser restrictive setting.
      5   I'm going to come to your facility, and I'm not          5          So that's part of why I referenced that.
      6   going to be trusting. So I might be a bit                6      Q. Do you know if the Flores agreement
      7   provocative to you to test you out to see if you         7   referred to specific standards?
      8   really care; I might be angry; I might not trust         8      A. You know, it's been a long time, and it's
      9   anything you say. If you don't understand that,          9   been at least ten years since I've read that. I
     10   you're going to see me as just another kid who is       10   don't -- I don't know the answer to that.
     11   getting angry and acting out rather than, you know      11          MS. HAYNES: Okay. Fair enough. Why
     12   what, no wonder this kid doesn't trust us. We can't     12   don't we take a ten-minute break.
     13   expect him to trust us. We've got to engage him in      13                 (Whereupon, a recess was taken
     14   a different way to build his trust.                     14                 from 2:21 p.m. to 2:30 p.m.)
     15          And part of that is being consistent with        15                 (Exhibit 6 and Exhibit 7 were
     16   our own protocols so they realize that we're not        16                 marked for identification.)
     17   just doing things arbitrarily and also engaging them    17   BY MS. HAYNES:
     18   and spending time talking to them.                      18      Q. Dr. Lewis, I wanted to talk about your
     19          So that's part of what I just feel that          19   evaluation of John Doe 1, and if you turn to -- if
     20   Doe 4 in particular got missed.                         20   you find Exhibit 6 and Exhibit 7.
     21      Q. I want to go back to standards for just a         21      A. These look the same to me though.
     22   minute.                                                 22      Q. I think the difference is --

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      1      A. Okay, they are different. We're good.                      1   and that's why I did two reports.
      2   One is the competency and I think the other one is               2       Q. Can you explain to me to the extent that
      3   the immigration.                                                 3   you know and based on your understanding why is the
      4      Q. Right. And tell me if I'm wrong, but I                     4   Young Center involved in some kids' cases and not in
      5   think Exhibit 6, which is dated the 10th, that's the             5   others'?
      6   competency?                                                      6       A. Well, okay. The simple answer to that,
      7      A. No, that's the -- oh, dated what, the                      7   they try to get involved, I think they would ideally
      8   10th? Wait a minute.                                             8   like to be involved with every child if they could,
      9      Q. Yes, it's marked Exhibit 6.                                9   so I think it's primarily a resource issue. The --
     10      A. That's the immigration one -- oh, no,                     10   and that's why they've expanded over the years
     11   you're right, that's the competency one, you're                 11   because, again, what they provide primarily is child
     12   correct.                                                        12   advocacy for detained youth who are immigrants who
     13      Q. And then the one marked Exhibit 7?                        13   are here undocumented who -- just to help them get
     14      A. Yes, that was about immigration and                       14   through the system, so getting them medical
     15   treatment recommendations.                                      15   evaluations if need be, psychological evaluations,
     16      Q. Okay. And I think I understand from                       16   making sure they have the proper shelter, getting
     17   everything we've talked about so far today is you               17   lawyers involved with their case, that type of
     18   were asked to do both of these by the Young Center,             18   thing. So they're there to provide advocacy.
     19   right?                                                          19          So I think their feeling is that every
     20      A. Yes, originally, but then quickly care got                20   child should have an advocate, but, again, you know,
     21   involved with the competency part of it. Actually I             21   it's not required that every child have an advocate,
     22   think initially it was not competency. Initially it             22   and there's no money obviously, even if it was
                                                               Page 211                                                     Page 213
      1 was just, if we look at Number 7, that was the                     1   required, there's no money to back that up. So I
      2 initial -- let's see. Where is it here?                            2   think partly it's a resource issue.
      3        Yeah, there was actually nothing about his                  3          They don't -- I think they'd like to have
      4 competency in what I was initially asked to do, but                4   almost every child see a psychologist just because
      5 then within a day or two they asked if I would talk                5   it helps to inform everybody of what's going on with
      6 with the lawyer from CAIR who knew that I was coming               6   that child, but, again, it's a resource issue.
      7 and asked if that could be worked into the                         7          So they tend to refer, you know, more
      8 evaluation, so I agreed to do it.                                  8   difficult cases to me. And also, you know, I was
      9        Anyway, so that came secondarily to the                     9   one of the only ones doing this in the Chicago area
     10 initial request.                                                  10   for a long time, so now, you know, other people are
     11     Q. And you had already done all the work that                 11   getting involved with that.
     12 you needed to do to produce those reports, right?                 12          So I don't know if that answers your
     13 It's not like you had to meet with him again --                   13   question, but ...
     14     A. Right.                                                     14       Q. It does. Thank you.
     15     Q. -- to develop the second report?                           15          On Page 3, and I guess we can use --
     16     A. It was all essentially done -- ideally not                 16       A. I should also say, just so you're clear,
     17 the best way to do things, but because of time and                17   that like in the case of Doe 1 that the Young Center
     18 whatnot, I mean, normally you want to do separate                 18   wasn't aware that I was going to -- I wasn't aware
     19 evaluations, but there is overlap. I mean, things                 19   at that time that he was going to be involved in a
     20 that I needed for one I need for the other, but then              20   civil case, so they had no understanding of that.
     21 there are things that I need for one that I don't                 21          And they also, just so you're aware, are
     22 need for the other, and that's where they diverged,               22   partly funded by ORR, so they try to stay very

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      1   independent of this entire process, and they have              1   concern the lawyers had, that he kept doing that
      2   been, other than when they asked me to do an                   2   with them when they were meeting with them.
      3   evaluation. And if they have records, I always --              3          So that's why I recommended that even if
      4   and that's with any lawyer that I work with where I            4   he could understand at a basic level intellectually,
      5   do a forensic evaluation, I ask do you have any                5   which I felt he could have, he wouldn't have been
      6   records, medical, psychological, affidavits that I             6   able to use that in a rationale way to assist his
      7   can look at. So that's standard.                               7   case, so that's why I found him not to be competent.
      8          But other than that -- and just so you                  8       Q. How often do you do competency
      9   know, partial funding comes from ORR, so, again,               9   evaluations?
     10   they try to be very objective with this. And that's           10       A. This is particularly in the area of
     11   why -- I'm outside of their system as well, even              11   immigration a pretty new area, so, you know, I
     12   though they refer to me a lot. It's simply, you               12   actually just went to this I think it was in 2 --
     13   know, not too many people doing this, but they also           13   what's this? 2017. I think it was last year. Or
     14   know that I'll be independent of whatever their               14   was it 2016? It was either 2016 or 2017 that I went
     15   system is, so ...                                             15   to the workshop that Jack Weil did where we went
     16      Q. I appreciate the background.                            16   through all this. And basically as far as
     17          I'm going off of Exhibit 7 because that's              17   immigration goes it a brand new area.
     18   the report that's later in time, and I think it has           18          Now, there's competency for juveniles.
     19   a couple more paragraphs to it.                               19   Those I have not done. I've never done those
     20      A. Okay.                                                   20   before.
     21      Q. And then on Page 3 -- and before I ask                  21          So this is just -- I've only done a couple
     22   this question, what did you ultimately determine              22   of -- well, this one actually, and I have one other
                                                             Page 215                                                     Page 217
      1 with respect to competency?                                      1   one that I'm going to be doing in a few weeks.
      2     A. I determined that he was not competent.                   2       Q. Okay. Do you have -- I mean,
      3 And when you're looking at competency, you also have             3   understanding that it's not something that you have
      4 to look at not just do they understand, you know,                4   done much of yourself at this point, do you have an
      5 why they'd be going to court, how the court works,               5   understanding of how common it is to be -- to have a
      6 what are the different possible outcomes, but do                 6   UC determined incompetent?
      7 they understand the impact on them and then can they             7       A. Offhand I don't know data on that. I
      8 function in that setting to help their lawyer.                   8   suspect it's -- I think it's one of two things.
      9        And so I felt that even though some of the                9   It's probably pretty unusual to find a UAC that's
     10 basic workings of the court could have been                     10   incompetent. I suspect it's more either that
     11 explained to him and he could have been remediable              11   they're going to be competent or they're going to be
     12 for that, that in his case the depression and his               12   remediable; in other words, they're not competent
     13 prior trauma was getting triggered. Even in his                 13   for a temporary period of time because they simply
     14 evaluation with me, I mean, he just totally shut                14   don't understand the court language and the roles
     15 down. And I'm talking to him like I am to you now.              15   and that they can be educated on that, or they have
     16 I mean, I wasn't trying to drill into him about                 16   some type of psychiatric problem that's more
     17 anything, and he just wasn't able to handle that.               17   amenable to treatment; so through medication,
     18 When I specifically asked him about -- both when he             18   through therapy over a few months they can get to a
     19 talked about his dad he shut down, and when I                   19   place where they are competent. So I suspect
     20 started to get into his understanding of court and              20   there's probably a fair amount of those out there.
     21 immigration and what could happen, what he was                  21          I think where someone is found totally
     22 accused of, he just melted. And that was the                    22   incompetent like I'd found for Doe 1, I think that's

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      1   probably quite rare. That's just a guess that I          1   him.
      2   have.                                                    2       Q. Okay.
      3       Q. On Page 3, Item 12, your Collateral               3       A. I was involved --
      4   Information Sources Reviewed, do you know -- you         4       Q. And I'm jumping around.
      5   list case management and progress notes.                 5       A. With Doe 1, I was involved -- I did not
      6          Do you know which -- it's Page 3.                 6   meet with him, but I worked on a telephone
      7          Do you know which case management and             7   conference call to try to get him into, with the
      8   progress notes you reviewed? Was it all of them?         8   help of his lawyers, into a treatment facility.
      9   Was it a section? Was it notes from Shenandoah?          9   That fell through for various reasons. I think it
     10       A. You know, I have all of them at home.            10   had to do with a change in venue and where he was
     11   There is a lot of them. Let me just say that for        11   going to be going or whatever.
     12   starters.                                               12           So I didn't directly talk to him, but
     13          Yes, it was -- I believe it was just             13   that's the only other contact that I've had about
     14   Shenandoah. I don't -- I don't think -- there might     14   Doe 1 that's separate from this.
     15   have been -- well, let's see. The report by             15       Q. Do you know about when that was?
     16   Dr. Kane, that was Shenandoah; Aleman was               16       A. I'd have to go back and look at my log.
     17   Shenandoah.                                             17   It was a phone call on a Thursday night. I'll say
     18          Yeah, I think the other two, Rife is an          18   two, three months ago, probably three months ago.
     19   outside psychologist, and then the other woman --       19       Q. And did I hear you say Doe 1 was on the
     20   the other two women I think were in Texas.              20   call?
     21          So there might have been some -- I don't         21       A. No, he was not. So he was not -- it was
     22   think there were progress notes. There was some,        22   about him to help him get into appropriate
                                                       Page 219                                                    Page 221
      1   some basic information from the other facilities,        1   treatment, but it was the facility director I
      2   but it was not anything that I looked at really for      2   believe in Arkansas and Jennifer Nagda from the
      3   this report.                                             3   Young Center and myself talking about what was in
      4          So this was essentially Shenandoah                4   his best interest. Apparently they had been sent my
      5   records, ORR records from Shenandoah.                    5   report, so they wanted my opinion.
      6      Q. Okay. Okay. And then how did you --                6       Q. Okay. And is it your understanding that
      7   these remaining one, two, three, four documents, did     7   Doe 1 is no longer at Shenandoah?
      8   you select those from that larger set, or did they       8       A. Well, that's the other thing they wanted
      9   come from somewhere else?                                9   my recommendations on. If he didn't -- because it
     10      A. No, I selected those from the larger set,         10   fell through for him to go to the treatment center,
     11   and I selected those because they were relevant for     11   so I got a call back just making recommendations for
     12   me. I mean, if I see, you know, any medical or          12   where he would function the best since he wasn't
     13   psychological or psychiatric information, that's        13   going to be in a facility. I think -- I don't know
     14   information I want to know about.                       14   where he is, so to be honest with you I don't know.
     15      Q. Okay. And just you haven't met with or            15       Q. Let me -- so he's not there anymore?
     16   seen or talked to Doe 1 since you evaluated him in      16       A. Right.
     17   August 2017, right?                                     17       Q. Is that --
     18      A. That's right.                                     18       A. That's as much as I know, right. That's
     19      Q. Okay. And is the same true for Doe 4, you         19   as much as I know.
     20   haven't met or talked to him since July 2018 when       20       Q. Okay.
     21   you evaluated him?                                      21       A. I don't know where he is.
     22      A. That's correct, yes. I have not talked to         22       Q. Okay. Okay. On the bottom of Page 2,

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      1   Paragraph 11, and then it goes over to the next         1       A. And, again, I just want to refresh. This
      2   page, 3, I think this is similar to the paragraph we    2   is the -- okay.
      3   talked about in John Doe 4's evaluation where you       3          So on both of the reports I listed --
      4   kind of explained what you're doing there and the       4   because, again, keep in mind I was doing two
      5   purpose of the evaluation. And then on Page 3, the      5   evaluations at one time. Even though there's
      6   second half of the paragraph you say -- I'll refer      6   overlap, there's also things that are distinct. But
      7   to him as John Doe 1 for the purposes of our record     7   for the reports I felt that it was important to just
      8   and his confidentiality. John Doe 1 was able to         8   put down all the tests that I gave because all of
      9   verbalize that he understood the purpose of the         9   that eventually becomes relevant.
     10   evaluation and the limitations of confidentiality.     10          So like the assessment of competence,
     11   Later in the interview he said he thought the          11   that's not an actual test. That was more -- there
     12   purpose of this evaluation was to see if he needed     12   was clear guidelines in there that we were trained
     13   to be taken back to a psychiatric hospital. I          13   in to utilize, so I gleaned information from that
     14   reassured him.                                         14   that probably I did use in the other -- well,
     15          And I was just wondering if you know, if        15   actually no, that was very specific, but I just felt
     16   you remember at what point during the evaluation he    16   like everything I did should be -- I was trying to
     17   expressed that misunderstanding? Was it day one,       17   be transparent with all the tests I had given, but
     18   was it day two?                                        18   that's a test that was specific to the competency --
     19      A. It was day one. It was right after lunch,        19   or not a test, the guidelines that were specific to
     20   after our lunch break.                                 20   competency.
     21      Q. Okay. And so would you have started --           21          The other tests, the questionnaires were
     22   would that have been about midday through day one?     22   used really across the board. Why those specific
                                                      Page 223                                                             Page 225
      1       A. Midday through day one, yes.                     1 tests? Well, there was a variety that were in
      2       Q. And at that point my understanding is that       2 Spanish, so that's always important. Again, the
      3   he had been hospitalized for psychiatric reasons        3 Beck anxiety and depression inventories are very
      4   three times.                                            4 commonly used just as a kind of a screening to get a
      5          Is that consistent with your -- he had had       5 sense of a child's -- so, for instance, I might have
      6   that experience?                                        6 somebody who talks about being very depressed to me,
      7       A. That's correct.                                  7 but then I give them the rating scales and it comes
      8       Q. Okay. We've already talked about the             8 out nothing or vice versa. So it's a way -- and
      9   tests and questionnaires, I think. You've listed        9 then I can go back and say, look at, you know, you
     10   the ones that you used with John Doe 1 there on        10 were telling me this before but you're not rating it
     11   Page 3.                                                11 highly here; help me understand.
     12          Is that what those are?                         12        So it's just a way to kind of confirm or
     13       A. Yes.                                            13 make sure I'm not missing anything. Again, I'm not
     14       Q. Are you able to -- it looks like you've         14 primarily going for a score there.
     15   listed which ones are translated into Spanish.         15        The childhood trauma questionnaire, again,
     16       A. Right.                                          16 there's different kind of trauma questionnaires that
     17       Q. So is it safe to assume that the ones that      17 can be utilized, but it's just simply a
     18   don't say Spanish version are not translated into      18 questionnaire that has about 25 different things I
     19   Spanish?                                               19 ask to get at different kinds of trauma that a child
     20       A. That's correct.                                 20 might have experienced. That's important just to
     21       Q. Okay. And you used 11 total here. Was           21 understand that there can be a variety of traumas,
     22   there a specific reason for these specific 11?         22 and it's just helpful to know, you know, physical,

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      1 sexual or whatever.                                              1   needed a residential treatment facility.
      2     Q. Are all of these reports or all of these                  2          Is that a fair summary?
      3 evaluations self-reporting like the tests that you               3       A. Yes.
      4 gave to John Doe 4?                                              4       Q. Okay. And I know -- so ultimately as far
      5     A. I believe -- let's see.                                   5   as treatment is concerned, your conclusion was that
      6        Yes, they're all self-reporting. The                      6   he needed to go to a residential treatment facility
      7 Trauma Symptom Checklist for Children, the last one,             7   where he could get specialized care basically,
      8 does have an embedded validity scale. Again, I try               8   right?
      9 to include some type, you know, when I'm doing this              9       A. That's correct.
     10 kind of work some type of test for that if I can.               10                 (Exhibit 9 was marked for
     11        And the Montreal Cognitive Assessment, I                 11                 identification.)
     12 mean, again, that's primarily used to see if                    12   BY MS. HAYNES:
     13 somebody has a brain disorder, and that's not why I             13       Q. And I know that you take issue with some
     14 used it. I literally use it just to get a sense of              14   of Dr. Rife's report, but wasn't that ultimately his
     15 how they function. So that's a hands-on where you               15   conclusion too? And that's Exhibit 9 in your stack.
     16 ask people to draw a picture of a clock set to a                16       A. Yeah. I mean, I took issue with certain
     17 certain time. You might ask them to give me                     17   aspects of his report, but that was -- right, he did
     18 specifics about numbers that they can remember.                 18   agree with me on that.
     19 I'll read some numbers to them and have them repeat             19       Q. Okay.
     20 it back. So it's a certain set of things.                       20       A. Yes.
     21        So that's the only test that's really                    21       Q. And it seems like I can't think of a
     22 different than the other ones, and that's just                  22   situation when John Doe 1 was assessed that that was
                                                             Page 227                                                    Page 229
      1 primarily to get a sense of, you know, how his                   1   not the recommendation.
      2 general cognitive functioning is. It's not so much               2          Is that consistent with your sort of
      3 to see if he has got a brain tumor or whatever.                  3   overall view of his record as well? And I think
      4        So a lot of these tests are really just                   4   everyone was on the same page that he needed to go
      5 used as an adjunct to the clinical interview. The                5   to a residential treatment center.
      6 clinical interview is primarily where I'm getting my             6      A. I believe so, I believe so. Yes, I think
      7 information from.                                                7   that's accurate.
      8     Q. Okay. Jumping ahead to your                               8      Q. Okay. I want to -- sorry to flip around
      9 recommendations, which are on Page 18, the last                  9   so much. I want to go back to your report.
     10 page, and I'm looking back at your purpose for the              10          And if you'll give me just a minute, I
     11 evaluation, which was to assess the psychological               11   have to cross through parts out of my outline that
     12 functioning, understand his history and his                     12   we've already talked about, so if I pause it's to
     13 experiences in detention and provide recommendations            13   make things shorter.
     14 for future placement and treatment; and then your               14      A. Okay, no problem.
     15 recommendations are essentially that it wouldn't                15      Q. It's a good thing.
     16 be -- it would be detrimental for him to return to              16          Generally speaking, you said that you
     17 Mexico for a variety of reasons, number 4 being                 17   hadn't seen videos until after you submitted your
     18 without receiving trauma-based treatment that would             18   September 2018 report, right?
     19 help him to understand why he gets triggered and                19      A. That's correct. Not generally. I had not
     20 then would be putting himself in difficult                      20   seen anything.
     21 situations. And then in 76 is your treatment                    21      Q. Okay. So you didn't have an opportunity
     22 recommendation I understand, which is he is in                  22   to compare --

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      1      A. No.                                                 1 my case but in my estimation due to his prior
      2      Q. -- any of the accounts to video --                  2 trauma. And so that's where I felt like I did agree
      3      A. No.                                                 3 with that.
      4      Q. -- which I think you said you did do in a           4        But then in other parts of his report and
      5   previous case, right?                                     5 particularly his recommendations he talks about
      6      A. Yes, I did, and I can't remember if the             6 needing to confront his aggressive behavior, and,
      7   videos were just from Abraxas. I think they were          7 you know, that's why I have issue with the report.
      8   primarily Abraxas, but yes.                               8 I felt it was basically all over the place. But
      9      Q. And then Paragraph 44, beginning at                 9 this aspect I agreed with, and I was trying to
     10   Paragraph 44 of your report --                           10 underscore that here.
     11      A. Which exhibit are we in, 7?                        11     Q. Okay. Do you know if the purpose of
     12      Q. We're in Exhibit 3, I'm sorry, your                12 Dr. Rife's evaluation differed from the purpose of
     13   September 2018 report.                                   13 your evaluation in any way?
     14      A. Oh, okay.                                          14     A. Well, no, sure, it did because he -- well,
     15      Q. And I'm looking at generally Paragraphs 44         15 okay. So initially I wasn't -- I'm putting the
     16   to 46 where you talk about Dr. Rife's report and         16 civil case aside because I didn't know that this was
     17   some of the things that you took issue with.             17 going to be a part of the civil case.
     18      A. Okay.                                              18        So different in the sense that I was doing
     19      Q. In Paragraph 45 you quote Dr. Rife as              19 a clinical evaluation. If I was just doing a
     20   talking about the testing indicating that Doe 1's        20 clinical evaluation I would just be reporting
     21   interpersonal difficulties may be more due to social     21 whatever symptoms and diagnoses I found and whatever
     22   anxiety than a complete lack of regard. And then         22 my recommendations were. I wouldn't be making any
                                                        Page 231                                                             Page 233
      1   you say, "It is my opinion this more accurately           1   recommendations with regard to immigration or, you
      2   captures the trauma and anxiety."                         2   know, asylum or whatever.
      3          Can you kind of explain a little bit to me         3          So in that sense there's a difference, but
      4   what you mean by that?                                    4   they're pretty similar in many ways.
      5      A. Okay.                                               5      Q. Well, I guess what was making me think of
      6      Q. Do you see where I'm reading from in like           6   that is if you're able to flip back to Exhibit 9,
      7   the middle?                                               7   which is Dr. Rife's evaluation.
      8      A. Yes. I'm just reading just to get the               8          Do you have that in front of you?
      9   context.                                                  9      A. All right.
     10          Well, all right. So what -- and this is           10      Q. And then under Reason for Referral, the
     11   where while I agree with aspects of Dr. Rife's           11   last sentence says, "He was referred for a
     12   report, I felt like he was talking both sides and        12   psychological evaluation to determine treatment
     13   being inconsistent because there's other parts of        13   recommendations," which I think is consistent with
     14   his report where he essentially portrays Doe 1 as        14   what you were doing when you were evaluating
     15   having more -- I don't know if he used the word          15   John Doe 1, but then also to obtain a risk
     16   "sociopathic" but more proactive, just an aggressive     16   assessment due to his history of criminal activity,
     17   kid, more of an antisocial kid.                          17   aggression and mental health issues while in ORR
     18          And here he's getting at more what I would        18   care.
     19   say, which is that no, this isn't just an antisocial     19      A. Sure, so some similarities.
     20   kid who's acting out; this is a kid with other           20      Q. So I didn't take that second part of it to
     21   issues going on, whether it's interpersonal              21   be part of what you were doing in your evaluation.
     22   difficulties due to anxiety or in my case -- not in      22          Is that fair or not fair?

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      1      A. Right, I did not do a specific risk                        1   decision, I get that, but, you know, they can
      2   assessment for criminal activity. There's a                      2   advocate, they can facilitate. It just felt to
      3   specific structured -- it's not a test but it's a                3   me -- and, again, also keep in mind that my context
      4   questionnaire that's used for that that I did not                4   was that -- and I believe it was Doe 4, maybe it was
      5   use.                                                             5   Doe 3, I think it was Doe 3 actually, that when he
      6      Q. Okay. I want to jump back to your report,                  6   was in another facility, within two days he was
      7   Exhibit 3, Paragraph 64. And there's a lot here,                 7   stepped up; and yet with 96 days, and it was Doe 3,
      8   but 64 to 70 to me seem to kind of summarize his                 8   of 96 days of good behavior he still wasn't stepped
      9   time at Shenandoah.                                              9   down.
     10          And then in Paragraph 70, I think you                    10          So that's where my context is coming from,
     11   referred to this earlier, about the middle of that              11   assuming that more could have been done for
     12   paragraph you say, "His long period of good behavior            12   Shenandoah to advocate and facilitate.
     13   begs the question as to why more was not done to                13          I realize they don't have the final
     14   facilitate and advocate for Doe 2 to step down to an            14   control. I get that.
     15   RTC." And I don't want to replow ground. I think                15      Q. Okay. And I think, you know, what made me
     16   we talked about this a little bit.                              16   wonder about that is that John Doe 1's case was a
     17          But do you -- do you know of anything                    17   case that the Young Center was involved in, and I
     18   specifically that Shenandoah could have done that               18   think I saw three letters where the Young Center and
     19   they did not do to effectuate this kid's transfer to            19   attorneys were advocating for him to get to a
     20   an RTC?                                                         20   residential treatment center, and that did not
     21      A. Specifically, no, and just to keep the                    21   immediately make anything happen.
     22   answer simple, no.                                              22          Were you familiar with those letters as
                                                               Page 235                                                    Page 237
      1        I'm basing that on two things. One --                       1   part of his file too?
      2 well, I do know they reported having recommended him               2       A. I don't recall the letters. I know they
      3 or whatever they do, the paperwork they do to                      3   were advocating for that. I don't know that I
      4 initially recommend an RTC; so I believe I could go                4   had -- I don't think I saw the letters.
      5 back and find where they had done that. So I know                  5       Q. Okay.
      6 they had done that.                                                6       A. Actually what I will say is that when they
      7        But when I saw two things, one, the kids,                   7   first approached me they wanted to know what I
      8 many of these kids felt like after 30 days that they               8   thought, and I -- they didn't tell me -- I knew
      9 were being promoted for -- not promoted but                        9   later they were thinking that's what he needed.
     10 recommended for an RTC. I understand it takes time                10   They didn't tell me that up front. They said, look
     11 often for that to happen, but somehow in their mind               11   at, we've got a situation that we're just trying to
     12 I believe sometimes they were told that within                    12   figure out how best to be of help. And I often get
     13 30 days they kind of set them up to be disappointed.              13   involved with their more difficult cases, so they
     14 But more what I'm concerned about here is I'm                     14   wanted me to just go in and tell them. And if I had
     15 assuming that there's more that they could do                     15   said no, I don't think that's what he needs or
     16 because, again, one of the -- I don't know if it was              16   whatever, I think they probably would have accepted
     17 for Doe 4 or Doe 3, the therapist in the note                     17   that to be honest with you.
     18 actually said, implied that he needed to do more                  18          So, again, I did learn about that that's
     19 good behavior so she could fight his case, and it                 19   what they wanted, but that was after the fact. That
     20 was in reference to getting him back into -- getting              20   was not said to me up front. They simply said we
     21 him not back into but getting him to an RTC.                      21   need help; we don't know what's best for him. We
     22        So that tells me that yeah, it's not their                 22   just know he's not doing well where he's at; we need

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      1 to understand, give us some recommendations.                       1   attempts to try to help him.
      2        MS. LIEBERMAN: Again, Dr. Lewis, I just                     2          What I felt -- again, it goes back to the
      3 want to caution you that although we weren't the                   3   standards. What I felt got missed was two things.
      4 lawyers at the Young Center that you may have a                    4   One, a more trauma-informed discussion in the actual
      5 privilege issue there, so you need to -- I just want               5   sessions about what was getting triggered, what does
      6 to put that on the record so that everybody is clear               6   that remind him of rather than just let's help you
      7 that there may be limits to what you can talk about.               7   to do this to stop doing that behavior. I felt that
      8        THE WITNESS: Okay.                                          8   there was too much focus on needing to act, to have
      9        MS. HAYNES: Objection.                                      9   good behavior and not get in trouble, not have
     10        THE COURT REPORTER: Could you repeat the                   10   further consequences rather than underlying issues.
     11 objection, Ms. Haynes? I'm sorry, it didn't come                  11          And then it goes back to the
     12 through.                                                          12   trauma-informed stuff that we've already talked
     13        MS. HAYNES: I just said objection noted.                   13   about for the guards that I just felt like the whole
     14 I don't totally agree, but I don't think it really                14   trauma-informed care is not just what the mental
     15 matters for what we're doing right now. And I don't               15   health counselors are doing but also what the guards
     16 need to know anything that was discussed with                     16   are doing.
     17 lawyers.                                                          17       Q. Okay. Changing tact, my copy of your CV
     18        THE WITNESS: Okay.                                         18   is not attached to my Exhibit 3. Nevertheless, do
     19 BY MS. HAYNES:                                                    19   you have a copy of your CV attached to your report
     20     Q. So could you go to Paragraph 99 of your                    20   with you?
     21 report, which is Exhibit 3. And it's a long                       21       A. I don't.
     22 paragraph, but I think in here you talk about the                 22          MS. HAYNES: Do you have a copy, Hannah?
                                                               Page 239                                                    Page 241
      1   things that -- some of the things that are being                 1         MS. LIEBERMAN: I didn't bring one.
      2   done with him. The documents suggest he received                 2         MS. HAYNES: Okay. Well --
      3   individual and group counseling as well as                       3         THE WITNESS: No, we don't have one here.
      4   medication. Group sessions addressed a variety of                4   Sorry.
      5   issues, including anger management.                              5   BY MS. HAYNES:
      6          Going along through the paragraph, you say                6       Q. Thank you for checking. I think I can --
      7   individual counseling provided him space, on and on.             7   presumably you know your CV pretty well, so I think
      8          And then towards the bottom you again say,                8   we can get by.
      9   "Even though there were some positive aspects,                   9          You've been a licensed clinical
     10   nonetheless they were limited and still fell short              10   psychologist since 1990; is that right?
     11   of mental health professional standards for juvenile            11       A. That's correct.
     12   detention settings."                                            12       Q. Okay. Have you ever -- you're currently
     13          Have we exhausted the field of the                       13   licensed in Illinois, right?
     14   standards that you're referring to in Paragraph 99              14       A. Yes. Yes.
     15   today?                                                          15       Q. Have you ever been licensed anywhere else?
     16       A. Let me just think for a minute. I think                  16       A. Yes.
     17   pretty much. Where I was going with this was I                  17       Q. Where else have you been licensed besides
     18   simply, you know, after reviewing, you know, pretty             18   Illinois?
     19   extensively the documents, I was trying to be fair              19       A. Virginia.
     20   in saying that it was clear that there were some                20       Q. When were you licensed in Virginia?
     21   mental health services that were being provided, you            21       A. Well, I'd have to go back and look. It's
     22   know. I can see it in the notes, and there were                 22   probably 15 years ago, a good 15 to 17 years ago.

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      1     Q. And what's the status of that license now?                 1   on a rotating basis working there over a period of
      2 Is it inactive, or did you let it lapse?                          2   four months.
      3     A. Yeah, I simply let it lapse.                               3      Q. And what was the psychiatry department
      4     Q. Were you living in Virginia at the time?                   4   that you said you retired from in 2013?
      5     A. No. I was working for a -- I was working                   5      A. It's now called Stroger Hospital of
      6 at Cook County Hospital at the time. I was asked by               6   Cook County. It was called Cook County Hospital at
      7 a colleague, a psychologist in the city, as part of               7   the time. So it was the psychiatry department at
      8 a major project that he was working on to                         8   the hospital where I worked. I was there for 28
      9 evaluate -- it was for the State Department, and it               9   years, and then I retired.
     10 was funded through DynCorp and the State Department              10          But it was under the whole Cook County
     11 to evaluate peacekeepers who were going to be going              11   system, so I think they were in the process of
     12 to Kosovo and around the world.                                  12   outsourcing their services, so they were going
     13        And so I was flown into a number of                       13   through a change. So there was an interim period
     14 locations. One was in Virginia. And so to do it                  14   where they needed temporary coverage, so the
     15 properly I got temporary licensure there. Actually               15   psychiatry department, the child and adolescent
     16 it was more than temporary. It was actually full                 16   psychiatry division that I was a part of was asked
     17 licensure just so that I would be able to do those               17   to provide those services at the detention center.
     18 assessments.                                                     18      Q. And could you give me an idea of what your
     19     Q. Okay. So you weren't in living in                         19   practice is like now since you retired from the
     20 Virginia --                                                      20   department? I know you're in private practice.
     21     A. Right.                                                    21      A. Right.
     22     Q. -- and you weren't employed in Virginia,                  22      Q. How are you spending your time?
                                                              Page 243                                                     Page 245
      1   but you were working in Virginia so you got your                1       A. I have -- I have two offices. One is in
      2   license for that limited time period?                           2   Wheaton, Illinois, and one is in Evanston,
      3       A. Right, and it was for -- well, it was for                3   essentially do the same thing both places where I
      4   that period of time, which it might have been a year            4   essentially just evaluate -- well, I primarily work
      5   or two. And then those evaluations I just didn't do             5   with older adolescents and then adults. I also am a
      6   after -- that contract ended, and we didn't do those            6   Medicare provider, so I provide services to elderly
      7   evaluations anymore.                                            7   people, do evaluations. I don't do testing, but I
      8          So I just let it lapse. I had no reason                  8   do clinical evaluations that primarily provide
      9   to continue it.                                                 9   therapy, either family and couples therapy or
     10       Q. All right. In your report you mentioned                 10   individual therapy.
     11   that you worked at the Cook County Juvenile                    11       Q. What percentage of your time would you say
     12   Temporary Detention Center for four months?                    12   is devoted to forensic psych evaluations?
     13       A. Yes.                                                    13       A. Currently?
     14       Q. Do you remember about when that was?                    14       Q. In the past three years.
     15       A. I'd have to go back and look at it. I'd                 15       A. The past three years, percentage of my
     16   say I left, I retired from the psychiatry department           16   time, well, I guess if I give you a percentage I'm
     17   in 2013, and it was probably about four years prior            17   going to say -- I mean, it's kind of hard to answer.
     18   to that, so I'm going to say around 2009. At that              18   I'm just going to say 15 percent. It's hard to
     19   point the Juvenile Detention Center was undergoing a           19   answer because I only take on a couple of, let's
     20   lot of changes, and we were -- well, we were                   20   say, asylum cases a year. I think the most I've
     21   essentially told our Department of Psychiatry needed           21   ever done in one year is four. But I see up to --
     22   to provide services for the center, so we were all             22   sometimes I see 50 patients in a week. So, again,

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      1   that's small, but then those cases are much more          1 with each other.
      2   consuming.                                                2     Q. Okay. Dr. Lewis, we've talked a lot about
      3          So in terms of time, I do spend a lot of           3 what you've reviewed as we went through your report
      4   time writing up reports, and the evaluations could        4 and your evaluations, and just to make sure that I
      5   take a day and a half versus an hour, but it's a          5 understand and I'm clear on what you did in your
      6   small, much smaller percentage of my time. This           6 review, I just want to run through a list that I
      7   last year it's been more of -- the civil case, of         7 have.
      8   course, has taken more -- I've spent more time with       8         My understanding, you haven't reviewed any
      9   that than I have in other years on doing this kind        9 documents for any UC at Shenandoah other than Does 1
     10   of work.                                                 10 through 4 and the other three that we discussed
     11          So, I mean, it's hard to answer that              11 earlier; is that right?
     12   question. I mean, I'm not primarily doing that I         12     A. Well, I would add that I did mention the
     13   guess if that's what you're getting at. Primarily        13 videos to you that I watched after I submitted this.
     14   I'm a clinician who sees patients every week, you        14     Q. Yeah, and I'll ask you about that
     15   know, probably 35 to 40 at this point patients,          15 specifically.
     16   sometimes a busier week. And then I either take          16     A. Okay.
     17   time off or I have days that I don't see patients,       17     Q. But I'm just talking about documents.
     18   like Fridays is when I do a lot of this kind of work     18     A. Documents, okay. I believe that's
     19   or I travel out of town to do that and I take time       19 correct. I'm just trying to think if there was any
     20   off from my work here.                                   20 other. There were other documents given to me, but
     21       Q. I noticed that over the years you've been         21 I did not look at them.
     22   a member of a lot of different professional              22         So yes, I guess the answer is that's all
                                                        Page 247                                                             Page 249
      1   associations.                                         1       that I've reviewed for this report.
      2          Currently are you only a member of the         2          Q. Okay. You haven't reviewed any employment
      3   Illinois psychological -- Psychology Association and 3        or personnel files for staff at the Center?
      4   the American Psych Association? Are those your two 4             A. No.
      5   active ones?                                          5          Q. The same for disciplinary records for
      6       A. The other one is the -- it's called ISTSS,     6       staff?
      7   and I'm drawing a blank, or is it -- the Institute    7          A. I have not seen anything for that.
      8   for Traumatic Stress Studies. It's kind of an         8          Q. Okay. And I think we've covered earlier
      9   international organization. I pay dues to that, and   9       that you haven't looked at any of the training
     10   they have conferences and whatnot.                   10       materials or logs of training materials for staff?
     11          So that's another organization, but those     11          A. No.
     12   are the three primary ones.                          12          Q. Okay. These youths go to school while
     13       Q. Okay. And, I'm sorry, what was the            13       they're at Shenandoah.
     14   subject matter of that third one?                    14              You didn't I assume look at their
     15       A. I'm trying to think if I have it listed       15       educational records or reports or things along those
     16   here. Yeah, I'm just drawing a blank. I think it's   16       lines?
     17   ISTSS is what it stands for. It's about stress,      17          A. I believe for Doe 4 there was an
     18   trauma and symptoms. It's an international           18       educational report in there. I don't think for the
     19   organization that researches from people all over    19       other ones there was anything. I mean, if they were
     20   the world, psychiatrists, psychologists, social      20       there I reviewed them. I know for Doe 4 there was
     21   workers, who work with various traumatized           21       some type of educational assessment. I don't recall
     22   populations and do research and share information    22       seeing anything for 1, 2 or 3 or the others.

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      1        So I think for him he was the only one.                     1   though it indicated that they were perhaps there, so
      2     Q. Okay. Was that -- do you know if that was                   2   I just wasn't sure if they were mismarked or just
      3 one of the documents you received before you wrote                 3   it's hard to tell, so ...
      4 the report or after?                                               4       Q. So you watched seven or eight --
      5     A. I received it before but didn't review it                   5       A. Yes.
      6 until afterward.                                                   6       Q. -- but they were not of Doe 1 or Doe 4?
      7     Q. Okay. You haven't reviewed any audits or                    7       A. One -- there was a couple that clearly
      8 monitoring reports from ORR?                                       8   said they were Doe 1, but, again, it was hard to
      9     A. I have not.                                                 9   tell because sometimes the kids' backs were to you
     10     Q. And the same for the Virginia Department                   10   and things were happening fairly quickly. And these
     11 of Juvenile Justice?                                              11   were shorter segments of maybe four- to nine-minute
     12     A. That's correct.                                            12   stretches, you know. Sometimes a situation would
     13     Q. Or you haven't seen any audits or                          13   happen where a kid would then go right to their
     14 monitoring reports related to the Prison Rape                     14   room, and you could see that there was an
     15 Elimination Act?                                                  15   intervention but you really couldn't tell who or
     16     A. I have not.                                                16   what. You couldn't tell much.
     17     Q. I know you visited Shenandoah to evaluate                  17           So it was hard to distinguish specific
     18 John Doe 4 over a period of two days, and we talked               18   kids. I mean, you could distinguish the kid, but I
     19 about how you were there and walked down the hall to              19   couldn't identify them necessarily.
     20 go to the restroom but you didn't tour the facility.              20           So I was really just trying to give --
     21     A. Right.                                                     21       Q. You're not --
     22     Q. Have you seen any photographs of the                       22       A. Go ahead.
                                                               Page 251                                                     Page 253
      1   facility?                                                        1       Q. You don't have any certainty with respect
      2       A. You mean the outward facility? I've seen                  2   to which kid the video was meant to show?
      3   a photograph of the Center, not photographs of                   3       A. If I was asked, I would have to say that's
      4   inside, but I've seen a photograph of the outside.               4   right. I couldn't say for sure that that was Doe 1
      5       Q. Okay. And you mentioned the videos. I                     5   or whatever, right.
      6   think you said you got seven or eight after you                  6       Q. Okay. And what was your impression after
      7   wrote your report.                                               7   watching the videos?
      8          Am I remembering right?                                   8       A. Well, I guess in no particular order one
      9       A. The videos actually came in prior to                      9   was that it was very hard to -- there was no volume,
     10   writing the report, but there was just -- simply I              10   so everything was simply by just observing and
     11   didn't have time to review them, but I reviewed them            11   trying to make sense of what was being said. You
     12   afterward.                                                      12   could tell that there were things being said back
     13       Q. Okay. What did they depict?                              13   and forth at times, but there was no way to know
     14       A. I should say they were videos of multiple                14   what.
     15   kids, many of whom I didn't evaluate, but for timing            15          So that made it difficult to understand
     16   I just picked some that seemed to be related. It                16   the whole situation. I tried to look at nonverbal,
     17   was hard to kind of figure out, you know, was this              17   and I watched several of them several times to just
     18   one of my cases or not. Some I could tell but some              18   try to get a sense of the nonverbal, and I could see
     19   I couldn't, so I just picked seven or eight just to             19   in some cases that -- in other words, there's ways
     20   give me a flavor.                                               20   you can tell from somebody's nonverbal behavior
     21          So -- and, again, I've evaluated Doe 1 and               21   whether they're in an aggressive or defensive place,
     22   Doe 4. I couldn't find them in these videos even                22   so, for instance, if I'm approaching you more like

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      1 this versus like this.                                            1   was saying to him. Was he saying something bad to
      2        And there were times where clearly there                   2   him? I don't know. And that's where it's limiting
      3 was an openness, that I could tell there was trying               3   how much you can glean from the videos.
      4 to be an appropriate discussion, but then things                  4      Q. Understood. Other than John Doe 1 and
      5 would often snap very quickly.                                    5   John Doe 4, you haven't talked to any of the youths
      6        In one case one of the boys looked back,                   6   at Shenandoah?
      7 and I couldn't see who he was talking to, but I                   7      A. That's correct.
      8 could see him go like this, like are you talking to               8      Q. And you haven't interviewed any of the
      9 me, and he pointed at his chest. And then right                   9   staff at Shenandoah?
     10 after that one of the guards came out, and the guard             10      A. That's right.
     11 walked away and this kid then sneakily tried to take             11      Q. You haven't read any of their deposition
     12 his chair. And, again, my sense was that it's hard               12   transcripts? I think we talked about that earlier.
     13 to make a judgment when you don't know what's being              13      A. Well, I mentioned Kelsey Wong. I did see
     14 said, but something was getting triggered in that                14   that one. Or no, that wasn't a deposition. That
     15 situation.                                                       15   was a declaration.
     16        And I felt like that in that particular                   16      Q. I thought --
     17 case when I looked at it several times the kid ended             17      A. Yeah.
     18 up getting taken down, but it looked like there was              18      Q. Yeah, and let me clarify. My
     19 room to have handled that in a different way.                    19   understanding was that you reviewed her statement
     20        There was other situations where the kids                 20   that was attached to --
     21 were clearly about to get out of control or were out             21      A. Yes.
     22 of control where the guards just had to intervene.               22      Q. -- the defendant's opposition --
                                                              Page 255                                                    Page 257
      1   That was very clear. And it looked like what they               1      A.   Yes.
      2   were doing was appropriate for the most part in                 2      Q.   -- to the preliminary --
      3   those cases.                                                    3      A.   That's right.
      4          Where it wasn't was that in one case the                 4      Q.   -- injunction brief.
      5   one situation in the gym or whatever, I forget where            5          Is that your --
      6   it was, they ended up taking the kid down who didn't            6       A. That's right.
      7   need to be taken down. He simply could have been                7       Q. Okay.
      8   held back, and I just felt like the takedown was                8       A. But none of the other depositions, no.
      9   unnecessary.                                                    9       Q. Okay. And outside of staff who are
     10          So, again, it felt like in some of the                  10   employed at Shenandoah, you haven't talked to
     11   situations it wasn't -- it was preventing, but it              11   Dr. Rife or Dr. Kane or anyone else who provides
     12   wasn't immediate danger at that point and they                 12   care there that may not be employed there?
     13   overreacted. Other times I felt that they had                  13       A. I have not.
     14   reacted appropriately.                                         14          MS. HAYNES: Okay. I think I'm about
     15          I think their nonverbal behavior was                    15   done.
     16   provocative in some situations. I could just tell              16          Do you have questions, Hannah?
     17   by the way they were -- in one case the guard kept             17          MS. LIEBERMAN: No.
     18   kind of finger wagging one particular kid; and he              18          MS. HAYNES: Okay. Can I have two minutes
     19   probably was upset with the kid, but the finger                19   to look at my notes, and then I'll either come back
     20   wagging looked like it really triggered this kid.              20   and ask you just a couple of questions or we will be
     21   So that's part of when I talk about trauma. We                 21   done.
     22   don't know how that kid perceived what that guard              22          THE WITNESS: All right. No problem.

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      1                (Whereupon, a recess was taken                     1           THE WITNESS: Likewise.
      2                from 3:24 p.m. to 3:30 p.m.)                       2               (Whereupon, the deposition was
      3          MS. HAYNES: Okay. I think I just have                    3               concluded at 3:32 p.m.)
      4   two more.                                                       4
      5   BY MS. HAYNES:                                                  5
      6      Q. Dr. Lewis, do you know where John Does 2,                 6
      7   3 or 4 are currently?                                           7
      8      A. 2, no; 3, no. I don't know where 4 is.                    8
      9   I'm assuming he's still at Shenandoah, but I don't              9
     10   know. 2 and 3 I have no idea.                                  10
     11      Q. Okay. Are you setting John Doe 4 in a                    11
     12   separate category just because you met with him last           12
     13   summer, which was relatively recently?                         13
     14      A. Right, and he was there at the time, yeah.               14
     15      Q. Right, okay.                                             15
     16      A. Yeah.                                                    16
     17      Q. And then your report with regard to                      17
     18   John Does 2 and 3 is based on documentation alone,             18
     19   right?                                                         19
     20      A. Yes, yes.                                                20
     21      Q. And I'm just curious. I'm not asking to                  21
     22   be anything, but in your clinical practice would you           22
                                                              Page 259                                                           Page 261
      1 ever reach a conclusion about a patient based on                  1 STATE OF ILLINOIS )
      2 your review of documentation alone without meeting                2             ) SS:
      3 that patient?                                                     3 COUNTY OF C O O K )
      4     A. It's -- I think it's possible to reach a                   4        The within and foregoing deposition of the
      5 conclusion. I wouldn't -- I would never diagnose                  5 witness, GREGORY N. LEWIS, Psy.D., was taken before
      6 somebody without seeing them, you know. Even if                   6 GREG S. WEILAND, CSR, RMR, CRR, at Suite 3000,
      7 someone else had diagnosed them, I might say they're              7 One North Franklin Street, in the City of Chicago,
      8 reported to be this way based on the prior                        8 Cook County, Illinois, commencing at 9:27 o'clock
      9 diagnosis, but so I wouldn't reach a diagnostic                   9 a.m., on the 16th day of October, 2018.
     10 conclusion, but I think it's -- I think there would              10        The said witness was first duly sworn and
     11 be situations where again as a consultant, I mean,               11 was then examined upon oral interrogatories; the
     12 there has been times that I've asked to review even              12 questions and answers were taken down in shorthand
     13 medical records not for this type of case but to                 13 by the undersigned, acting as stenographer and
     14 review medical records and come to some conclusions.             14 Notary Public; and the within and foregoing is a
     15        So I guess the answer is it depends on                    15 true, accurate and complete record of all the
     16 what the question is and what the conclusions are.               16 questions asked of and answers made by the
     17        MS. HAYNES: Fair enough. I don't have                     17 aforementioned witness at the time and place
     18 anything else, Dr. Lewis.                                        18 hereinabove referred to.
     19        I really appreciate your time and bearing                 19        The signature of the witness was waived by
     20 with me, especially over video, which can be a                   20 agreement of counsel.
     21 little bit difficult. And it was nice to meet you                21        The undersigned is not interested in the
     22 regardless of the points on which we disagree.                   22 within case, nor of kin or counsel to any of the

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